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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

LINDA TRANG TRAN,                 §
INDIVIDUALLY AND D/B/A            §
BUCCANEER SEAFOOD, ET AL.,        §
                                  §
     Plaintiffs,                  §
                                  §
vs.                                            4:13-cv-1785
                                  § CASE NO. _______
                                  §
BP EXPLORATION AND PRODUCTION, § On removal form the 189th District Court of
INC., BP AMERICA PRODUCTION       § Harris County, Texas: Case No. 2013-23575
COMPANY, BP CORPORATION NORTH §
AMERICA, INC., BP PLC, TRANSOCEAN §
DEEPWATER INC., TRANSOCEAN        §
OFFSHORE DEEPWATER DRILLING       §
INC., TRANSOCEAN HOLDINGS LLC.,   §
TRANSOCEAN LTD., TRITON ASSET     §
LEASING GMBH, HALLIBURTON         §
ENERGY SERVICES, INC. AND SPERRY §
DRILLING SERVICES,                §
                                  §
       Defendants.                §


     BP’S NOTICE OF REMOVAL TO THE UNITED STATES DISTRICT COURT FOR
                      THE SOUTHERN DISTRICT OF TEXAS

        Pursuant to 33 U.S.C. § 2702(b), 28 U.S.C. §§ 1331, 1333, 1441, 1446 and 43 U.S.C. §

1349, Defendants BP Exploration & Production, Inc., BP America Production Company and BP

Corporation North America (“BP”), hereby give notice and remove this case to the United States

District Court for the Southern District of Texas, Houston Division.

        BP represents the following in accordance with the requirement of 28 U.S.C. § 1446(a)

for a “short and plain statement of the grounds for removal”:

Background and Procedural Requirements

1.      BP is a defendant in the matter styled “Linda Trang Tran, individually and d/b/a

        Buccaneer Seafood, et al. v. BP Exploration & Production, Inc., BP America Production
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       Company, BP Corporation North America, Inc., BP p.l.c., Transocean Offshore

       Deepwater Drilling, Inc., Transocean Holdings, LLC, Transocean Deepwater, Inc.,

       Transocean Ltd., Triton Asset Leasing GmbH, Halliburton Energy Services, and Sperry

       Drilling Services,” pending in the 189th District Court of Harris County, Texas, and

       bearing Case No. 2013-23575 (“State Court Action”).

2.     Plaintiffs filed their Original Petition (“Petition”) in the State Court Action on April 19,

       2013.

3.     BP was served with process in the State Court Action on May 20, 2013.

4.     This Notice of Removal is timely filed, as it is being filed within thirty days after receipt

       of the initial pleading setting forth the claims for relief and within thirty days of service

       of process as required by 28 U.S.C. § 1446(b), as computed pursuant to Fed. R. Civ. P.

       6(a).

5.     Pursuant to 28 U.S.C. § 1446(a), BP attaches as Exhibits A through E hereto a copy of all

       process, pleadings and orders served on BP in the State Court Action.

This Court Has Jurisdiction Under the Oil Pollution Act of 1990.

6.     Plaintiffs’ Petition states a claim under the federal Oil Pollution Act of 1990, 33 U.S.C. §

       2701, et seq. (“OPA”). Pet. ¶¶ 101-11.

7.     The OPA-covered injuries for which Plaintiffs seek compensation include “loss of profits

       or impairment of earning capacity,” id. ¶ 109 (citing 33 U.S.C. § 2702(b)(2)(E)), “loss of

       subsistence use of natural resources,” id. ¶ 108 (citing 33 U.S.C. § 2702(b)(2)(C)), and

       “[d]amages for injury to, or economic losses resulting from destruction of, real or

       personal property, id. ¶ 107 (citing 33 U.S.C. § 2702(b)(2)(B)). As Plaintiffs point out, a




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        responsible party under OPA is liable for the removal costs and damages specified 33

        U.S.C. § 2702(b). Id. ¶ 102.

8.      With two exceptions not applicable to the current case, OPA states that “the United States

        district courts shall have exclusive original jurisdiction over all controversies arising

        under this Act . . . .” 33 U.S.C. § 2717(b). By alleging claims under OPA, Plaintiffs’

        case falls within the jurisdiction of this Court.

9.      Additionally, because OPA creates a cause of action arising under federal law, there is

        also jurisdiction over this case pursuant to 28 U.S.C. § 1331.

Original Federal Jurisdiction Exists Over the Petition Pursuant to OCSLA and the Federal
Question Statute.

10.     The first two grounds for removing the State Court Action to this Court relate to the fact

        that this lawsuit arises in connection with the Deepwater Horizon’s drilling operations

        occurring on the Outer Continental Shelf (“OCS” or “the Shelf”). Two jurisdictional

        consequences follow as a result:         First, the State Court Action falls within the

        jurisdictional grant of the federal Outer Continental Shelf Lands Act (“OCSLA”), 43

        U.S.C. § 1331, et seq. Second, the OCS is a federal enclave, meaning that all cases

        arising from events on the Shelf arise under federal law.

11.     Plaintiffs’ Petition states that they are “owners’ [sic] lessors, lessees, and/or operators of

        real property at or near the coast of the Gulf of Mexico and/or businesses or employees of

        businesses that are dependent upon the Gulf of Mexico’s marine and coastal

        environments . . . .” Pet. ¶ 62. As such, they maintain that “Defendants owed and

        breached duties of ordinary and reasonable care to Plaintiffs in connection with the

        drilling operations of the Deepwater Horizon . . . .” Id. ¶ 60; see also id. ¶ 65 (asserting

        that BP and the other defendants were obliged to “exercise reasonable care while



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        participating in drilling operations on the Deepwater Horizon”). Plaintiffs note that the

        Deepwater Horizon was “owned by Transocean” and leased to BP “for the purposes of

        drilling an exploratory well at the Macondo site.” Id. ¶ 29. Plaintiffs also note that BP

        held a permit from the Minerals Management Service “allowing it to perform oil

        exploration, drilling, and production-related operations in Mississippi Canyon Block 252,

        the location known as ‘Macondo,’ where the spill originated.” Id. ¶ 4.

12.     Plaintiffs’ Petition is remarkably light on details regarding their alleged injuries, except

        that the OPA allegations reveal that any injuries allegedly arise from the Deepwater

        Horizon oil spill. See, e.g., id. ¶ 106 (“As a result of the Spill, Plaintiffs have not been

        able to use natural resources.”).

13.     Plaintiffs’ Petition alleges that BP acted negligently in “choosing and implementing

        a . . . long string well design,” id. ¶ 79(a), “using too few centralizers,” id. ¶ 79(c),

        “failing to implement a full ‘bottoms up’ circulation of mud,” id. ¶ 79(d), “cancelling the

        cement bond log test,” id. ¶ 79(f), and “failing to deploy the casing hanger lockdown

        sleeve,” id. ¶ 79(g); see also id. ¶¶ 95-100 (listing additional alleged acts of negligence in

        connection with the Deepwater Horizon drilling operations).

14.     OCSLA Jurisdiction: This case is removable to this Court under the jurisdictional grant

        of the Outer Continental Shelf Lands Act (“OCSLA”), 43 U.S.C. § 1331, et seq. OCSLA

        provides, in relevant part, that “district courts of the United States shall have jurisdiction

        of cases and controversies arising out of, or in connection with (A) any operation

        conducted on the outer Continental Shelf which involves exploration, development, or

        production of the minerals, of the subsoil and seabed of the outer Continental Shelf, or

        which involves rights to such minerals.” 43 U.S.C. § 1349(b)(1) (emphasis added).




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15.     OCSLA defines “minerals” to include “oil, gas, sulphur, geopressured-geothermal and

        associated resources.” 43 U.S.C. § 1331(q). “Exploration” is the “process of searching

        for minerals, including . . . any drilling.” 43 U.S.C. § 1331(k).

16.     On April 20, 2010, the date the oil spill began, the Deepwater Horizon was in the Gulf of

        Mexico working at the Macondo well.           The Fifth Circuit recently noted that the

        Deepwater Horizon’s purpose was to “drill the Macondo well, which is located on the sea

        floor at Mississippi Canyon Block 252.” Center for Biological Diversity, Inc. v. BP Am.

        Prod. Co., 704 F.3d 413, 418 (5th Cir. 2013). These operations were part of BP’s

        “exploration and drilling operations in the Gulf of Mexico.” Id. The Northern District of

        Florida reached a similar conclusion: “[w]hen it exploded, the Deepwater Horizon was

        operating on the outer continental shelf. Its operations were part of the exploration for,

        and intended development and production of, continental-shelf oil.” Phillips v. BP p.l.c.,

        2010 WL 3257737, at *1 (N.D. Fla. Aug. 17, 2010). Likewise, this Court recently held

        that   even   lawsuits   concerning    securities   filings   which   allegedly   contained

        misrepresentations in connection with Shelf drilling activities fall within OCSLA’s broad

        grant of federal jurisdiction. See Memorandum & Order, In re: BP p.l.c. Securities

        Litigation, No. 4:10-md-2185, Rec. Doc. 441 (S.D. Tex. filed Oct. 1, 2012) (“MDL

        2185”).

17.     The State Court Action thus “aris[es] out of” and “in connection with” a drilling

        operation on the outer Continental Shelf. Plaintiffs concede this point: “Defendants owed

        and breached duties of ordinary and reasonable care to Plaintiffs in connection with the

        drilling operations of the Deepwater Horizon.” Pet. ¶ 60 (emphasis added); see also id. ¶

        90. Beyond a verbatim repetition of OCSLA’s jurisdictional provision, the Petition




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        recognizes that the Deepwater Horizon was engaged in “oil exploration, drilling, and

        production-related operations” at the Macondo site. Pet. ¶ 4. Likewise, the litany of

        alleged acts of negligence relate to core mineral-exploration activities that occurred on

        the Shelf. See generally id. ¶ 79 (assigning negligence to various drilling activities,

        including the selection of a ‘long-string’ well design, the number of centralizers in the

        well, cancelation of the “cement bond log test,” and insufficient testing of the cement

        mixture). The Petition makes plain that this case arises out of and in connection with the

        oil exploration operations at the Macondo site. As a result, this Court has original subject

        matter jurisdiction under 43 U.S.C. § 1349(b)(1)(A).

18.     Federal Question Jurisdiction: This Court also has subject matter jurisdiction under 28

        U.S.C. § 1331 because the claims asserted arise in connection with a federal statute,

        namely, OCSLA, 43 U.S.C. § 1331 et seq. and OPA, 33 U.S.C. § 2701 et seq., and

        because claims involving federal enclaves like the outer Continental Shelf by their nature

        arise under federal law. Federal-question claims ordinarily are subject to the well-

        pleaded complaint rule, but cases involving federal enclaves unavoidably involve federal

        and not state law, regardless of whether a plaintiff invokes federal law on the face of the

        complaint. Moreover, even if this were not true, OCSLA claims are not subject to the

        well-pleaded complaint rule, pursuant to Fifth Circuit precedent. Amoco Production Co.

        v. Sea Robin Pipeline Co., 844 F.2d 1202, 1205 (5th Cir. 1988) (“In determining federal

        court jurisdiction, we need not traverse the Serbonian Bog of the well pleaded complaint

        rule . . . because § 23 of OCSLA expressly invests jurisdiction in the United States

        District Courts.”).




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19.     OCSLA not only provides that federal courts have original jurisdiction over all cases

        arising out of Shelf operations, it also directly specifies that federal law governs as a

        substantive matter. See 43 U.S.C. § 1333(a)(1). Hence, federal question jurisdiction

        under 28 U.S.C. § 1331 inherently and unavoidably exists over claims that arise out of

        Shelf conduct without regard to claims made by plaintiffs that a source of law other than

        federal law, such as state or maritime law, controls.

20.     Plaintiffs’ claims “arise under” federal law for purposes of removal under 28 U.S.C.

        § 1441(c) because OCSLA establishes a federal enclave on the Shelf. Claims arising out

        of conduct within federal enclaves necessarily arise under federal law.

Maritime and Jones Act Claims Are No Obstacle To Removal; to the Contrary, Maritime
Claims Provide Yet Another Basis for Removal Jurisdiction.

21.     Plaintiffs assert that their claims include “admiralty and maritime claims arising from the

        savings to suitors clause contained in 28 U.S.C. § 1333.” Pet. ¶ 24. The maritime nature

        of their claims is one of Plaintiffs’ proffered bases for state court jurisdiction. Id.

22.     While maritime law was once an argument against federal jurisdiction, the jurisdictional

        landscape changed dramatically on January 6, 2012, the effective date of the Federal

        Courts Jurisdiction and Venue Clarification Act of 2011 (the “Clarification Act”).

        Among its provisions, the Clarification Act altered 28 U.S.C. § 1441 to clarify that

        diversity of citizenship is a prerequisite to removal only where the federal courts would

        not otherwise have original jurisdiction. Compare 28 U.S.C. § 1441(b) (pre-2011) with

        28 U.S.C. § 1441(b) (2011). The statute’s previous language had led the Supreme Court

        and the Fifth Circuit to declare that Section 1441(b) was a bar to the removal of maritime

        claims. Romero v. Int’l Terminal Operating Co., 358 U.S. 354 (1959), Morris v. T.E.

        Marine Corp., 344 F.3d 439 (5th Cir. 2003). As this Court held just a few weeks ago,



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        that bar is now removed. Ryan v. Hercules Offshore, Inc., No. H-12-3510, 2013 WL

        1967315 (S.D. Tex. May 13, 2013).           Federal courts undoubtedly have original

        jurisdiction over maritime cases, 28 U.S.C. § 1333(1), and the saving-to-suitors clause

        has itself never been a bar to removal. Id. *1; see also Tenn. Gas Pipeline v. Houston

        Cas. Ins. Co., 87 F.3d 150, 153 (5th Cir. 1996) (noting that the saving-to-suitors clause

        “does not guarantee [plaintiffs] a nonfederal forum”).       Only Section 1441(b) was

        interpreted to prevent removal, and as Ryan explains, the Clarification Act has earned its

        name and removed all ambiguity in favor of permitting removal of maritime claims in

        accord with the plain terms of 28 U.S.C. § 1441(a), which are no longer impacted in non-

        diversity cases by the terms of current 28 U.S.C. § 1441(b). 2013 WL 1967315, at *4.

Venue and Removal Under 28 U.S.C. §§ 1441(a)

23.     Venue is proper in this Court pursuant to 28 U.S.C. § 1446(a), as the United States

        District Court for the Southern District of Texas, Houston Division is the District and

        Division in which the State Court Action was pending.

24.     This matter is removable under 28 U.S.C. § 1441 as a civil action over which the United

        States District Court for the Southern District of Texas has original subject matter

        jurisdiction under 43 U.S.C. § 1349, 33 U.S.C. § 2702(b), and 28 U.S.C. §§ 1331, 1333.

25.     Removal is timely, as this Notice is filed within 30 days of BP’s receipt of the Petition.

        See 28 U.S.C. § 1446(b)(2)(B) (“Each defendant shall have 30 days after receipt by or

        service on that defendant of the initial pleading or summons described in paragraph (1) to

        file the notice of removal.”).

Effectuation of Removal

26.     BP hereby removes this action to the United States District Court for the Southern

        District of Texas, Houston Division.


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27.     By filing this Notice of Removal, BP expressly consents to the removal.

28.     The consents of all other Defendants are attached as Exhibits F & G.

29.     Pursuant to 28 U.S.C. § 1446(a), copies of all pleadings, as well as copies of all process

        and other papers, including the Petition, on file in the record of the State Court Action

        which are within the possession, custody and control of BP are attached as Exhibits A

        through E.

30.     The allegations of this Notice were true at the time the State Court Action was

        commenced and remain true as of the date of filing of this Notice of Removal.

31.     Undersigned counsel certifies that a notice of filing removal, along with a copy of this

        Notice of Removal, will be promptly filed with the 189th District Court of Harris County,

        Texas.

        WHEREFORE, BP hereby removes this action to the United States District Court for the

Southern District of Texas, Houston Division.




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Dated: June 19, 2013.                      Respectfully submitted,

                                           By: /s/ Thomas W. Taylor
Of Counsel:                                    Thomas W. Taylor (#3906)
                                               Texas Bar No. 19723875
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                                CERTIFICATE OF SERVICE

       I hereby certify that true and correct copies of the above and foregoing instrument have
been served pursuant to the Federal Rules of Civil Procedure on all counsel of record on this
19th day of June 2013.

                                                                          /s/ Thomas W. Taylor
                                                                             Thomas W. Taylor




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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

LINDA TRANG TRAN,                 §
INDIVIDUALLY AND D/B/A            §
BUCCANEER SEAFOOD, ET AL.         §
                                  §
     Plaintiffs,                  §
                                  §
vs.                               §                         4:13-cv-1785
                                                   C.A. NO: ________________
                                  §
BP EXPLORATION AND PRODUCTION, §
INC., BP AMERICA PRODUCTION       §
COMPANY, BP CORPORATION NORTH §
AMERICA, INC., BP PLC, TRANSOCEAN §
DEEPWATER INC., TRANSOCEAN        §
OFFSHORE DEEPWATER DRILLING       §
INC., TRANSOCEAN HOLDINGS LLC.,   §
TRANSOCEAN LTD., TRITON ASSET     §
LEASING GMBH, HALLIBURTON         §
ENERGY SERVICES, INC. AND SPERRY §
DRILLING SERVICES,                §
                                  §
       Defendants.                §


                              INDEX OF DOCUMENTS BEING
                            FILED WITH NOTICE OF REMOVAL


Civil Cover Sheet

List of Counsel of Record

Exhibits to the Notice of Removal                                       Exhibit

Plaintiffs’ Original Petition                                             A

Defendant BP Exploration & Production Inc., BP America Production         B
Company, and BP Corporation North America Inc.’s Original Answer

Defendant Halliburton Energy Service Inc.’s Original Answer               C

Civil Process Requests                                                    D
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Harris County Docket Sheet                                                E

Defendant Halliburton Energy Service Inc. and Sperry Drilling Services’   F
Consent to Removal

Defendant Transocean Deepwater Inc., Transocean Offshore Deepwater        G
Drilling Inc., Transocean Holdings LLC, and Triton Asset Leasing GmbH’s
Consent to Removal

Notice of Removal of State Court Action                                   H
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JS 44 (Rev. 11/04)
                                                                                      CIVIL COVER SHEET
   The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
   by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
   the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)
I. (a)            PLAINTIFFS                                                                                         DEFENDANTS
                  Linda Trang Tran, Individually and d/b/a Buccaneer                                                 BP Exploration & Production Inc. et al.
                  Seafood, et al.
                                                                                                                     County of Residence of First Listed Defendant
       (b)        County of Residence of First Listed Plaintiff                            unknown                                  (IN U.S. PLAINTIFF CASES ONLY)
                        (EXCEPT IN U.S. PLAINTIFF CASES)
                                                                                                                           NOTE:       IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
       (c)        Attorneys (Firm Name, Address, and Telephone Number)                                                                 LAND INVOLVED. DEFENDANTS

              Brent W. Coon                                                                                                       Thomas W. Taylor
              State Bar No. 04769750                                                                                              Texas Bar No. 19723875; Federal ID 3906
              Eric W. Newell                                                                                                      600 Travis Street, Suite 4200, Houston, Texas 77002
              State Bas No. 24046521                                                                                              Telephone: 713-220-4200
              Brent Coon & Associates                                                                                             Facsimile: 713-220-4285
              215 Orleans
              Beaumont, Texas 77701                                                                                               See “LIST OF COUNSEL OF RECORD” for additional counsel
              (409) 835-2666
              (409) 835-1912 (fax)

                  See “LIST OF COUNSEL OF RECORD” for additional counsel
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                                  III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                                      (For Diversity Cases Only)                                   and One Box for Defendant)
         1      U.S. Government                3      Federal Question                                                                   PTF       DEF            Incorporated or Principal Place          PTF       DEF
                 Plaintiff                            (U.S. Government Not a Party)                       Citizen of This State             1        1            of Business in This State                   4        4

         2      U.S. Government                4      Diversity                                           Citizen of Another State           2             2      Incorporated and Principal Place             5            5
                 Defendant                            (Indicate Citizenship of Parties in Item III)                                                                of Business in Another State


                                                                                                          Citizen or Subject of a            3            3       Foreign Nation                               6            6
                                                                                                           Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
               CONTRACT                                                 TORTS                                     FORFEITURE/PENALTY                          BANKRUPTCY                     OTHER STATUTES
   110       Insurance                      PERSONAL INJURY                    PERSONAL INJURY                    610 Agriculture                         422 Appeal 28 USC 158           400 State Reapportionment
   120       Marine                           310 Airplane                        362 Personal Injury-            620 Other Food & Drug                   423 Withdrawal                  410 Antitrust
   130       Miller Act                       315 Airplane Product                    Med. Malpractice            625 Drug Related Seizure                    28 USC 157                  430 Banks and Banking
   140       Negotiable Instrument                Liability                                                           of Property 21 USC 881                                              450 Commerce
   150       Recovery of Overpayment                                              365 Personal Injury-            630 Liquor Laws                                                         460 Deportation
                                              320 Assault, Libel &                    Product Liability                                               PROPERTY RIGHTS
             & Enforcement of Judgment            Slander                                                         640 R.R. & Truck                                                        470 Racketeer Influenced and
   151       Medicare Act                                                         368 Asbestos Personal           650 Airline Regs.                       820 Copyrights                      Corrupt Organizations
                                              330 Federal Employers’
   152       Recovery of Defaulted                Liability                           Injury Product              660 Occupational                        830 Patent                      480 Consumer Credit
             Student Loans                    340 Marine                              Liability                       Safety/Health                       840 Trademark                   490 Cable/Sat TV
             (Excl. Veterans)                 345 Marine Product               PERSONAL PROPERTY                  690 Other                                                               810 Selective Service
   153       Recovery of Overpayment              Liability                       370 Other Fraud                                                                                         850 Securities/Commodities/
             of Veteran’s Benefits            350 Motor Vehicle                   371 Truth in Lending                     LABOR                      SOCIAL SECURITY                         Exchange
   160       Stockholders’ Suit               355 Motor Vehicle                   380 Other Personal                                                                                      875 Consumer Challenge
   190       Other Contract                                                                                       710 Fair Labor Standards                861 HIA (1395ff)                    12 USC 3410
                                                  Product Liability                   Property Damage
   195       Contract Product Liability                                                                               Act                                 862 Black Lung (923)            890 Other Statutory Actions
                                              360 Other Personal                  385 Property Damage
   196       Franchise                                                                                            720 Labor/Mgmt. Relations                                               891 Agricultural Acts
                                                  Injury                              Product Liability                                                   863 DIWC/DIWW
                                                                                                                  730 Labor/Mgmt. Reporting                                               892 Economic Stabilization Act
                                                                                                                      & Disclosure Act                        (405(g))
         REAL PROPERTY                                                                                                                                                                    893 Environmental Matters
                                                    CIVIL RIGHTS                PRISONER PETITIONS                740 Railway Labor Act                   864 SSID Title XVI              894 Energy Allocation Act
   210       Land Condemnation                441 Voting                          510 Motions to Vacate           790 Other Labor Litigation              865 RSI (405(g))                895 Freedom of Information
   220       Foreclosure                      442 Employment                          Sentence                    791 Empl. Ret. Inc.                                                         Act
   230       Rent Lease & Ejectment           443 Housing/                                                            Security Act                                                        900 Appeal of Fee Determination
                                                                                    Habeas Corpus:                                                   FEDERAL TAX SUITS
   240       Torts to Land                        Accommodations                                                                                                                              Under Equal Access
   245       Tort Product Liability           444 Welfare                         530 General                                                             870 Taxes (U.S. Plaintiff           to Justice
   290       All Other Real Property          445 Amer. w/Disabilities-           535 Death Penalty                                                           or Defendant)               950 Constitutionality of
                                                  Employment                      540 Mandamus & Other                                                    871 IRS—Third Party                 State Statutes
                                              446 Amer. w/Disabilities-           550 Civil Rights                                                            26 USC 7609
                                                  Other                           555 Prison Condition
                                              440 Other Civil Rights

V. ORIGIN (Place an “X” in One Box Only)
                                                                                                                                                                                                     Appeal to District
                                                                                                                                       Transferred from
               Original                   Removed from                    Remanded from                   Reinstated or                                                 Multidistrict                Judge from
   1                               2                               3                                  4                           5    another district            6                          7
               Proceeding                 State Court                     Appellate Court                 Reopened                                                      Litigation                   Magistrate
                                                                                                                                       (specify)
                                                                                                                                                                                                     Judgment
                                                   Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                                   Oil Pollution Act of 1990, 33 U.S.C. § 2701, et seq.
VI.          CAUSE OF ACTION
                                                   Brief description of cause: Claims arising out of operation of the Deepwater Horizon in the Gulf of Mexico
VII. REQUESTED IN                                      CHECK IF THIS IS A CLASS ACTION                                DEMAND                                               CHECK YES only if demanded in complaint
      COMPLAINT:                                       UNDER F.R.C.P. 23                                             UNSPECIFIED                                           JURY DEMAND:         Yes         No

VIII. RELATED CASE(S)                              (See instructions)
      IF ANY                                                             JUDGE                SEE ATTACHED                                         DOCKET NUMBER                      2:10-md-02179

DATE                                                        SIGNATURE OF ATTORNEY OF RECORD
June 19, 2013                                                 s/Thomas W. Taylor
FOR OFFICE USE ONLY
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RECEIPT            AMOUNT             APPLYING IFP       JUDGE              MAG. JUDGE
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                                    CIVIL COVER SHEET
                              VIII. RELATED CASE(S) IF ANY

   21 Group Inc. v. BP Exploration & Production Inc.; Civil Action No. 3:13-cv-134; In the
    United States District Court for the Southern District of Texas, Galveston Division,
    Honorable Gregg Costa. Transferred to MDL 2179 E.D. Louisiana 5/1/2013.

   James Aaron, et al. v. BP Exploration & Production Inc.; Civil Action No. 4:13-cv-1433, In
    the United States District Court for the Southern District of Texas, Houston Division,
    Honorable Gray H. Miller.

   Action Restoration, Inc. v. BP America Inc., et al., Civil Action No. 1:12-cv-00240, In the
    United States District Court for the Eastern District of Texas, Beaumont Division, Honorable
    Ron Clark.

   Juan J. Aguilar, et al, v. Transocean, Ltd., et al, Civil Action No. 3:10-cv-00215, In the
    United States District Court for the Southern District of Texas, Galveston Division,
    Honorable Kenneth M. Hoyt.

   Jesus F. Ahumada, et al. v. BP Exploration & Production Inc.; Civil Action No. 4:13-cv-
    01427, In the United States District Court for the Southern District of Texas, Houston
    Division, Honorable Stephen Wm. Smith.

   James Allen, et al. v. BP America Production Company; Civil Action No. 4:12-cv-03506, In
    the United States District Court for the Southern District of Texas, Brownsville Division,
    Honorable Sim Lake.

   Alpasito, Inc., et al, v. BP Company North America Inc., et al, Civil Action No. 1:10-cv-
    00236, In the United States District Court for the Southern District of Texas, Brownsville
    Division, Honorable Hilda G. Tagle.

   Jack Arias, et al, v. BP Company North America Inc., et al, Civil Action No. 3:10-cv-00353,
    In the United States District Court for the Southern District of Texas, Galveston Division,
    Honorable Kenneth M. Hoyt.

   Benny Arispe, et al, v. BP Exploration & Production Inc., et al, Civil Action No. 4:10-cv-
    03197, In the United States District Court for the Southern District of Texas, Houston
    Division, Honorable Nancy F. Atlas.

   Oleander Benton and Gregory Luke Meche v. Transocean, Ltd., et al, Civil Action No. 4:10-
    cv-02765, In the United States District Court for the Southern District of Texas, Houston
    Division, Honorable Lynn N. Hughes.




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   Kevin D. Brannon, et al. vs. BP America Production Company, Civil Action No. 4:11-cv-
    04055, In the United States District Court for the Southern District of Texas, Houston
    Division, Honorable Nancy F. Atlas.

   Breathwit Marine Contractors Ltd. v BP Exploration & Production Inc.; Civil Action No.
    3:13-cv-00129; In the United States District Court for the Southern District of Texas,
    Galveston Division, Honorable Gregg Costa.

   BP Exploration & Production Inc., et al. v. Halliburton Energy Services, Inc., Civil Action
    No. 4:11-cv-01526, In the United States District Court for the Southern District of Texas,
    Houston Division, Honorable Sim Lake.

   Douglas Harold Brown, et al. v. BP Exploration & Production Inc., et al.; Civil Action No.
    4:11-2510; In the United States District Court for the Southern District of Texas, Houston
    Division, Honorable Keith P. Ellison.

   Le Bui, et al. v. BP Exploration & Production Inc., et al., Civil Action No. 4:11-cv-01657,
    In the United States District Court for the Southern District of Texas, Houston Division,
    Honorable Lynn N. Hughes.

   Oscar Bui, et al. v. BP Exploration & Production Inc., et al., Civil Action No. 4:11-cv-
    00472, In the United States District Court for the Southern District of Texas, Houston
    Division, Honorable Vanessa D. Gilmore.

   Tien Duc Bui, et al. v. BP p.l.c.; Civil Action No. 4:13-cv-01123; In the United States
    District Court for the Southern District of Texas, Houston Division, Honorable David
    Hittner.

   Captain Bubba v BP Exploration & Production Inc.; Civil Action No. 3:13-cv-00133; In the
    United States District Court for the Southern District of Texas, Galveston Division,
    Honorable Gregg Costa.

   Abelardo Carbajal v. BP Products North America Inc., Civil Action No. 3:11-cv-00379, In
    The United States District Court for the Southern District of Texas, Galveston Division,
    Honorable Kenneth Hoyt.

   Michael Chatman, et al, v. BP Exploration & Production Inc., et al, Civil Action No. 4:10-
    cv-04329, In the United States District Court for the Southern District of Texas, Houston
    Division, Honorable Kenneth Hoyt.

   M.P. Cheng, et al, V. BP Company North America Inc., et al, Civil Action No. 4:10-cv-
    02717, In the United States District Court for the Southern District of Texas, Houston
    Division, Honorable Lynn N. Hughes.


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   Samuel Chernin, et al, v. BP Company North America et al, Civil Action No. 3:10-cv-00350,
    In the United States District Court for the Southern District of Texas, Houston Division,
    Honorable Kenneth M. Hoyt.

   Alberto Tecun Chimin v. Transocean, Ltd., et al, Civil Action No. 3:10-cv-00212, In the
    United States District Court for the Southern District of Texas, Galveston Division,
    Honorable Kenneth M. Hoyt.

   Shun Y. Chu, et al, v. BP, PLC. et al, Civil Action No. 4:10-cv-01972, In the United States
    District Court for the Southern District of Texas, Honorable Lee H. Rosenthal.

   City of Galveston, Texas v BP Exploration & Production Inc.; Civil Action No. 3:13-cv-
    00128; In the United States District Court for the Southern District of Texas, Galveston
    Division, Honorable Gregg Costa.

   City of South Padre Island v BP Exploration & Production Inc., et al.; Civil Action No. 1:13-
    cv-00249; In the United States District Court for the Eastern District of Texas, Beaumont
    Division, Honorable Ron Clark.

   Charles J. Contegni, Jr., d/b/a Chips Shrimp, Inc., individually and on behalf of those
    similarly situated, v. Transocean Ltd, et al, Civil Action No. 4:10-cv-01989, In the United
    States District Court for the Southern District of Texas, Houston Division, Honorable Lynn
    N. Hughes.

   Billy Coon, et al, v. BP Exploration & Production Inc., et al, Civil Action No. 3:10-cv-
    00290, In the United States District Court for the Southern District of Texas, Galveston
    Division, Honorable Kenneth M. Hoyt.

   Marcus L. Craft, et al. v. BP p.l.c., et al.; Civil Action No. 3:13-cv-00123; In the United
    States District Court for the Southern District of Texas, Galveston Division, Honorable
    Gregg Costa.

   Derek Crayton d/b/a Total Truck and Trailer LLC, et al. v. BP plc, Civil Action No. 4:13-cv-
    01095; In the United States District Court for the Southern District of Texas, Houston
    Division, Honorable Lee H. Rosenthal.

   Nyoka Curtis, as Next Friend of Treavor Ray Curtis, a Minor, et al v. BP Exploration &
    Production Inc., et al, Civil Action No. 4:11-cv-02231, In the United States District Court for
    the Southern District of Texas, Houston Division, Honorable Lee H. Rosenthal.

   Nyoka Curtis, as next friend of Treavor Ray Curtis, a minor, et al. v. BP America Production
    Company; Civil Action No. 4:13-cv-1533, In the United States District Court for the
    Southern District of Texas, Houston Division, Honorable Kenneth Hoyt.


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   Matthew Davis, et al, v. Cameron International Corp., et al, Civil Action No. 4:10-cv-01852,
    In the United States District Court for the Southern District of Texas, Honorable Sim Lake.

   Declor USA Inc. v. BP p.l.c., et al., Civil Action No. 4:13-cv-01101; In the United States
    District Court for the Southern District of Texas, Houston Division, Honorable Sim Lake.

   Liem V. Do, et al, v. BP Exploration & Production Inc., et al, Civil Action No.
    4:10-cv-02256, In the United States District Court for the Southern District of Texas,
    Houston Division, Honorable David Hittner.

   Steve Dorst, et al. vs. BP Exploration & Production Inc., et al., Civil Action No. 4:12-cv-
    00832, In the United States District Court for the Southern District of Texas, Houston
    Division, Keith P. Ellison.

   Tran Ngoc Dung, et al, v. BP Exploration & Production Inc., et al, Civil Action No. 4:10-cv-
    02129, In the Southern District of Texas, Houston Division, Honorable Sim Lake.

   Ecco Solutions, et al, v. BP Company North America Inc., et al, Civil Action No. 3:10-cv-
    00354, In the United States District Court for the Southern District of Texas, Galveston
    Division, Honorable Kenneth M. Hoyt.

   Daniel Edison, et al. v. BP Exploration & Production Inc., et al.; Civil Action No. 4:13-cv-
    01431, In the United States District Court for the Southern District of Texas, Houston
    Division, Honorable Frances H. Stacy.

   Endeavour Marina Clear Lake LP v. BP Exploration & Production Inc.; Civil Action No.
    3:13-cv-00142; In the United States District Court for the Southern District of Texas,
    Galveston Division, Honorable Gregg Costa.

   Esquivel v. BP Company North America Inc., et al, Civil Action No. 1:10-cv-00227, In the
    United States District Court for the Southern District of Texas, Brownsville Division,
    Honorable Hilda G. Tagle.

   Shane Faulk v. Transocean, Ltd., et al, Civil Action No. 4:10-cv-02766, In the United States
    District Court for the Southern District of Texas, Houston Division, Honorable Kenneth M.
    Hoyt.

   Galveston.com & Company Inc. v. BP Exploration & Production Inc.; Civil Action No. 3:13-
    cv-00135; In the United States District Court for the Southern District of Texas, Galveston
    Division, Honorable Gregg Costa.

   Galveston Development Corp. d/b/a A&N Properties LLC v. BP Exploration & Production
    Inc.; Civil Action No. 3:13-cv-00139; In the United States District Court for the Southern
    District of Texas, Galveston Division, Honorable Gregg Costa.

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   Galveston Party Boats Inc. v. BP Exploration & Production Inc.; Civil Action No. 3:13-cv-
    00140; In the United States District Court for the Southern District of Texas, Galveston
    Division, Honorable Gregg Costa.

   Galveston Seawall Motel Ltd. v. BP Exploration & Production Inc.; Civil Action No. 3:13-
    cv-00144; In the United States District Court for the Southern District of Texas, Galveston
    Division, Honorable Gregg Costa.

   Garcia Enterprises Inc. v. BP Exploration & Production Inc.; Civil Action No. 3:13-cv-
    00131; In the United States District Court for the Southern District of Texas, Galveston
    Division, Honorable Gregg Costa.

   Raymond Gore, et al v. BP Company North America Inc., et al, Civil Action No. 3:10-cv-
    00486, In the United States District Court for the Southern District of Texas, Galveston
    Division, Honorable Kenneth M. Hoyt.

   Guindon v. BP PLC, et al, Civil Action No. 3:10-cv-00317, In the United States District
    Court for the Southern District of Texas, Galveston Division, Honorable Kenneth M. Hoyt.

   Gulf King Services, Inc. v. BP Exploration & Production Inc., et al., Civil Action No. 4:11-
    cv-00312, In the United States District Court for the Southern District of Texas, Houston
    Division, Honorable David Hittner.

   Gulf of Mexico Reef Fish Shareholders’ Alliance v. BP Exploration & Production Inc.; Civil
    Action No. 3:13-cv-00138; In the United States District Court for the Southern District of
    Texas, Galveston Division, Honorable Gregg Costa.

   Halliburton Energy Services, Inc. v. BP Exploration & Production Inc., Civil Action No.
    4:11-cv-01687, In the United States District Court for the Southern District of Texas,
    Houston Division, Honorable Sim Lake.

   Halliburton Energy Services, Inc. v. BP Exploration & Production Inc., et al., Civil Action
    No. 4:11-cv-03392, In the United States District Court for the Southern District of Texas,
    Houston Division, Honorable Keith P. Ellison.

   HESTA Super Fund v. BP p.l.c., et al., Civil Action No. 4:13-cv-00129, In the United States
    District Court for the Southern District of Texas, Houston Division, Honorable Nancy F.
    Atlas.

   David Hogan, et al. v. BP Exploration & Production Inc., et al., Civil Action No. 4:12-cv-
    01608, In the United States District Court for the Southern District of Texas, Houston
    Division, Honorable Magistrate Judge Frances H. Stacy.



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   Humble Lodging, LLC et al. v. BP Exploration & Production Inc., et al.; Civil Action No.
    1:13-cv-00248; In the United States District Court for the Eastern District of Texas,
    Beaumont Division, Honorable Ron Clark.

   In Re The Complaint and Petition of Triton Asset Leasing GmbH, Transocean Holdings LLC,
    Transocean Offshore Deepwater Drilling Inc., and Transocean Deepwater Inc., as Owner,
    Managing Owners, Owners Pro-Hac Vice, And/or Operators of the MODU Deepwater
    Horizon, in a Cause for Exoneration from or Limitation of Liability, Civil Action No.
    4:10-cv-01721, In the United States District Court for the Southern District of Texas,
    Houston, Honorable Keith Ellison.

   Lance John v. Transocean, Ltd., et al, Civil Action No. 4:10-cv-02947, In the United States
    District Court for the Southern District of Texas, Houston Division, Honorable David
    Hittner.

   Brad Jones, et al, v. Cameron International Corporation, et al, Civil Action No.
    4:10-CV-2354, In the United States District Court for the Southern District of Texas,
    Houston Division, Honorable Sim Lake.

   Kahala Development LP v. BP Exploration & Production Inc.; Civil Action No. 3:13-cv-
    00132; In the United States District Court for the Southern District of Texas, Galveston
    Division, Honorable Gregg Costa.

   Peggy Kemp vs. BP Exploration & Production Inc., et al., Civil Action No. 4:12-cv-01989,
    In the United States District Court for the Southern District of Texas, Houston Division,
    Honorable David Hittner.

   Peggy Kemp, Individually, and in her capacity as the surviving natural mother of Roy Wyatt
    Kemp, Deceased v. BP America Production Company; Civil Action No. 4:13-cv-01535, In
    the United States District Court for the Southern District of Texas, Houston division,
    Honorable Nancy F. Atlas.

   Yancy Keplinger v. BP Exploration & Production Inc., et al.; Civil Action No. 4:13-cv-1564,
    In the United States District Court for the Southern District of Texas, Houston Division,
    Honorable Lee H. Rosenthal.

   William Kibby vs. BP PLC., et al., Civil Action No. 3:12-cv-00102, In the United States
    District Court for the Southern District of Texas, Galveston Division, Honorable Kenneth M.
    Hoyt.

   Hank J. Kiff vs. BP America Production Company, Civil Action No. 4:12-cv-3179; In the
    United States District Court for the Southern District of Texas, Houston Division, Honorable
    Stephen W. Smith.


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   Tracy Kleppinger v. Transocean Offshore Deepwater Drilling, Inc., et al, Civil Action No.
    4:10-cv-01851, In the United States District Court for the Southern District of Texas,
    Houston Division, Honorable Nancy F. Atlas.

   Joshua Kritzer, et al, v. BP America Inc., et al, Civil Action No. 4:10-cv-01854, In the
    United States District Court for the Southern District of Texas, Houston Division, Honorable
    Sim Lake.

   Roy Lam, et al, v. BP PLC, et al, Civil Action No. 4:10-cv-02261, In the United States
    District Court for the Southern District of Texas, Houston Division, Honorable David
    Hittner.

   An V Le, et al. v. BP PLC, Civil Action No. 1:13-cv-00244, In the United States District
    Court for the Eastern District of Texas, Beaumont Division, Honorable Thad Heartfield.

   Duc Trong Le, et al, v. BP PLC, et al, Civil Action No. 4:10-cv-01971, In the United States
    District Court for the Southern District of Texas, Houston Division, Honorable Sim Lake.

   Thum M. Le, et al, v. BP PLC, et al, Civil Action No. 4:10-cv-01970, In the United States
    District Court for the Southern District of Texas, Houston Division, Honorable Lynn N.
    Hughes.

   Tien Le, et al, v. BP PLC, et al, Civil Action No. 4:10-cv-02619, In the United States District
    Court for the Southern District of Texas, Houston Division, Honorable Sim Lake.

   Trung Le, et al. v. BP Exploration & Production Inc., et al., Civil Action No. 4:11-cv-01397,
    In the United States District Court for the Southern District of Texas, Houston Division,
    Honorable Kenneth M. Hoyt.

   Richard M. Leagre, individually and on behalf of those similarly situated, v. BP PLC, et al,
    Civil Action No. 4:10-cv-02446, In the United States District Court for the Southern District
    of Texas, Houston Division, Honorable Lynn N. Hughes.

   Loggerhead Holdings Inc., et al. v. BP Exploration & Production Inc.; Civil Action No.
    4:13-cv-01128; In the United States District Court for the Southern District of Texas,
    Houston Division, Honorable Melinda Harmon.

   A. Binh Luu, et al. v. BP Exploration & Production Inc., et al., Civil Action No. 4:11-cv-
    01660, In the United States District Court for the Southern District of Texas, Houston
    Division, Honorable Nancy F. Atlas.

   Amelia Mai, et al, v. BP PLC, et al, Civil Action No. 4:10-cv-02621, In the United States
    District Court for the Southern District of Texas, Houston Division, Honorable Lee H.
    Rosenthal.

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   Malin International Ship Repair & Drydock Inc. v. BP Exploration & Production Inc.; Civil
    Action No. 3:13-cv-00130; In the United States District Court for the Southern District of
    Texas, Galveston Division, Honorable Gregg Costa.

   Paul Meinhart v. BP Exploration & Production Inc., et al., Civil Action No. 4:11-cv-00073,
    In the United States District Court for the Southern District of Texas, Houston Division,
    Honorable Lee H. Rosenthal.

   Morales v. BP Exploration & Production Inc. et al, Civil Action No. 3:10-cv-00477, In the
    United States District Court for the Southern District of Texas, Galveston Division,
    Honorable Kenneth M. Hoyt.

   Patrick Morgan et al, v. Transocean Ltd., et al, Civil Action No. 4:10-cv-04926, In the
    United States District Court for the Southern District of Texas, Houston Division, Honorable
    Nancy F. Atlas.

   The National Vietnamese American Fishermen Emergency Association, et al, v. BP PLC, et
    al, Civil Action No. 4:10-cv-01607, In the United States District Court for the Southern
    District of Texas, Houston Division, Honorable Lynn Hughes.

   Ben Nelson and Jeri Nelson, d/b/a Jeri's Seafood, Inc., et al, v. Transocean Ltd, et al, Civil
    Action No. 3:10-cv-00172, In the United States District Court for the Southern District of
    Texas, Houston Division, Honorable Kenneth M. Hoyt.

   Keit Ngo, et al, v. BP Exploration & Production, Inc. et al, Civil Action No. 4:10-cv-03071,
    In the United States District Court for the Southern District of Texas, Houston Division,
    Honorable Keith P. Ellison.

   Nguyen, et al. v. BP Exploration & Production Inc.; Civil Action No. 4:13-cv-01143; In the
    United States District Court for the Southern District of Texas, Houston Division, Honorable
    Lee H. Rosenthal.

   Ann H. Nguyen, et al, v. BP PLC, et al, Civil Action No. 4:10-cv-02259, In the United States
    District Court for the Southern District of Texas, Houston Division, Honorable Nancy F.
    Atlas.

   Bao Van Nguyen v. BP Exploration & Production Inc.; Civil Action No. 3:13-cv-00143, In
    the United States District Court for the Southern District of Texas, Galveston Division,
    Honorable Gregg Costa.

   Cheiu H. Nguyen, et al, v. BP PLC, et al, Civil Action No. 4:10-cv-02625, In the United
    States District Court for the Southern District of Texas, Houston Division, Honorable Ewing
    Werlein, Jr.


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   Cindy T. Nguyen, et al. v. BP PLC, et al, Civil Action No. 4:10-cv-02030, In the United
    States District Court for the Southern District of Texas, Houston Division, Honorable Lee H.
    Rosenthal.

   Cuch Nguyen, et al, v. BP Exploration & Production Inc., et al, Civil Action No. 4:10-cv-
    02484, In the United States District Court for the Southern District of Texas, Houston
    Division, Honorable Nancy F. Atlas.

   Dong Nguyen, et al, v. BP PLC, et al, Civil Action No. 4:10-cv-01969, In the United States
    District Court for the Southern District of Texas, Houston Division, Honorable Kenneth M.
    Hoyt.

   Dong Van Nguyen v. BP Exploration & Production Inc., et al.; Civil Action No. 4:12-cv-
    03059, In the United States District Court for the Southern District of Texas, Houston
    Division, Honorable Nancy F. Atlas.

   Dong V. Nguyen vs. BP Exploration & Production Inc.; Deepwater Horizon Oil Spill Trust,
    Civil action No. 4:12-cv-02854, In the United States District Court for the Southern District
    of Texas, Houston Division, Honorable Nancy J. Atlas.

   Susie Nguyen v. BP Exploration & Production Inc., et al, Civil Action No. 4:10-cv-03072, In
    the United States District Court for the Southern District of Texas, Houston Division,
    Honorable Lynn N. Hughes.

   Trinh Nguyen, et al, v. BP PLC, et al, Civil Action No. 4:10-cv-03068, In the United States
    District Court for the Southern District of Texas, Houston Division, Honorable Keith P.
    Ellison.

   Xuan V. Nguyen, et al, v. BP PLC, et al, Civil Action No. 4:10-cv-01968, In the United
    States District Court for the Southern District of Texas, Houston Division, Honorable Sim
    Lake.

   Oak Island Seafood, LLC, et al. v. BP Exploration & Production Inc., et al., Civil Action No.
    4:11-cv-03808, In the United States District Court for the Southern District of Texas,
    Houston Division, Honorable Sim Lake.

   Olympia at Pier 21 Inc. v. BP Exploration & Production Inc.; Civil Action No. 3:13-cv-
    00136; In the United States District Court for the Southern District of Texas, Galveston
    Division, Honorable Gregg Costa.

   Pappas Restaurants, Inc. v. Transocean Offshore Deepwater Drilling, Inc., et al, Civil
    Action No. 4:10-cv-01912, In the United States District Court for the Southern District of
    Texas, Houston Division, Honorable Vanessa Gilmore.


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   Photon Factory LLC v. BP Exploration & Production Inc.; Civil Action No. 3:13-cv-00141;
    In the United States District Court for the Southern District of Texas, Galveston Division,
    Honorable Gregg Costa.

   Pleasure Island Commission of the City of Port Arthur, Texas v. BP America Inc., et al.,
    Civil Action No. 1:12-cv-00244, In the United States District Court for the Eastern District of
    Texas, Beaumont Division, Honorable Ron Clark.

   Doan V. Pham v. BP Exploration & Production Inc., et al, Civil Action No. 4:10-cv-03346,
    In the United States District Court for the Southern District of Texas, Houston Division,
    Honorable Kenneth M. Hoyt.

   Alberto Rojas Rodriguez, et al, v. Transocean, Ltd., et al, Civil Action No. 3:10-cv-00221, In
    the United States District Court for the Southern District of Texas, Galveston Division,
    Honorable Kenneth M. Hoyt.

   Sabine Pass Port Authority v. BP America Inc., et al., Civil Action No. 1:12-cv-00245, In the
    United States District Court for the Eastern District of Texas, Beaumont Division, Honorable
    Thad Heartfield.

   Kurt Satchfield, et al, v. BP PLC,, et al, Civil Action No. 4:10-cv-02397, In the United States
    District Court for the Southern District of Texas, Houston Division, Honorable Sim Lake.

   Kevin P. Senegal v. BP Exploration & Production Inc., et al; Civil Action No. 4:11-cv-1796,
    In the United States District Court for the Southern District of Texas, Houston Division,
    Honorable Kenneth M. Hoyt.

   Joe D. Seta, et al, v. BP PLC, et al, Civil Action No. 4:10-cv-02448, In the United States
    District Court for the Southern District of Texas, Houston Division, Honorable Kenneth M.
    Hoyt.

   Charles Smith v. BP Company North America Inc., et al, Civil Action No. 4:10-cv-04288, In
    the United States District Court for the Southern District of Texas, Houston Division,
    Honorable David Hittner.

   Sterling Shipyard, LP v. BP America Inc., et al., Civil Action No. 1:12-cv-00241, In the
    United States District Court for the Eastern District of Texas, Beaumont Division, Honorable
    Marcia Crone.

   Stephen Stone, et al. v. BP Exploration & Production Inc., et al.; Civil Action No. 4:13-cv-
    01671; In the United States District Court for the Southern District of Texas, Houston
    Division, Honorable Lynn N. Hughes.




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   Supply Pro, Inc. vs. BP Exploration and Production, Inc., et al., Civil Action No. 4:12-cv-
    00737, In the United States District Court for the Southern District of Texas, Houston
    Division, Melinda Harmon.

   Tech West LLC, et al. v. BP p.l.c., et al.; Civil Action No. 4:13-cv-01107; In the United
    States District Court for the Southern District of Texas, Houston Division, Honorable
    Kenneth M. Hoyt.

   The City of Houston, Texas v. BP Exploration & Production Inc.; Civil Action No. 4:13-cv-
    01130; In the United States District Court for the Southern District of Texas, Houston
    Division, Honorable Sim Lake.

   Timmons Restaurant Partners, et al, v. BP Company North America Inc. et al, Civil Action
    No. 4:10-cv-03201, In the United States District Court for the Southern District of Texas,
    Houston Division, Honorable Kenneth M. Hoyt.

   Dora Gastian Todd v. Transocean, Ltd., et al, Civil Action No. 3:10-cv-00213, In the United
    States District Court for the Southern District of Texas, Galveston Division, Honorable
    Kenneth M. Hoyt.

   Buddy Trahan v. BP PLC, et al, Civil Action No. 4:10-cv-03198, In the United States District
    Court for the Southern District of Texas, Houston Division, Honorable Nancy F. Atlas.

   Doahn Tran, et al, v. BP Exploration & Production Inc. et al, Civil Action No. 4:10-cv-
    02897, In the United States District Court for the Southern District of Texas, Houston
    Division, Honorable Lynn N. Hughes.

   Phong Tran, et al, v. BP PLC, et al, Civil Action No. 4:10-cv-02624, In the Southern District
    of Texas, Houston Division, Honorable Lee H. Rosenthal.

   Sang Tran, et al, v. BP Exploration & Production Inc., et al, Civil Action No. 4:10-cv-
    03069, In the United States District Court for the Southern District of Texas, Houston
    Division, Honorable Nancy F. Atlas.

   Tam Tran, et al, v. BP Exploration & Production Inc., et al, Civil Action No. 4:10-cv-03070,
    In the United States District Court for the Southern District of Texas, Houston Division,
    Honorable Nancy F. Atlas.

   Thong Tran, et al. v. BP America Inc., et al, Civil Action No. 4:10-cv-02254, In the Southern
    District of Texas, Houston Division, Honorable Lynn N. Hughes.

   Sergio Valdivieso v. Southern Cat, Inc., et al., Civil Action No. 4:12-cv-01018; In the
    Southern District of Texas, Houston Division, Honorable David Hittner.



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   Dan A. Van, et al, v. BP PLC, et al, Civil Action No. 4:10-cv-02257, In the Southern District
    of Texas, Houston Division, Honorable Lee H. Rosenthal.

   Tung Vo, et al v. BP PLC, et al, Civil Action No. 4:10-cv-02622, In the United States District
    Court for the Southern District of Texas, Houston Division, Honorable Melinda Harmon.

   Cuong Dinh Vu v. BP Exploration & Production Inc.; Civil Action No. 4:13-cv-01131; In the
    United States District Court for the Southern District of Texas, Houston Division, Honorable
    Lee H. Rosenthal.

   Darrell Walker v. Mc-OO, Inc., et al., Civil Action No. 1:13-cv-257, In the United States
    District Court for the Eastern District of Texas, Beaumont Division, Honorable Ron Clark.

   West Gulf Marine Ltd. v. BP Exploration & Production Inc.; Civil Action No. 3:13-cv-
    00137; In the United States District Court for the Southern District of Texas, Galveston
    Division, Honorable Gregg Costa.

   Keith Woodward, d/b/a S S L International, Inc. v. Transocean, Ltd., et al, Civil Action No.
    3:10-cv-00211, In the United States District Court for the Southern District of Texas,
    Galveston Division, Honorable Kenneth M. Hoyt.

   Worldwide Sorbent Products, Inc. vs. BP Exploration and Production, Inc., et al. Civil
    Action No. 4:12-cv-00705, In the United States District Court for the Southern District of
    Texas, Houston Division, Honorable Sim Lake.

   Micah Wright, individually and on behalf of those similarly situated, v. BP PLC, et al, Civil
    Action No. 4:10-cv-02088, In the United States District Court for the Southern District of
    Texas, Houston Division, Honorable Lynn N. Hughes.

   Robert Young vs. BP Exploration and Production Inc., et al., Civil Action No. 4:12-cv-
    00989, In the United States District Court for the Southern District of Texas, Houston
    Division, Honorable David Hittner.




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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

LINDA TRANG TRAN,                 §
INDIVIDUALLY AND D/B/A            §
BUCCANEER SEAFOOD, ET AL.,        §
                                  §
     Plaintiffs,                  §
                                  §
vs.                               §                    4:13-cv-1785
                                              C.A. NO: ________________
                                  §
BP EXPLORATION AND PRODUCTION, §
INC., BP AMERICA PRODUCTION       §
COMPANY, BP CORPORATION NORTH §
AMERICA, INC., BP PLC, TRANSOCEAN §
DEEPWATER INC., TRANSOCEAN        §
OFFSHORE DEEPWATER DRILLING       §
INC., TRANSOCEAN HOLDINGS LLC.,   §
TRANSOCEAN LTD., TRITON ASSET     §
LEASING GMBH, HALLIBURTON         §
ENERGY SERVICES, INC. AND SPERRY §
DRILLING SERVICES,                §
                                  §
       Defendants.                §

                          LIST OF COUNSEL OF RECORD

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and d/b/a Buccaneer Seafood, et al.,      State Bar No. 04769750
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BP Exploration and Production Inc.; BP    Thomas W. Taylor
America Production Company; and BP        Southern District No. 3906
Corporation North America Inc.            Texas Bar No. 19723875
                                          Andrews Kurth LLP
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Defendants                               john.elsley@roystonlaw.com
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                                                     LINDA TRANG TRAN,                           §     IN THE DISTRICT COURT OF
                                                     INDIVIDUALLY AND D/B/A                      §
                                                     BUCCANEER SEAFOOD,                          §
                                                     ET AL,                                      §
                                                               Plaintiffs,                       §
                                                                                                 §
                                                     V.                                          §
                                                                                                 §
                                                     BP EXPLORATION & PRODUCTION,                §
                                                     INC., BP AMERICA PRODUCTION                 §      HARRIS COUNTY, TEXAS
                                                     COMPANY, BP CORPORATION                     §
                                                     NORTH AMERICA, INC., BP PLC,                §
                                                     TRANSOCEAN OFFSHORE                         §
                                                     DEEPWATER DRILLING, INC.,                   §
                                                     TRANSOCEAN HOLDINGS, LLC                    §
                                                     TRANSOCEAN DEEPWATER, INC.                  §
                                                     TRANSOCEAN LTD., TRITON ASSET               §
                                                     LEASING GMBH, HALLIBURTON                   §
                                                     ENERGY SERVICES, AND SPERRY                 §
                                                     DRILLING SERVICES,                          §             JUDICIAL DISTRICT

                                                                    Defendants.

                                                                           PLAINTIFFS’ ORIGINAL PETITION

                                                     TO THE HONORABLE JUDGE OF SAID COURT:

                                                            COMES NOW, LINDA TRANG TRAN, INDIVIDUALLY AND D/B/A

                                                     BUCCANEER SEAFOOD, ET AL, hereinafter referred to as Plaintiffs (See Exhibit

                                                     “A”), complaining of and against BP EXPLORATION AND PRODUCTION, INC., BP
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                                                     AMERICA PRODUCTION COMPANY, BP CORPORATION NORTH AMERICA,

                                                     INC., BP PLC, TRANSOCEAN OFFSHORE DEEPWATER DRILLING, INC.,

                                                     TRANSOCEAN DEEPWATER, INC., TRANSOCEAN LTD., TRITON ASSET

                                                     LEASING GMBH, HALLIBURTON ENERGY SERVICES and SPERRY DRILLING

                                                     SERVICES, Defendants herein, and for cause of action, would respectfully show unto the

                                                     Court as follows:



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     I, Chris Daniel, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this June 18, 2013


     Certified Document Number:        55382624 Total Pages: 44




     Chris Daniel, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




In accordance with Texas Government Code 406.013 electronically transmitted authenticated
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                                                            LAST NAME               FIRST NAME                         COMPANY NAME                    STATE
                                                                                                    LINDA TRANG TRAN, INDIVIDUALLY AND DBA BUCCANEER
                                                                                                    SEAFOOD                                            TX


                                                      ABRAM             LESTER                                                                         MS


                                                      ABRAM             LORETTA                                                                        MS


                                                      ABRAMS            PAMELA                                                                         AL


                                                      ABRAMS            SHAUNTA                                                                        AL


                                                      ABRAMS            TRINNIE                                                                        MS


                                                      ABRAMS-PETTAWAY   LATASHA A                                                                      AL


                                                      ACOSTA            JULIO                                                                          MS


                                                      Adams             Chandra                                                                        AL


                                                      ADAMS             DENIS                                                                          AL


                                                      ADAMS             LAMAR                                                                          AL


                                                      ADAMS             MANERVIA                                                                       AL


                                                      ADAMS             RAYMOND                                                                        AL


                                                      Adams             Valencia                                                                       AL


                                                      ADAMS             FREDRICK                                                                       MS


                                                      ADAMS             GALA                                                                           MS


                                                      ADAMS             WILLIAM                                                                        SD


                                                      ADAMS             BRIAN                                                                          TX


                                                      Addison           Tamario                                                                        MS


                                                      ADKINS            JOSEPH                                                                         MS


                                                      AGGERY            INDIA ALEXANDRA                                                                AL


                                                      AGUILA            JOSE LUIS HERRERA                                                              AL


                                                      AGUILAR           ALEJANDRO                                                                      TX


                                                      AGUILERA          JORGE                                                                          AL


                                                      Aguilera          Marco                                                                          TX


                                                      AGUIRRE           ENRIQUE                                                                        TX
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                                                      AHUMADA           BENITO                                                                         TX


                                                      ALBERGA           DIANE                                                                          AL


                                                      ALBERGA           GERALD                                                                         AL


                                                      Albrecht          Clay                                                                           MS


                                                      Albretsen         Dale                                                                           AL


                                                      Aldridge          Lloyd                                                                          TX


                                                      Alexander         Daniel                                                                         MS


                                                      ALEXANDER         GLENN                                                                          TX


                                                      ALFORD            DANNY                                                                          AL


                                                      ALFORD            HERMAN                                                                         AL
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                                                      ALINA           MELANDRO                                           MS


                                                      ALLEN           DEBORAH                                            AL


                                                      Allen           Thomasina                                          AL


                                                      Allen           Jared                                              FL


                                                      ALLEN           DARRON                                             MS


                                                      ALLEN           KAREN                                              MS


                                                      Allen           Karen                                              MS


                                                      ALLEN           LINDA                                              MS


                                                      ALLEN           PATRICIA                                           MS


                                                      ALLEN           SHONDRIA                                           MS


                                                      ALLEN           TAMMIE                                             MS


                                                      Allen           Dave                                               TX


                                                      ALLEN           LONA                                               AL


                                                      ALSEPT          VALERIE                                            AL


                                                      ALSTON          RONNIE                                             AL


                                                      ALVARADO        SALVADOR                                           AL


                                                      ALVAREZ         RAMIRO                                             AL


                                                      ALVAREZ         EFREN                                              MS


                                                      ALVERDIN        JORGE                                              MS


                                                      ALVERDIN        JOSAFAT                                            MS


                                                      Alvis           Kyle                                               AL


                                                      AMADEO          PETER                                              MS


                                                      AMISON          HERMAN                                             OH


                                                      AMOS            BENJAMIN                                           MS


                                                      AMOS            VERGIE                                             MS


                                                      Anderson        Brandon                                            AL


                                                      ANDERSON        EVELYN                                             AL
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                                                      ANDERSON        SHARYL                                             AL


                                                      Anderson        Kerry                                              GA


                                                      Anderson        John                                               MS


                                                      Anderson        Kimberly                                           MS


                                                      ANDERSON        LAURA                                              MS


                                                      ANDERSON        SHANEKA                                            MS


                                                      ANDERSON        BARRY                                              TX


                                                      ANDREWS         KAIWAN                                             AL


                                                      ANDREWS         WILLIE                                             AL


                                                      ANGLIN          PAMELA                                             AL
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                                                      ANIZETO           GUEVARA                                           TX


                                                      Anthony           Brian                                             AL


                                                      ANTHONY           REGINA                                            MS


                                                      ANTHONY           TIGRE                                             MS


                                                      APPLING           ALTON                                             AR


                                                      AQUART            MICHAEL                                           MS


                                                      ARD               SANDRA                                            GA


                                                      ARELLANO          JOSEFA                                            TX


                                                      ARMSTEAD          KRISTEN                                           AL


                                                      Armstead          Lesley                                            AL


                                                      ARMSTRONG         ANTONIO                                           MS


                                                      ARMSTRONG         KATHERINE                                         MS


                                                      Arnold            Rayshun                                           AL


                                                      ARNOLD            ALICIA                                            MS


                                                      ARNOLD            BREANNA                                           MS


                                                      ARRIAGA           HECTOR                                            TX


                                                      ASHE              JOYCE                                             MS


                                                      ATKINS            LYNDON                                            AL


                                                      ATLAS             JOANNA                                            MS


                                                      Averette          JEFFREY                                           AL


                                                      BABINEAUX         GALE                                              AL


                                                      BACON             ROBERT                                            CO


                                                      BACON             KENNETH                                           TN


                                                      BADILLO           JESUS                                             TX


                                                      BAE               HYANG                                             MS


                                                      BAEZ              OSCAR                                             TX


                                                      BAGBY             WALTER                                            AL
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                                                      Baggett           Benjamin                                          AL


                                                      BAILEY            JOHN                                              AR


                                                      BAILEY            ADRIAN                                            MS


                                                      BAKER             GEORGIA                                           AL


                                                      BAKER             JAMES                                             AL


                                                      BAKER             JOHN                                              MS


                                                      BAKER             RITA                                              MS


                                                      BAKER             TERRY                                             MS


                                                      BAL               IBRAHIM                                           TN


                                                      BALDERAS CASTRO   JESUS                                             TX
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                                                      BALDWIN        CHRISTOPHER                                        MS


                                                      BALL           AARON                                              AL


                                                      Ball           Christopher                                        MS


                                                      BALL           JAMES                                              MS


                                                      Ballard        Tony                                               MS


                                                      Banks          Sidney                                             AL


                                                      BANKS          TEREATHER                                          AL


                                                      BANKS          CATHY                                              MS


                                                      BANKS          DAPHNE                                             MS


                                                      Bao            Binh                                               TX


                                                      BARBEE         TRACIE                                             MS


                                                      Barber         Lakisha                                            MS


                                                      Bardin         Thomas                                             NC


                                                      Barker         Robert                                             AL


                                                      Barlow         Tommie                                             MS


                                                      BARNES         CALVIN                                             AL


                                                      Barnes         Faith                                              MO


                                                      BARNES         GARY                                               MS


                                                      BARNES         KENDRICK                                           MS


                                                      BARNES         PAULA                                              MS


                                                      Barnes         Ralph                                              MS


                                                      BARNES         RUTH                                               MS


                                                      Barnes         Vatricia                                           MS


                                                      Barnett        Terry                                              AL


                                                      BARNETT        LAURIE                                             MS


                                                      BARNETT        PAUL                                               MS


                                                      BARNETT        DALE                                               TX
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                                                      BARNEY         STEVEN                                             MS


                                                      BARONE         DAVID                                              MS


                                                      BARONE         MARY                                               MS


                                                      BARRERA        RODOLFO                                            TX


                                                      BARRETT        ROBEN                                              AL


                                                      Barron         Nathan                                             AL


                                                      BARROW         PAMELA                                             AR


                                                      Barry          Patrick                                            CA


                                                      BARTON         JACK                                               TX


                                                      Bason          David                                              AL
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                                                      BASS            JEREMY                                             MS


                                                      BASS            STEVEN                                             TX


                                                      BATEASTE        LESTER                                             MS


                                                      Bates           Lashon                                             AL


                                                      BATES           LES                                                MS


                                                      BATES           TORY                                               MS


                                                      BATIE           ROBERT                                             AL


                                                      Battise         Ashley                                             AL


                                                      BATTLES         APRIL                                              MS


                                                      BATTS           SHANDA                                             NY


                                                      BAUCUM          EARNEST                                            AL


                                                      BAXLEY          MICHAEL                                            FL


                                                      BEAM            FRED                                               NC


                                                      BEARD           BRENDA                                             AL


                                                      BEARD           CARNELLE                                           AL


                                                      BEARD           CHRIS                                              AL


                                                      BEARD           MICHAEL                                            AL


                                                      BEARDEN         JEFFERY                                            AL


                                                      BEARDEN         JOSEPH                                             MS


                                                      BEARDEN         RAHSHADDA                                          MS


                                                      BEAUGEZ         ROBERT                                             MS


                                                      BEAVERS         WILLIAM                                            AL


                                                      BECK            LATIFFANY                                          AL


                                                      BECKHAM         WILLIAM                                            MS


                                                      BEE             LANITA                                             MS


                                                      BEECH           MARTHA                                             AL


                                                      BELANGER        RICHARD                                            CA
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                                                      BELCHER         BOBBY                                              AL


                                                      BELCHER         TONI                                               AL


                                                      BELL            JESSICA                                            AL


                                                      BELL            MONTY                                              AL


                                                      BELL            STEPHEN                                            AL


                                                      Belton          Ralph                                              MS


                                                      Bemis           Roger                                              AL


                                                      Bendolph        Harrell                                            AL


                                                      BENITEZ         ROBERTO                                            MS


                                                      BENJAMIN        BARON                                              AL
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                                                      BENJAMIN           KAREN                                              AL


                                                      BENN               ESTHER                                             MS


                                                      BENNETT            CLAYBERT                                           MS


                                                      BERG               TRAVIS                                             TX


                                                      Bergeron           David                                              AL


                                                      BERISTAIN          FELIX                                              MS


                                                      Berry              Matthew                                            FL


                                                      BERRY, JR.         THOMAS                                             GA


                                                      BEST               GRAYSON                                            MS


                                                      Betts              Reuben                                             MS


                                                      Beverly            Tavara                                             AL


                                                      BICKLEY            VIVIAN                                             MS


                                                      BIDA               DAN                                                TX


                                                      Bielen             Sandra                                             OR


                                                      Biggs              Quentella                                          MS


                                                      Biggs              Stacie                                             MS


                                                      BILLINGSLEY        ANGELA                                             AR


                                                      Bingham            Anna                                               AL


                                                      BIRDSONG           BETTY                                              MS


                                                      BISCAMP            MARK                                               TX


                                                      BISHOP             ROBERT                                             MI


                                                      BISHOP             MELINDA                                            MS


                                                      Bishop             Stephen                                            TX


                                                      BLACKMEN           JASMINE                                            AL


                                                      BLACKMON           JACK                                               MS


                                                      BLACKWELL          JAZMIN                                             MS


                                                      Blakney            Porshia                                            MS
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                                                      BLANCO             AIDE                                               TX


                                                      BLANKS             GEORGE                                             AL


                                                      Blaylock           Roual                                              MS


                                                      Blocker            Lyn                                                MS


                                                      BLOODWORTH         BENJAMIN                                           MS


                                                      BLUE               SANDRA                                             AR


                                                      BLUEITT            MICHEAL                                            TX


                                                      BOARD              BETTY                                              MS


                                                      BOATNER            GEOFFREY                                           MS


                                                      BOHANON            DOROTHY                                            TN
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                                                      BOLAR            CHRISTA                                            AL


                                                      Bolden           Paul                                               MS


                                                      BOLTON           KIMBERLY                                           MS


                                                      Bond             Glenda                                             MS


                                                      Bonner           Darl                                               TX


                                                      Booker           Tanille                                            AL


                                                      Booker           Marco                                              MS


                                                      BOONE            JARVIS                                             AL


                                                      BOUDREAUX        ELVIN                                              MS


                                                      BOUDREAUX        LORI                                               MS


                                                      BOUIE            FRANK                                              AL


                                                      Boulden          Donte                                              MS


                                                      BOUSSO           KASSOUM                                            TN


                                                      BOWEN            PHYLLIS                                            TN


                                                      Bowers           Articole                                           MS


                                                      BOWICK           ANTHONY                                            AL


                                                      BOWMAN           ANGELA                                             AL


                                                      BOWMAN           JOSHUA                                             AL


                                                      BOYD             SHARON                                             AL


                                                      BOYD             CASSANDRA                                          TN


                                                      BOYER            RICHARD                                            MS


                                                      Boyette          Dannie                                             MS


                                                      BOYLAND          WANDA                                              AR


                                                      BOZEMAN          MARIO                                              AL


                                                      BRACKETT         KENNETH                                            AL


                                                      Bradley          Ashton                                             AL


                                                      BRADLEY          KRISTOPHOR                                         AL
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                                                      BRADLEY          LILLY                                              AL


                                                      Bradley          Rodney                                             AL


                                                      Bradley          Raphael                                            MS


                                                      BRADLEY          SAMMY                                              MS


                                                      BRAGG            EDWARD                                             AL


                                                      Braggs           Eric                                               AL


                                                      BRANCH           JEREMY                                             AL


                                                      BRAND            ANTHONY                                            AL


                                                      BRAND            DANNY                                              AL


                                                      BRAND            MARILYN                                            MS
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                                                      BRANNON            KEVIN                                              AL


                                                      BRANNON JR         ADRAIN                                             AL


                                                      BRANTLEY           DEREK                                              MS


                                                      Brassell           Deashawn                                           MS


                                                      Brazell            Robert                                             GA


                                                      BRAZZLE            MANUEL                                             MS


                                                      BREAHNA            LILIA                                              MS


                                                      BRECHTEL           MICHAEL                                            MS


                                                      BRELAND            HERBERT                                            MS


                                                      BRIDGET            MATLEAN                                            AR


                                                      BRIGGS             JESSIE                                             MS


                                                      BRIGNAC            BRYAN                                              MS


                                                      Brinkerhoff        Tiffany                                            MS


                                                      BRINKLEY           MARY                                               MS


                                                      BRISCOE            JAMES                                              MS


                                                      Broadus            Geana                                              MS


                                                      Broadus            Lisa                                               MS


                                                      Brock              Candace                                            AL


                                                      BROOKS             DEBBY                                              AL


                                                      BROOKS             KINTE                                              AL


                                                      BROOKS             YOLANDA                                            MS


                                                      BROOKS             ONIEL                                              TX


                                                      BROUGHTON          SHERRY                                             AL


                                                      BROUSSARD          TROY                                               TX


                                                      BROUSSARD          TROY                                               TX


                                                      BROWN              BOBBY                                              AL


                                                      BROWN              BRANDY                                             AL
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                                                      BROWN              CLEMUREL                                           AL


                                                      BROWN              DEMETRIUS                                          AL


                                                      BROWN              GWENDOLYN                                          AL


                                                      BROWN              JOSEPH                                             AL


                                                      BROWN              JOSEPH                                             AL


                                                      BROWN              MYRA                                               AL


                                                      BROWN              WILLIAM                                            AL


                                                      BROWN              WALTER                                             GA


                                                      BROWN              CAROLYN                                            MS


                                                      BROWN              COURTENAY                                          MS
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                                                      Brown            Ewarn                                               MS


                                                      Brown            Jacqueline                                          MS


                                                      BROWN            KENNETH                                             MS


                                                      Brown            Lavette                                             MS


                                                      BROWN            LEONARD                                             MS


                                                      BROWN            MATTIE                                              MS


                                                      BROWN            RAY                                                 MS


                                                      Brown            Rhonda                                              MS


                                                      BROWN            SHANTEL                                             MS


                                                      BROWN            STEVEN                                              MS


                                                      BROWN            TOMMIE                                              MS


                                                      BROWN            VINETA                                              MS


                                                      BROWN            SHERILL                                             TX


                                                      Brumbaugh        Jerry                                               MS


                                                      BRYANT           SHANICE                                             AL


                                                      Bryant           Jeffery                                             MS


                                                      BRYANT           LASHERYL                                            TN


                                                      BU               KYUNG                                               MS


                                                      Buchanan         Jennifer                                            AL


                                                      BUCHSBAUM        DONALD                                              AL


                                                      Buckley          Gloria                                              MS


                                                      BUI              DINH                                                AL


                                                      BUI              GHE THI                                             AL


                                                      BUI              NAM                                                 AL


                                                      BUI              QUANG PHUONG                                        AL


                                                      BUI              THOI                                                MS


                                                      BUI              ANH                                                 TX
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                                                      BUI              CHANH                                               TX


                                                      BUI              HUY                                                 TX


                                                      BUI              NHON                                                TX


                                                      BUI              PHEP VAN                                            TX


                                                      BUITUREIRA JR    CAPTAIN FULGENCIO                                   TX


                                                      Bullard          Raymond                                             AL


                                                      BUMPERS          OTIS                                                FL


                                                      BUN              SOMPHOUK                                            AL


                                                      Burage           Jermiah                                             AL


                                                      Burch            Michael                                             MS
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                                                       BURCHETT         LADONNA                                             MS


                                                       Burdine          Charles                                             MS


                                                       Burks            Michael                                             AL


                                                       BURKS            HELLEN                                              MS


                                                       BURKS            TAMMY                                               MS


                                                       Burns            Patricia                                            AL


                                                       Burns            Patrick                                             AL


                                                       Burroughs        Alvie                                               AL


                                                       Burroughs        Renwick                                             AL


                                                       Burroughs        Steven                                              AL


                                                       BURROWS          JAMES                                               FL


                                                       Burton           Jimarcus                                            MS


                                                       BURTON           EUGENE                                              TX


                                                       Busby            Labarron                                            AL


                                                       Busby            Joseph                                              MS


                                                       Bush             Ashley                                              AL


                                                       Bush             Gabriel                                             AL


                                                       Bush             Gregory                                             SC


                                                       Butler           Derrick                                             AL


                                                       BUTLER           THOMAS                                              AL


                                                       Butler           Andrea                                              MS


                                                       Butler           Sonya                                               MS


                                                       Byas             James                                               MS


                                                       Byas             James                                               MS


                                                       BYERS            RICHARD                                             MS


                                                       BYRD             RONI                                                AL


                                                       BYRD             CAROLYN                                             MS
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                                                       CAGLE            ROBERT                                              MS


                                                       CALDWELL         CRAIG                                               MS


                                                       CALDWELL         REGINALD                                            MS


                                                       CALDWELL         RICHARD                                             MS


                                                       Calidonna        Megan                                               NY


                                                       CAMACHO          AUSTIN                                              TX


                                                       CAMACHO          GLORIA                                              TX


                                                       Camire           Jason                                               CT


                                                       CAMPBELL         CHARLES                                             AL


                                                       CAMPBELL         LAWRENCE                                            AL
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                                                       CAMPBELL           LORENE                                              AL


                                                       Campbell           Tommy                                               AL


                                                       Campbell           Tommy                                               AL


                                                       CAMPBELL           BILLY                                               MS


                                                       CAMPBELL           JOVANKA                                             MS


                                                       Campbell           Juanita                                             MS


                                                       CAMPO              CYNTHIA                                             MS


                                                       CAMPOS             ALBERTO                                             TX


                                                       CANDLER            LAURA                                               AL


                                                       CANNON             JOYCE                                               MS


                                                       CANNON             MICHAEL                                             MS


                                                       CAO                HIEN                                                AL


                                                       CAO                HOA                                                 AL


                                                       CAO                BINH                                                NC


                                                       CAO                ANNA                                                TX


                                                       CAO                BINH                                                TX


                                                       Cao                Nhieu                                               TX


                                                       CAO                TRINH                                               TX


                                                       Capers             Melvin                                              AL


                                                       CARGILL            JAMES                                               AL


                                                       Carlos             Jackson                                             MS


                                                       CARMON             BARBARA                                             MS


                                                       CARPENTER          QUINTIN                                             AL


                                                       Carr               Herbert                                             LA


                                                       CARR               CAMISHA                                             MS


                                                       CARR               DEBRA                                               MS


                                                       CARR               MAE                                                 MS
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                                                       Carrillo           Richard                                             AL


                                                       Carstarphen        James                                               OH


                                                       CARTER             ALICE                                               AL


                                                       Carter             Antawn                                              AL


                                                       CARTER             RONALD                                              AL


                                                       CARTER             SYNELLA                                             AL


                                                       CARTER             TIFFANY                                             AL


                                                       CARTER             DAYATRA                                             MS


                                                       CARTER             JACQUELINE                                          TN


                                                       Case               Charles                                             MS
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                                                       CASTRO          ENRIQUE                                             TX


                                                       CATES           LAQUINIKA                                           MS


                                                       Catlin          Betty                                               AL


                                                       CATRETT         THOMAS                                              AL


                                                       CAUSEY          ELBERT                                              AL


                                                       CAUSEY          ELBERT                                              AL


                                                       Caver           Margaret                                            AL


                                                       CAWTHON         SHAWN                                               OH


                                                       CHAMBERS        SHAWN                                               MS


                                                       CHAN            DIANE                                               AL


                                                       CHANEY          BRINESHIA                                           AL


                                                       CHANEY          KIZZY                                               AL


                                                       CHANEY          SABRINA                                             AL


                                                       CHANG           ANNA                                                NV


                                                       CHANN           KIMLA                                               AL


                                                       CHANN           KIMLIN                                              AL


                                                       CHANSONBAT      DIANA                                               AL


                                                       CHANTHIVONG     DONE                                                AL


                                                       CHANTHIVONG     SAENG                                               AL


                                                       CHAPA JR        RAFAEL                                              TX


                                                       Chapman         Tamara                                              AL


                                                       CHAPMAN         JESSE                                               GA


                                                       Chapman         Helen                                               MS


                                                       CHAPMAN         STEPHEN                                             MS


                                                       CHAPMAN         THEATRICE                                           MS


                                                       CHAU            HA                                                  AL


                                                       CHAU            NHI THI                                             AL
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                                                       CHAU            YEN THI                                             AL


                                                       CHAVEZ          GUSTAVO                                             TX


                                                       CHEN            ZHONG                                               AL


                                                       CHENEAU         LEONTIONETTE                                        AL


                                                       CHESNEY         ANGELA                                              AL


                                                       CHESNEY         DAMON                                               AL


                                                       CHESTANG        SAMUEL                                              AL


                                                       CHIM            BUNTHARY                                            AL


                                                       CHIM            ELIZABETH                                           AL


                                                       CHOY            RAYMOND                                             AL
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                                                       CHRISTOPOULOS    GEORGE                                              MS


                                                       CHUNG            HUNG                                                AL


                                                       CHUNG            HYUN                                                MS


                                                       CHUNG            WOOK                                                MS


                                                       Chung            Dan                                                 TX


                                                       CHURCHMAN        BETTY                                               AL


                                                       CLARK            TAMMY                                               AL


                                                       CLARK            ANGELA                                              MS


                                                       Clark            Jason                                               MS


                                                       CLARK            JIMMESHIA                                           MS


                                                       CLARK            KERRY                                               MS


                                                       CLARK            ZANDRA                                              TN


                                                       CLAUSELL         JASMINE                                             AL


                                                       CLAY             JANNIE                                              MS


                                                       CLAYTON          POLLY                                               MS


                                                       CLAYTON          TOBY                                                MS


                                                       CLEMENTS         CARIA                                               AR


                                                       CLEMENTS         EDWARD                                              MS


                                                       CLEVELAND        BRUCE                                               AL


                                                       CLEVELAND        KENNETH                                             AL


                                                       CLEVELAND        MARY                                                AL


                                                       CLICK            WALTER                                              TX


                                                       CLINTON          BILL                                                AL


                                                       CLINTON          SYLVIA                                              MS


                                                       CLIPPER          JADRIAN                                             AL


                                                       Cloy             Sharon                                              AL


                                                       COLBERT          GEORGE                                              AL
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                                                       COLE             CLEOPHAS                                            AL


                                                       Cole             James                                               AL


                                                       COLE             RENADA                                              AL


                                                       Cole             Karyna                                              MS


                                                       Coleman          Arvid                                               AL


                                                       Coleman          Calvin                                              AL


                                                       COLEMAN          DANIEL                                              AL


                                                       Coleman          Maeola                                              AL


                                                       Coleman          Mark                                                AL


                                                       Coleman          VALERIE                                             AL
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                                                       Coleman         Valerie                                             AL


                                                       COLEMAN         VINCENT                                             AL


                                                       COLEMAN         LAMARCUS                                            MS


                                                       COLEMAN         SHERELL                                             MS


                                                       COLLIER         ANGELA                                              MS


                                                       Collins         Larry                                               AL


                                                       COLLINS         CONRAD                                              MS


                                                       COLLINS         CHAS                                                TX


                                                       COLLINS         MARY                                                TX


                                                       Colvin          William                                             AL


                                                       COMBS           LISA                                                AL


                                                       COMBS           RICKY                                               AL


                                                       Conerly         Curtis                                              MS


                                                       CONKLIN         EDWARD                                              AL


                                                       COOK            ANTONIO                                             AL


                                                       Cook            Ericka                                              AL


                                                       Cook            Ericka                                              AL


                                                       Cook            Felicia                                             MS


                                                       COOK            ROBERT                                              MS


                                                       COOK            SANDRA                                              MS


                                                       COOKS           LINDA                                               TN


                                                       COOLEY          JENNIFER                                            AL


                                                       COOPER          GERTRUDE                                            AL


                                                       COOPER          CLARENCE                                            AR


                                                       COOPER          BILLIE                                              MS


                                                       COOPER          DWAYNE                                              MS


                                                       COOPER          RICHARD                                             MS
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                                                       COOPER          THOMAS                                              MS


                                                       COPEDGE         TAMEKA                                              MI


                                                       COPPAGE         RICO                                                TN


                                                       CORMIER         GINA                                                TX


                                                       CORONA          EFRAIN                                              TX


                                                       CORONA          NOE                                                 TX


                                                       CORONADO        MIGUEL                                              FL


                                                       CORTES          JUAN                                                TX


                                                       CORTES          ELDEN                                               VA


                                                       CORTES          ELDEN                                               VA
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                                                       CORTEZ           ALAN                                                TX


                                                       CORTEZ           MAXIMO                                              TX


                                                       COTHERN          THOMAS                                              MS


                                                       COUCH            LARRY                                               AL


                                                       COURTNEY         AARON                                               AL


                                                       COVINGTON        LLOYD                                               TN


                                                       COWAN            REYNA                                               AL


                                                       COX              CHARLES                                             AL


                                                       COX              VERNITA                                             AL


                                                       COYLE            JEFFREY                                             AL


                                                       CRAFT            ASHLEY                                              MS


                                                       CRAIG            FERNANDO                                            AL


                                                       CRAWFORD         BRYANT                                              AL


                                                       CRAWFORD         JACQUELINE                                          AL


                                                       CRAWFORD         BETTY                                               MS


                                                       CRAWFORD         CAROLYN                                             MS


                                                       CRESSEY          ANITA                                               MO


                                                       CRESSEY          KIM                                                 MS


                                                       CRISS            LATORIS                                             MS


                                                       CROMWELL         STEVE                                               AL


                                                       CRONIER          DUSTIN                                              MS


                                                       CROOK            CINTRELL                                            AL


                                                       CROOK            TERRI                                               AL


                                                       CROSBY           DAVID                                               AL


                                                       CROSS            STANLEY                                             TN


                                                       CROSS            BRENDA                                              TX


                                                       CRUMP            WILLIE                                              MS
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                                                       Cruthirds        Brandon                                             TX


                                                       CRUZ             OBULIO                                              AL


                                                       CRUZ             JAN                                                 NY


                                                       CRUZ             DIONICIA                                            TX


                                                       Cryan            Preston                                             AL


                                                       CUEVAS JOHNSON   SUSAN                                               MS


                                                       CUMBIE           BRYAN                                               AL


                                                       CUMMINGS         BEVERLY                                             AL


                                                       CUNNINGHAM       THERESA                                             AL


                                                       CUNNINGHAM       LARRY                                               MS
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                                                       CUNNINGHAM      TARIS                                               MS


                                                       CUNNINGHAM      TONJA                                               MS


                                                       CUNNINGHAM      TONY                                                MS


                                                       CURETTE         MATTHEW                                             MS


                                                       CURL            LANCE                                               AL


                                                       CURRY           WILLIE                                              AL


                                                       CURRY           JAMES                                               TX


                                                       CURTIS          SERENA                                              CA


                                                       CUTRER          DONELL                                              AL


                                                       DADE            LAWRENCE                                            AL


                                                       DADE            SIDNEY                                              MS


                                                       Dailey          Bryan                                               AL


                                                       DAILEY          GREGORY                                             AL


                                                       DAILEY          KEETA                                               MS


                                                       DAILEY          KEVIN                                               MS


                                                       DAIS            PETER                                               AL


                                                       Dale            Shawanna                                            AL


                                                       DANEAULT        RICHARD "RICK"                                      MS


                                                       DANG            BAY THI                                             AL


                                                       DANG            BE VAN                                              AL


                                                       DANG            DUNG HOAI                                           AL


                                                       DANG            HET THI                                             AL


                                                       DANG            HOA QUOC                                            AL


                                                       DANG            HONG                                                AL


                                                       DANG            LE LY THI                                           AL


                                                       DANG            LIEU THI                                            AL


                                                       DANG            LONG                                                AL
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                                                       DANG            NHU VAN                                             AL


                                                       DANG            THU MY                                              AL


                                                       DANG            TOMMY                                               AL


                                                       Dang            Amy                                                 TX


                                                       Dang            Cuong                                               TX


                                                       DANG            HONG                                                TX


                                                       DANG            KIM                                                 TX


                                                       DANG            KIM BINH                                            TX


                                                       DANG            KIM LOAN                                            TX


                                                       Dang            Mai                                                 TX
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                                                       Dang            Nam                                                 TX


                                                       DANG            RUBY                                                TX


                                                       DANG            THUY                                                TX


                                                       DANG            THUY BICH                                           TX


                                                       DANG            TU                                                  TX


                                                       DANG            TUONG V                                             TX


                                                       Dangelo         Michael                                             MS


                                                       DANH            NGOC TRINH                                          TX


                                                       DANH            TRONG                                               TX


                                                       DANIEL          LINDA                                               MS


                                                       DANIEL          TIMOTHY                                             MS


                                                       DANIELS         TERRILL                                             AL


                                                       DANIELS         WINSOME                                             MS


                                                       DANTZLER        ROBERT                                              AL


                                                       Dantzler        Cecelia                                             MS


                                                       DAO             LOAN                                                AL


                                                       DAO             CHAU                                                TX


                                                       Dao             Dong                                                TX


                                                       DAO             DUY                                                 TX


                                                       DAO             DZUNG                                               TX


                                                       DAO             HOA                                                 TX


                                                       DAO             KIM                                                 TX


                                                       DAO             LE                                                  TX


                                                       DAO             STEVEN                                              TX


                                                       DAO             THANHXUAN                                           TX


                                                       Dao             Tri                                                 TX


                                                       DAO             XAY                                                 TX
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                                                       Darvey          Antonio                                             MS


                                                       DATES           ALICE                                               AL


                                                       DATES           JOHN                                                AL


                                                       DAU             KHUYEN                                              TX


                                                       DAVIDSON        ARLENE                                              AL


                                                       DAVILA          JEFFREY                                             TX


                                                       DAVIS           ASHLEY                                              AL


                                                       DAVIS           CARL                                                AL


                                                       Davis           Cecilia                                             AL


                                                       DAVIS           CYNTHIA                                             AL
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                                                       Davis           Darrell                                             AL


                                                       Davis           Debra                                               AL


                                                       DAVIS           JASON                                               AL


                                                       DAVIS           KENNETH                                             AL


                                                       DAVIS           KIMBERLY                                            AL


                                                       Davis           Lakeisha                                            AL


                                                       Davis           Lashandra                                           AL


                                                       Davis           Lashandra                                           AL


                                                       Davis           Lekicha                                             AL


                                                       DAVIS           MILTON                                              AL


                                                       Davis           Tonya                                               AL


                                                       DAVIS           WHITNEY                                             AL


                                                       DAVIS           DERRICK                                             AR


                                                       Davis           Wilbert                                             CA


                                                       Davis           Trina                                               GA


                                                       Davis           Adrian                                              MS


                                                       DAVIS           CATHERINE                                           MS


                                                       Davis           Christopher                                         MS


                                                       Davis           Crystal                                             MS


                                                       DAVIS           DELIA                                               MS


                                                       DAVIS           ELLIOT                                              MS


                                                       Davis           Kensey                                              MS


                                                       Davis           Norvell                                             MS


                                                       DAVIS           RODNEY                                              MS


                                                       DAVIS           SYLVIA                                              MS


                                                       Davis           Bryan                                               NJ


                                                       DAVIS           MARY                                                TN
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                                                       DAVIS           SHEILA                                              TN


                                                       Davison         Beverly                                             AL


                                                       Davison         Calvin                                              AL


                                                       Davison         James                                               AL


                                                       DAWKINS         PATRICIA                                            AL


                                                       DAWSON          MICHAEL                                             AL


                                                       Day             Shahara                                             AL


                                                       DAY             TILFORD                                             MS


                                                       De Souza        Gilberto                                            AL


                                                       DEAN            MARILYN                                             AL
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                                                       Dean               Shaquita                                            GA


                                                       DEAN               MALCOLM                                             MS


                                                       DECIGA             JESSICA                                             TX


                                                       DECKARD            DONALD                                              TX


                                                       Deckard            Sherry                                              TX


                                                       DECOUX             JOSHUA                                              TX


                                                       DEDEAUX            DAMISCHA                                            MS


                                                       DEDEAUX            KEVIN                                               MS


                                                       Dedreux            Jesse                                               CA


                                                       Deemer             David                                               GA


                                                       DEES               HUBERT                                              AL


                                                       Dees               Shalara                                             AL


                                                       DEES               SHAMEKA                                             AL


                                                       DEES               ALISSA                                              TX


                                                       DEILKES            AARON                                               MS


                                                       Del Rosario        Apolos                                              TX


                                                       DELAPP             ERIC                                                AL


                                                       Demarco            Mark                                                MS


                                                       Dennis             Maruice                                             AL


                                                       Dennis             Morris                                              AL


                                                       DENNIS             TIMOTHY                                             MS


                                                       DERWIN             JENNIFER DANIELLE                                   AL


                                                       DESBORDES          MAXMILLAN                                           TN


                                                       DEVEAUX            XZAVIER                                             MS


                                                       DEVILLE            DARYL                                               MS


                                                       DEVINE-STRINGER    JESSICA                                             AL


                                                       DEVITO             KRISTOFER                                           AL
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                                                       DEVORE             DOUGLAS                                             TX


                                                       DIALLO             ABDOUL                                              TN


                                                       Diamond            Sherria                                             AL


                                                       DiBacco            Lori                                                TX


                                                       DICKERSON          RONALD                                              MS


                                                       Dickey             Timmothy                                            MS


                                                       Dickinson          Lakeisha                                            AL


                                                       Dickinson          Marcus                                              AL


                                                       DICKSON            ANTHONY                                             MS


                                                       DIEP               MY                                                  AL
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                                                       DIEP           HUYNH                                               TX


                                                       DILLION        ARETHA                                              MS


                                                       DIMITRI        GEORGE                                              KY


                                                       DINH           BA CONG                                             AL


                                                       Dinh           Joe                                                 AL


                                                       DINH           LIEU                                                AL


                                                       DINH           TAI ANH                                             AL


                                                       DINH           DU                                                  TX


                                                       DINH           HOI                                                 TX


                                                       DINH           HUNG                                                TX


                                                       DINH           HUNG XUAN                                           TX


                                                       DINH           JOHNNY                                              TX


                                                       DINH           THANH                                               TX


                                                       DINH           TIMMY                                               TX


                                                       DINH           TOI                                                 TX


                                                       Dinh           Tuyen                                               TX


                                                       Dinish         Charveston                                          AL


                                                       DINKINS        ERIC                                                AL


                                                       DIRA           VICHITRA                                            AL


                                                       DISHMAN        CATHY                                               AL


                                                       DIXON          AKEEM                                               AL


                                                       Dixon          Cordairo                                            AL


                                                       DIXON          MARY                                                AL


                                                       DIXON          TORREAN                                             AL


                                                       Dixon          Tracy                                               AL


                                                       DIXON          CHARLES                                             MS


                                                       DIXON          CHARLES                                             MS
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                                                       DIXON          GREGGORY                                            MS


                                                       DIXON          KAREN                                               MS


                                                       DO             ANH NGUYET                                          AL


                                                       DO             HOANG                                               AL


                                                       DO             HUNG                                                AL


                                                       DO             KIMSON                                              AL


                                                       DO             LOI                                                 AL


                                                       DO             MINH THI                                            AL


                                                       DO             PATRICK                                             AL


                                                       DO             TAN                                                 AL
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                                                       DO              THUONG DU                                           AL


                                                       DO              TUYEN                                               AL


                                                       DO              VUI THI                                             AL


                                                       DO              XUAN THI THANH                                      AL


                                                       DO              CINDY                                               FL


                                                       Do              Anthony                                             TX


                                                       DO              HAI                                                 TX


                                                       DO              KHAI                                                TX


                                                       Do              Luyen                                               TX


                                                       DO              NGOC                                                TX


                                                       DO              THIEN                                               TX


                                                       DO              TU                                                  TX


                                                       DO              NGOC THI                                            AL


                                                       DOAN            BINH                                                AL


                                                       DOAN            DAVID                                               AL


                                                       DOAN            DUONG                                               AL


                                                       DOAN            DAN                                                 MS


                                                       DOAN            HUE                                                 TX


                                                       DOAN            MINH                                                TX


                                                       DOAN            TRAM                                                TX


                                                       DOGGETTE        RONALD                                              AL


                                                       DOMINGUEZ       JUAN                                                AL


                                                       Donald          Tony                                                AL


                                                       DONER           BONNIE                                              MS


                                                       DORSEY          VELMA                                               MS


                                                       DORSEY          WILLIAM                                             TN


                                                       Dortch          Terill                                              AL
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                                                       DOTSON          SHAUN                                               AL


                                                       DOUSE           VINTON                                              GA


                                                       DOVER           ALISON                                              MS


                                                       DOWLING         HUGH                                                AL


                                                       DOWLING         HUGH                                                AL


                                                       DOWNS           ANA                                                 MS


                                                       Dozier          Richard                                             MS


                                                       Drake           Willie                                              AL


                                                       Driver          Deliliah                                            AL


                                                       DRUMMOND        LEROYAL                                             MS
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                                                       DUARTE           EDDYN JOEL                                          AL


                                                       Dubose           Beezer                                              AL


                                                       DUCKSWORTH       MACK                                                MS


                                                       Duckworth        Reginald                                            AL


                                                       Duckworth        Breanna                                             MS


                                                       Duckworth        Ricky                                               MS


                                                       DUCKWORTH        TARA                                                MS


                                                       DUKE             KIM                                                 MS


                                                       DUKES            RESSALYN                                            MS


                                                       Dulaney          Gilbert                                             AL


                                                       Dulaney          Levenia                                             AL


                                                       Dulaney          Michael                                             AL


                                                       DUMAS            AMY                                                 AL


                                                       DUMAS            CHARLES                                             AL


                                                       Dumas            Donna                                               AL


                                                       Dumas            Lemanuel                                            AL


                                                       DUNCAN           TERAVIN                                             AL


                                                       DUNCAN           TERRELL                                             AL


                                                       DUNCAN           YOLANDA                                             AL


                                                       Dunn             Dewayne                                             AL


                                                       DUNN             ELLIOTT                                             AL


                                                       Dunn             Latosha                                             AL


                                                       Dunne            James                                               TX


                                                       Dunning          Edward                                              AL


                                                       DUNNING          LABRENT                                             AL


                                                       DUONG            BAO                                                 AL


                                                       DUONG            KEVIN CHI                                           AL
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                                                       DUONG            KIM                                                 AL


                                                       DUONG            LUAN                                                AL


                                                       DUONG            SANG                                                AL


                                                       DUONG            STEVE                                               AL


                                                       DUONG            THANH                                               AL


                                                       DUONG            THUY                                                AL


                                                       DUONG            TRI                                                 AL


                                                       DUONG            TAM                                                 NJ


                                                       DUONG            AN                                                  TX


                                                       Duong            Can                                                 TX
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                                                       Duong          Cong                                                TX


                                                       DUONG          HIEU                                                TX


                                                       DUONG          HUONG                                               TX


                                                       DUONG          JIMMY                                               TX


                                                       DUONG          KIM                                                 TX


                                                       DUONG          LE                                                  TX


                                                       DUONG          LIEN                                                TX


                                                       DUONG          MAI                                                 TX


                                                       DUONG          MINH                                                TX


                                                       DUONG          MY                                                  TX


                                                       DUONG          PHUONG                                              TX


                                                       Duong          Trang                                               TX


                                                       DUONG          TRUC                                                TX


                                                       DUQUE          JOSE                                                AL


                                                       Durham         John                                                MS


                                                       DURR           CAMERON                                             MS


                                                       DYE            GRACE                                               MS


                                                       Dziejma        Dawn                                                CA


                                                       Eager          Saphila                                             AL


                                                       EAGINS         LAKISHA                                             MS


                                                       Earnest        Scott                                               CO


                                                       Earnest        Susan                                               GA


                                                       EASLEY         DEBRA                                               AL


                                                       EASTER         CAROLYN                                             AL


                                                       EASTER         TIFFANY                                             AL


                                                       EASTER         WILLIE                                              AL


                                                       EASTER         GARY                                                MS
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                                                       EASTERLING     GARY                                                MS


                                                       EATON          DENNIS                                              TX


                                                       ECKFORD        CHRISTINE                                           MS


                                                       Eckford        Dominique                                           MS


                                                       Edelen         Trevor                                              TX


                                                       EDWARDS        ADDIE                                               AL


                                                       EDWARDS        CHARROD                                             AL


                                                       Edwards        Dean                                                AL


                                                       Edwards        Deborah                                             AL


                                                       EDWARDS        HARRY                                               AL
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                                                       Edwards          Daniel                                             MS


                                                       EDWARDS          DEREK                                              MS


                                                       EDWARDS          MARILYN                                            MS


                                                       Edwards          Michelle                                           MS


                                                       EDWARDS          VERA                                               MS


                                                       EDWARDS          MARSHALL                                           VA


                                                       EDWIN            FAITH                                              AL


                                                       EGGERT           DALE                                               MS


                                                       EIRBY            CATHY                                              AL


                                                       EIRBY            FREDRICK                                           AL


                                                       Elamin           Octavia                                            AL


                                                       ELLIS            ROSIE                                              AL


                                                       ELLIS            LISA                                               MS


                                                       ENGLISH          PAULA                                              MS


                                                       ENLERS           HOSEA                                              AL


                                                       EPPENGER         BOBBY                                              MS


                                                       EPPENGER         THELMA                                             MS


                                                       EPPS             LISA                                               MS


                                                       Erickson         Shawn                                              AL


                                                       ESCAMILLA        MARIO                                              TX


                                                       ESCOTO           ATENOGENES                                         TX


                                                       ESFELLER         ERIC                                               AL


                                                       Eshetu           Marcus                                             AK


                                                       ESPARZA          OCTAVIO                                            TX


                                                       Ester            Godiva                                             MS


                                                       ESTRADA          JACQUELINE                                         AL


                                                       Etheridge        Geraldine                                          AL
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                                                       ETHERIDGE        LATISHA                                            AL


                                                       ETHERIDGE        VINCENT                                            AL


                                                       Evans            Carl                                               AL


                                                       EVANS            JOSEPH                                             AL


                                                       Evans            Laketha                                            AL


                                                       Evans            Montrey                                            AL


                                                       Evans            Sandra                                             AL


                                                       EVANS            BRENDA                                             MS


                                                       Evans            Kendra                                             MS


                                                       EVANS            MELVIN                                             MS
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                                                       EVANS             VICTOR                                             MS


                                                       EVERETT           LINDSEY                                            AL


                                                       EVERHART          DANIEL                                             MS


                                                       EZELL             ANDRE                                              GA


                                                       FAERBER           CLAYTON                                            MS


                                                       Fain              Melissa                                            AL


                                                       FAIN              JERRY                                              MS


                                                       Fairley           Lavonda                                            MS


                                                       FAIRLEY           MARIE                                              MS


                                                       Fairley           Tonie                                              MS


                                                       FAIRLEY           DYLAN                                              TX


                                                       FALL              SAMBA                                              TN


                                                       FARRIS            VALERIE                                            AL


                                                       Fauntleroy        Aldajuan                                           NJ


                                                       FAVORS            RALPH                                              TX


                                                       Fayard            Mark                                               MS


                                                       Feagin            Nikita                                             AL


                                                       FEATHERSTON       BOBBIE                                             NV


                                                       FERCHAUD          JODY                                               HI


                                                       FERGUSON          KOLITA                                             AL


                                                       FERGUSON          JAMES                                              MS


                                                       FEW               LAWRENELLE                                         TX


                                                       FIELD             COLLETTE                                           MS


                                                       FIELDS            ANTHONY ARNODUS                                    AL


                                                       Figueroa          Sharon                                             GA


                                                       Figueroa          Sharon                                             GA


                                                       FIKES             JAMES LARRY                                        AL
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                                                       FIKES             SARAH CATES                                        AL


                                                       FIKES             THEODORE                                           AL


                                                       Finklea           Jessica                                            AL


                                                       FINKLEA           TYANNA                                             MS


                                                       FISCHER           BRIAN                                              TX


                                                       Fisher            Nicole                                             AL


                                                       Fisher            Teresa                                             AL


                                                       Fleeton           Joseph                                             AL


                                                       FLEMING           KIMBERLY                                           MS


                                                       FLEMING           ROBERT                                             SC
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                                                       FLETCHER           KENNETH                                            AL


                                                       Fletcher           Michael                                            AL


                                                       FLETCHER           SKILA                                              MS


                                                       Flier              Roger                                              MS


                                                       FLORES             BERNARDO                                           MS


                                                       FLORES             AMBROSIO                                           TX


                                                       FLORES             JESUS                                              TX


                                                       FLORIAN            STEVEN                                             AL


                                                       FLOWERS            GREGORY                                            MS


                                                       FLUELLEN           JUANITA                                            MS


                                                       Fluker             Eddie                                              AL


                                                       FOLMAR             JESSY                                              AL


                                                       Fondren            Janice                                             MS


                                                       FONTANEZ           LIGIA MARIA                                        AL


                                                       FONZIE             JOYCE                                              AR


                                                       FOOTE              YUET                                               FL


                                                       FORBES             CHRISTIAN                                          LA


                                                       FORREST            JESSIE                                             AL


                                                       FORREST            LASHA                                              AL


                                                       FORREST            PORSHA                                             AL


                                                       Fortenberry        Loretta                                            MS


                                                       FORTIN             ANNETTA                                            AL


                                                       Foster             Steven                                             AL


                                                       Fountain           Anthony                                            MS


                                                       FOUNTAIN           ARTHUR                                             MS


                                                       Fountain           Daniel                                             MS


                                                       Fountain           Sandra                                             MS
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                                                       FOWLER             CATHERINE                                          TX


                                                       FOX                DAVID                                              AL


                                                       FOX                DEBBIE                                             AL


                                                       Fox                Marvin                                             AL


                                                       FOX                TERRENCE                                           MS


                                                       FOXX               EDWARD                                             AL


                                                       FRAISE             VICTORIA                                           MS


                                                       Franklin           Jessica                                            AL


                                                       Franklin           Laterrance                                         AL


                                                       FRANKLIN           MARSHIL                                            TN
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                                                       FRANKLIN          KENDRICK                                           TX


                                                       FRANKLIN          RICKEY                                             TX


                                                       Franks            Felicia                                            AL


                                                       Frazee            Steve                                              AL


                                                       Frazier           Shedaira                                           AL


                                                       FRAZIER           PATRICIA                                           MS


                                                       FRIDAY            FRANK                                              MS


                                                       FULKERSON         PAUL                                               TX


                                                       FULLILOVE         KAREN                                              MS


                                                       FULTON-TYLER      SHARON                                             MS


                                                       FUNCHES           MARKUS                                             MS


                                                       FUTCH             MALCOM                                             MS


                                                       GADIO             MAMADOU                                            TN


                                                       Gaines            Phillip                                            AL


                                                       Galloway          Gladys                                             AL


                                                       Galloway          Coriel                                             MS


                                                       GALLOWAY III      ALVAH                                              TX


                                                       GALLUZZI          DOMINIGUE                                          AL


                                                       GAMBLE            ROBERT                                             AL


                                                       GAMINO            MANUEL                                             AL


                                                       GAMINO            MANUEL                                             AL


                                                       GAMMON            GEANNETTE                                          AR


                                                       Gandy             Jeremy                                             AL


                                                       GANGUE            MANSOUR                                            TN


                                                       GANTZ             ANGELA                                             TX


                                                       Garbutt           Michael                                            AL


                                                       GARCIA            MIGUEL                                             AL
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                                                       GARCIA            MARCOS                                             LA


                                                       GARCIA            MANUEL                                             MS


                                                       Gardner           Gloria                                             MS


                                                       Gardner           Keith                                              MS


                                                       GARIBAY JR        ROGELIO                                            TX


                                                       Garlandios        Ashley                                             AL


                                                       GARLOTTE          SANDRA                                             MS


                                                       Garrison          Shirley                                            MS


                                                       GARZA             ARTURO                                             TX


                                                       Garza             Eddie                                              TX
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                                                       GARZA            HECTOR                                             TX


                                                       GARZA            SAMUEL                                             TX


                                                       GARZA            SAMUEL                                             TX


                                                       GARZA            STEVEN                                             TX


                                                       GASS             ROBERT                                             GA


                                                       GATLIN           JACQUELINE                                         MS


                                                       Gauci            Joseph                                             MS


                                                       GAUCI            JOSEPH                                             MS


                                                       GAUCI            KAREN                                              MS


                                                       GAUGHRAN         THOMAS                                             TN


                                                       GAUSE            JUANITA                                            AR


                                                       GAUSE            TARA                                               AR


                                                       GAZZIER          JOSEPH                                             AL


                                                       GEATER           RONNIE                                             MS


                                                       Gerald           Carolyn                                            AL


                                                       GHANBARI         AMBER                                              TX


                                                       GIANG            HAI                                                AL


                                                       GIANG            MY                                                 AL


                                                       GIANG            NGOC                                               AL


                                                       GIANG            THANH                                              AL


                                                       GIANG            TUAN                                               TX


                                                       Gibbs            Diane                                              AL


                                                       GIBBS            TERESA                                             MS


                                                       GIBSON           DARRELL                                            MS


                                                       GIBSON           DONALD                                             TX


                                                       Gifford          Daniel                                             MS


                                                       Gilchrist        Chenavia                                           AL
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                                                       GILL             MARK                                               MS


                                                       GILLESPIE        TED                                                AL


                                                       GILMORE          GARY                                               AL


                                                       GILMORE          BEATRIZ                                            AL


                                                       Gilmore          Gary                                               AL


                                                       GIMENEZ          RUBEN                                              AL


                                                       Ginger           Eric                                               IL


                                                       GINTER           DAWNY                                              MS


                                                       GLASS            KIMBERLY                                           AL


                                                       GLAUDE           BARRY                                              MS
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                                                       Glenn            Ricky                                              AL


                                                       Glover           Ashley                                             MS


                                                       Glover           Bessie                                             SC


                                                       Goddard          Dan                                                MS


                                                       GOFF             ROXANNE                                            LA


                                                       GOFF             LINDA                                              MS


                                                       GOLDEN           BOBBY                                              MS


                                                       GOLDSMITH        JAMES                                              AL


                                                       Goliday          Darius                                             MS


                                                       GOMEZ            PEDRO ELIAS MARROQUIN                              AL


                                                       GONGWER          MATTHEW                                            AL


                                                       GONZALES         JOE                                                TX


                                                       GONZALEZ         JORGE                                              MS


                                                       Gonzalez         Katherine                                          MS


                                                       GONZALEZ         LUIS                                               MS


                                                       GONZALEZ         ROSARIO                                            MS


                                                       Gonzalez         Alissa                                             TX


                                                       GONZALEZ         MARTHA                                             TX


                                                       GONZALEZ         ROBERTO                                            TX


                                                       GONZALEZ         ROBERTO                                            TX


                                                       GONZALEZ         SILVESTRE                                          TX


                                                       Goodie           Joseph                                             AL


                                                       Goods            Henry                                              MS


                                                       Goodwin          Carey                                              AL


                                                       GOODWIN          KIM                                                MS


                                                       Goodwin          Richard                                            MS


                                                       GOON             SI                                                 MS
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                                                       GORAL            LAURAL                                             MS


                                                       GORDON           JAMES                                              AL


                                                       GORDON           PAUL                                               AL


                                                       GORDON           TAURUS                                             MS


                                                       GOWDY            BRENDA                                             MS


                                                       Graham           Vickie                                             AL


                                                       Graham           April                                              MS


                                                       GRANDERSON       IESHA                                              AL


                                                       GRANDQUEST       LAJENIA                                            AL


                                                       GRANGER          CORRINE                                            AL
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                                                       Grant           Ruby                                               AL


                                                       GRANT           ARQUILLA                                           AR


                                                       GRANT           BOBBY                                              MS


                                                       GRANT           JOHN                                               MS


                                                       GRANT           JAMES                                              WV


                                                       GRAVELEY        LINNETTE                                           MS


                                                       Graves          Lakenya                                            AL


                                                       GRAVES          GARY                                               MS


                                                       Gray            Malaikia                                           AL


                                                       Gray            Nickie                                             AL


                                                       GRAY            STACY                                              AL


                                                       GRAY            JEFFERY                                            MS


                                                       Gray            Keisha                                             MS


                                                       Gray            Robert                                             TX


                                                       Grayson         Clyretha                                           AL


                                                       GRAYSON         LEROYIC                                            AL


                                                       GREEN           EARNEST                                            AL


                                                       GREEN           TIFFANY                                            AL


                                                       GREEN           DANIEL                                             MS


                                                       GREEN           SHARON                                             MS


                                                       GREEN           ARNOLD                                             TX


                                                       GREEN           JANIKA                                             TX


                                                       GREEN           RICHARD                                            TX


                                                       GREENWOOD       RALPH                                              AL


                                                       GREER           AUDIE                                              MS


                                                       GREGORY         BYRON                                              AL


                                                       GREGORY         KYLE                                               AL
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                                                       Gregory         Kathey                                             MS


                                                       GRIFFIN         JIMMIE                                             AL


                                                       GRIFFIN         LATOYA                                             AL


                                                       GRIFFIN         GREGORY                                            MS


                                                       GRIFFITH        LARRY                                              TN


                                                       GRISSETT        TAMEKIA                                            AL


                                                       GROH            DEBORAH                                            MS


                                                       GROH            EUGENE                                             MS


                                                       Gross           Robert                                             AL


                                                       GROVE           KEISHA                                             AL
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                                                       GRYDER           BELINDA                                            MS


                                                       Gudger           John                                               MS


                                                       GUERREO          EMILIANO                                           TX


                                                       Guerrero         Elizabeth                                          CA


                                                       GUERRERO         GUILLERMO                                          MS


                                                       GUERRERO         MARIANA                                            MS


                                                       GUESNARD         ADOLPH                                             AL


                                                       GUEYE            ABOU                                               TN


                                                       GUIDRY           YANCY                                              MS


                                                       GUILLOT          MARK                                               TX


                                                       GULLET           REGINALD                                           AL


                                                       GULLEY           REGINALD                                           AL


                                                       Gulley           Tammy                                              AL


                                                       GULLICK          MELISSA                                            MS


                                                       GUSTAFSON        JEROME                                             MN


                                                       Gutierrez        Anthony                                            TX


                                                       GUTIERREZ        JOSIANE                                            TX


                                                       GUTIERREZ        JUAN                                               TX


                                                       HA               HAI HUY                                            AL


                                                       HA               BE                                                 TX


                                                       HA               DUC                                                TX


                                                       HA               DUNG                                               TX


                                                       HA               HENRY                                              TX


                                                       HA               HIEN                                               TX


                                                       HA               KRISTEN                                            TX


                                                       Ha               Lien                                               TX


                                                       HA               LOI                                                TX
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                                                       HA               MICHELLE                                           TX


                                                       HA               NHIEN                                              TX


                                                       HA               HIEN                                               TX


                                                       HAAS             VICTORIA                                           IN


                                                       Hadaway          Matthew                                            AL


                                                       HADLEY           VALERIE                                            MS


                                                       HAGAN            LORETTA                                            AL


                                                       HALAT            MICHAEL                                            MS


                                                       HALBERT          CHRISTOPHER                                        MS


                                                       HALBERT          PATRICIA                                           MS
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                                                       HALCOMB         LARRY                                              KY


                                                       Hale            George                                             AL


                                                       HALE            WENDY                                              AL


                                                       HALL            JOHNNY                                             AL


                                                       HALL            MARK                                               AL


                                                       HALL            REPANULE                                           AL


                                                       Hall            Toni                                               AL


                                                       Hall            Toussaint                                          AL


                                                       Hall            Cedrick                                            MS


                                                       Hall            Gena                                               MS


                                                       Halton          Reginald                                           MS


                                                       HAM             FRED                                               AL


                                                       Ham             Patricia                                           AL


                                                       HAMILTON        MARK                                               AL


                                                       Hamilton        Carolyn                                            MS


                                                       Hamilton        Rani                                               MS


                                                       HAMILTON        JAMIE                                              TX


                                                       HAMMAC          CHARLES                                            AL


                                                       Hammett         Vicky                                              MS


                                                       HAMMOND         MELISSA                                            MS


                                                       HAMPTON         JERRI                                              MS


                                                       Handler         Tammy                                              MS


                                                       HANEY           JAMES                                              MS


                                                       Hang            Cuong                                              TX


                                                       Hang            Tinh                                               TX


                                                       HAO             HONG                                               AL


                                                       HAO             CAO                                                TX
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                                                       HARBIN          LECIDDIER                                          MS


                                                       Harden          Matthew                                            VA


                                                       HARDIMON        PHINE                                              MS


                                                       HARGROVE        ALBERT                                             AL


                                                       HARMON          JACK                                               AL


                                                       HARMON          ANGELIA                                            MS


                                                       HARMON          ANGELIA                                            MS


                                                       Harper          Christopher                                        MS


                                                       HARPER          MYNEKA                                             MS


                                                       HARPER          RAYNARD                                            MS
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                                                       HARPER           TERONE                                             MS


                                                       HARRIMAN         MYLES                                              MI


                                                       Harris           Annie                                              AL


                                                       Harris           Belinda                                            AL


                                                       HARRIS           BERNICE                                            AL


                                                       HARRIS           CASSIDY                                            AL


                                                       HARRIS           DANNY                                              AL


                                                       HARRIS           DANNY                                              AL


                                                       HARRIS           KIMBERLY                                           AL


                                                       HARRIS           MARGUERITA                                         AL


                                                       Harris           Marguerita                                         AL


                                                       HARRIS           MICHAEL                                            AL


                                                       HARRIS           RICKY                                              AL


                                                       HARRIS           ROBERT                                             AL


                                                       Harris           Terrence                                           AL


                                                       HARRIS           CHRISTOPHER                                        MS


                                                       HARRIS           JEROME                                             MS


                                                       HARRIS           KIMBERLY                                           MS


                                                       HARRIS           LINDA RENEE                                        MS


                                                       HARRIS           TONYA                                              MS


                                                       HARRIS           LINDA                                              TX


                                                       Hartfield        Tempest                                            MS


                                                       HARVEY           DEMETRIA                                           MS


                                                       HARVEY           SHANTA                                             MS


                                                       Harvey           Valencia                                           MS


                                                       Hasan            Bekkah                                             MS


                                                       HASKINS          CASSANDRA                                          MS
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                                                       Hatch            Kimberly                                           AL


                                                       HATCHER          HARLAN                                             TX


                                                       HATSAVONGSA      KIM                                                AL


                                                       Hattaway         Adam                                               AL


                                                       Hatten           Nikki                                              AL


                                                       Hatten           James                                              MS


                                                       Hawkins          Jessica                                            AL


                                                       HAWKINS          ERIC                                               MS


                                                       HAWKINS          KENYA TONISA                                       MS


                                                       Hawkins          Wanda                                              MS
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                                                       Hawthorne        April                                              AL


                                                       HAWTHORNE        SUSAN                                              MS


                                                       HAYES            MARTIN                                             AL


                                                       HAYES            DEBRA                                              MS


                                                       HAYES            KELVIN                                             MS


                                                       HAYES            TAVANE                                             MS


                                                       HAYES            POLLY                                              SC


                                                       HAYGOOD          FELICIA                                            AL


                                                       Hayward          Cassandra                                          AL


                                                       HAYWOOD          TERRY                                              MS


                                                       HEARD            JAMES                                              AL


                                                       HEARD            JERMAINE                                           AL


                                                       HEBERT           ANGELA                                             MS


                                                       HEBERT           DANIEL                                             TX


                                                       Heezen           Donald                                             TN


                                                       HEMBLING         JOHN                                               IL


                                                       HEMBREE          LARRY                                              GA


                                                       HENDERSON        BUCK                                               AL


                                                       HENDERSON        AUDREY                                             MS


                                                       HENDERSON        MARY                                               MS


                                                       Henderson        Veronica                                           MS


                                                       Henley           Essie                                              AL


                                                       Henley           Junmakia                                           AL


                                                       HENNING          NAITHON                                            AL


                                                       HENSELL          CARLTON                                            AL


                                                       Henson           Lacie                                              AL


                                                       HENSON           JAMES                                              FL
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                                                       Hereford         Lisa                                               MS


                                                       HERNANDEZ        MARIA                                              TX


                                                       HERRERA          DOMINGO                                            WI


                                                       HERRING          TERRANCE                                           MS


                                                       HERRON           ALMA                                               AL


                                                       HESS             BRITNEY                                            AL


                                                       Hester           Benjamin                                           GA


                                                       Hicks            Quincy                                             MS


                                                       HIGGINS          JEREMY                                             AL


                                                       Hightower        Nemi                                               GA
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                                                       Hightower        Nemi                                               GA


                                                       HilL             Jenita                                             AL


                                                       Hill             Cattina                                            MS


                                                       HILL             SCARLETT                                           MS


                                                       HILL             CHRISTOPHER                                        TX


                                                       Hillard          Alforzon                                           AL


                                                       HILLIARD         DON                                                MS


                                                       HILTON           JIM                                                MT


                                                       HINES            REGINA                                             AL


                                                       Hinton           Angela                                             MS


                                                       Hinton           Eugene                                             MS


                                                       HINTON           SAMMIE                                             MS


                                                       HO               HUONG                                              AL


                                                       HO               KHANH                                              AL


                                                       HO               AMY                                                TX


                                                       HO               CAM                                                TX


                                                       HO               DIEU                                               TX


                                                       HO               NGOC                                               TX


                                                       HO               QUY                                                TX


                                                       HO               ROSE                                               TX


                                                       HO               TIMOTHY                                            TX


                                                       HO               TRINH THI                                          TX


                                                       HO               PHUONG                                             AL


                                                       HO               HUE                                                TX


                                                       HOANG            DUNG                                               AL


                                                       HOANG            HA THI                                             AL


                                                       HOANG            HOA                                                AL
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                                                       HOANG            THO                                                AL


                                                       Hoang            Ky                                                 MS


                                                       HOANG            AN                                                 TX


                                                       HOANG            DIEM                                               TX


                                                       HOANG            DUNG                                               TX


                                                       HOANG            ELIZABETH                                          TX


                                                       HOANG            HAI                                                TX


                                                       HOANG            JOHN                                               TX


                                                       HOANG            KHANH                                              TX


                                                       HOANG            MARILYN                                            TX
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                                                       HOANG            NGA                                                TX


                                                       HOANG            NHAT                                               TX


                                                       HOANG            NHI                                                TX


                                                       HOANG            SAN                                                TX


                                                       HOANG            TAM                                                TX


                                                       HOANG            THANH                                              TX


                                                       HOANG            UY                                                 TX


                                                       Hobgood          Jan                                                GA


                                                       Hodge            Tontella                                           MS


                                                       HODGES           STACEY COVE                                        MS


                                                       HOLCOMB          THOMAS                                             MS


                                                       Holcombe         Ashley                                             AL


                                                       Holden           Belinda                                            MS


                                                       HOLDEN           KARMANN                                            MS


                                                       HOLDEN           CHESTER                                            TN


                                                       HOLDER           WINSTON                                            MS


                                                       HOLDERFIELD      BOBBY                                              MS


                                                       HOLLAND          DELORISE                                           MS


                                                       HOLLEY           DEDRA                                              MS


                                                       HOLLIDAY         LAVONIA                                            AZ


                                                       HOLLIER          JACOB                                              TX


                                                       HOLLINGHEAD      BOBBY                                              AL


                                                       HOLLINGSWORTH    STEVEN                                             AL


                                                       HOLLIS           ANNETTE                                            AL


                                                       HOLLIS           MIKE                                               AL


                                                       HOLLISTER        RICCO                                              GA


                                                       HOLLOWAY         BRUCE                                              AL
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                                                       Holloway         Jimmy                                              MS


                                                       HOLLOWAY         PURVIS                                             MS


                                                       HOLLOWAY         RICKY                                              MS


                                                       HOLMES           ADRIAN                                             AL


                                                       HOLMES           GARY                                               AL


                                                       Holmes           Leonard                                            AL


                                                       HOLMES           CHERRESE                                           TN


                                                       HOLT             DARRYL                                             MS


                                                       HOLT             DARRYL                                             MS


                                                       Hooker           Davis                                              MS
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                                                       HOOKS             HELEN                                              AL


                                                       HOPKINS           BARBIE                                             AL


                                                       HOPKINS           DEBORAH                                            MS


                                                       HOPKINS           JACK                                               MS


                                                       Hopkins           Milton                                             MS


                                                       HORN              LANCE LAMAR                                        AL


                                                       HORTON            CURTIS                                             AL


                                                       HOUSE             JOSEPH                                             AR


                                                       HOUSER            DEMISHA                                            MS


                                                       HOWARD            ANTHONY                                            AL


                                                       Howard            Bridgette                                          AL


                                                       HOWARD            JOE                                                AL


                                                       HOWARD            SONDRA                                             AL


                                                       HOWARD            DELOIS                                             MS


                                                       HOWARD            KATIE                                              MS


                                                       Howell            James                                              AL


                                                       HOWELL            VIRDIE                                             AL


                                                       HOWLETT           KENDALL                                            TX


                                                       HOYE              BRENT                                              MS


                                                       HUA               NU TAM                                             AL


                                                       HUANG             ER                                                 AL


                                                       Hubbard           Carrie                                             AL


                                                       HUBBARD           LOTTIE                                             MS


                                                       HUDSON            DAMON                                              AL


                                                       HUDSON            MARCUS                                             AL


                                                       HUDSON            RICKEY                                             AL


                                                       HUDSON            BRETT                                              MS
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                                                       Hudson            Sherill                                            MS


                                                       HUDSON            DANDRE                                             NJ


                                                       HUFFSTUTLER       CHARLES                                            MS


                                                       HUGHES            DASHA                                              MS


                                                       HUNDLEY           CLAMUS                                             MS


                                                       Hunter            Richard                                            AL


                                                       Hunter            Adrian                                             MS


                                                       Hutcherson        Samuel                                             AL


                                                       HUTCHISON         BRIAN                                              MS


                                                       HUTNICK           JOSEPH                                             HI
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                                                       HUTTON        DEVARIO                                            MS


                                                       HUYNG         THUAN MINH                                         AL


                                                       HUYNH         BICH THU                                           AL


                                                       HUYNH         CUONG DAT                                          AL


                                                       HUYNH         DANIEL                                             AL


                                                       HUYNH         DUNG                                               AL


                                                       HUYNH         HUNG                                               AL


                                                       HUYNH         LOC                                                AL


                                                       HUYNH         LOC BA                                             AL


                                                       HUYNH         PHUOC BA                                           AL


                                                       HUYNH         SAM                                                AL


                                                       HUYNH         THIEN                                              AL


                                                       HUYNH         THUAN                                              AL


                                                       HUYNH         TONY                                               AL


                                                       HUYNH         TUYET                                              AL


                                                       HUYNH         GIAU VAN                                           MS


                                                       HUYNH         TOAN                                               OK


                                                       HUYNH         AN THAI                                            TX


                                                       HUYNH         CUC                                                TX


                                                       HUYNH         DUNG                                               TX


                                                       HUYNH         HA                                                 TX


                                                       Huynh         Hai                                                TX


                                                       HUYNH         HANNA                                              TX


                                                       HUYNH         HIEN                                               TX


                                                       Huynh         Hue                                                TX


                                                       Huynh         Hue                                                TX


                                                       HUYNH         KIM                                                TX
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                                                       HUYNH         KIN                                                TX


                                                       HUYNH         LANG                                               TX


                                                       HUYNH         MICHAEL                                            TX


                                                       HUYNH         NGOC                                               TX


                                                       HUYNH         PHUONG                                             TX


                                                       HUYNH         TAN                                                TX


                                                       HUYNH         THU HEIN                                           TX


                                                       HUYNH         THU HONG THU                                       TX


                                                       HUYNH         TRUNG                                              TX


                                                       Huynh         Truong                                             TX
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                                                       HYMAN            NADIA                                              MS


                                                       IGLINSKY         CHRISTOPHER                                        MS


                                                       IJAMES           MARY                                               TN


                                                       INGRAM           BERTHA                                             MS


                                                       IRBY             ELIZABETH                                          GA


                                                       Isabell          James                                              MS


                                                       ISOM             ANDRE                                              MS


                                                       IZQUIERDO        IVONNE                                             SC


                                                       JACKSON          AKEEM                                              AL


                                                       Jackson          Earl                                               AL


                                                       JACKSON          JEROME                                             AL


                                                       Jackson          Jonathan                                           AL


                                                       Jackson          Joy                                                AL


                                                       Jackson          Marvine                                            AL


                                                       Jackson          Melvin                                             AL


                                                       JACKSON          ROBERT                                             AL


                                                       JACKSON          SHAKET                                             AL


                                                       JACKSON          TIMMY                                              AR


                                                       JACKSON          DEBRA                                              MS


                                                       JACKSON          HAROLD                                             MS


                                                       Jackson          Jerome                                             MS


                                                       Jackson          Kenneth                                            MS


                                                       JACKSON          KENNETH                                            MS


                                                       JACKSON          RUDOLPH                                            MS


                                                       JACKSON          SHELIA                                             MS


                                                       JACKSON          WILLIAM                                            MS


                                                       JACKSON          GREGORY                                            TX
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                                                       Jackson          Yolanda                                            TX


                                                       James            Charles                                            AL


                                                       JAMES            INDIA                                              AL


                                                       James            James                                              AL


                                                       JAMES            JERRELL                                            AL


                                                       JAMES            KELVIN                                             AL


                                                       JAMES            SHANDOLYN                                          AL


                                                       JAMES            CHRISTOPHER                                        MS


                                                       JAMES            MARY                                               MS


                                                       James            Michael                                            MS
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                                                       JAMISON          CASSANDRA                                          MS


                                                       January          Marsha                                             MS


                                                       JASMIN           RAYMOND                                            MS


                                                       Jefferson        Edgar                                              MS


                                                       Jefferson        Kathleen                                           MS


                                                       JEFFERSON        KEZIA                                              MS


                                                       JEFFERSON        KEZIA                                              MS


                                                       JEMISON          JESSIE                                             AL


                                                       JENKINS          JACKKIMBRA                                         AL


                                                       JENKINS          MARCOLE                                            MS


                                                       JENKINS          SHEILA                                             MS


                                                       JENKINS          CHRISTOPHER                                        TX


                                                       JENKINS          DERRICK                                            TX


                                                       JEREZ            MARTIN                                             TX


                                                       Jerkins          Michael                                            AL


                                                       Jimenez          Pedro                                              AL


                                                       JIMENEZ          JOSE                                               TX


                                                       JOHNSON          BARBARA                                            AL


                                                       JOHNSON          BOBBY                                              AL


                                                       Johnson          Bridget                                            AL


                                                       JOHNSON          CHARLIEDRA                                         AL


                                                       JOHNSON          CLYDE                                              AL


                                                       JOHNSON          CONNIE                                             AL


                                                       JOHNSON          DARON                                              AL


                                                       Johnson          Demarcus                                           AL


                                                       Johnson          Desmond                                            AL


                                                       Johnson          Eric                                               AL
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                                                       Johnson          Ethel                                              AL


                                                       JOHNSON          FRANCES                                            AL


                                                       JOHNSON          GARY                                               AL


                                                       Johnson          Harold                                             AL


                                                       Johnson          Kenneth                                            AL


                                                       Johnson          Keyon                                              AL


                                                       Johnson          Lazarus                                            AL


                                                       Johnson          Michael                                            AL


                                                       JOHNSON          RAY                                                AL


                                                       JOHNSON          REGENIA                                            AL
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                                                       Johnson        Sean                                               AL


                                                       Johnson        Shannon                                            AL


                                                       JOHNSON        WAYLON                                             AL


                                                       JOHNSON        ROGERLINE                                          AR


                                                       Johnson        Anthony                                            MS


                                                       Johnson        Dewan                                              MS


                                                       JOHNSON        DONYELE                                            MS


                                                       JOHNSON        ELAINA                                             MS


                                                       Johnson        Eric                                               MS


                                                       JOHNSON        JERRY                                              MS


                                                       Johnson        Joey                                               MS


                                                       JOHNSON        KATRINA                                            MS


                                                       JOHNSON        LASHUNDRA                                          MS


                                                       Johnson        L'shay                                             MS


                                                       JOHNSON        PATRICIA                                           MS


                                                       JOHNSON        QUENTAVION                                         MS


                                                       Johnson        Robin                                              MS


                                                       JOHNSON        RUBY                                               MS


                                                       Johnson        Simon                                              MS


                                                       Johnson        Simon                                              MS


                                                       JOHNSON        TASHA                                              MS


                                                       JOHNSON        TIMOTHY                                            MS


                                                       JOHNSON        WACO                                               MS


                                                       JOHNSON        JAMES                                              TX


                                                       JOINER         ROSIE                                              MS


                                                       Jones          Agolia                                             AL


                                                       JONES          ALFRED                                             AL
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                                                       JONES          ANTHONY                                            AL


                                                       Jones          Cassandra                                          AL


                                                       JONES          CHRISTOPHER                                        AL


                                                       Jones          Henry                                              AL


                                                       Jones          Jennifer                                           AL


                                                       Jones          Kristin                                            AL


                                                       JONES          MARVIN                                             AL


                                                       JONES          PAMELA                                             AL


                                                       Jones          Patricia                                           AL


                                                       Jones          Paulette                                           AL
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                                                       JONES               SAMUEL                                             AL


                                                       Jones               Samuel                                             AL


                                                       Jones               Staci                                              AL


                                                       JONES               TIMOTHY                                            AL


                                                       Jones               Antoine                                            MS


                                                       JONES               DANIELLE                                           MS


                                                       Jones               Dena                                               MS


                                                       Jones               Joseph                                             MS


                                                       Jones               Kaylon                                             MS


                                                       JONES               LASONIA                                            MS


                                                       JONES               MARIO                                              MS


                                                       JONES               SHARON                                             MS


                                                       JONES               SHIRLEY                                            MS


                                                       JONES               SHIRLEY                                            MS


                                                       JONES               TERRY                                              MS


                                                       JONES               DANIELLE                                           TN


                                                       JONES               MICHELLE                                           TN


                                                       JONES               CATHERINE                                          TX


                                                       Jones-Dailey        Susan                                              MS


                                                       Jordan              Michael                                            AL


                                                       Jordan              Destiny                                            MS


                                                       Jordan              Robert                                             MS


                                                       JORDAN              TIFFANY                                            MS


                                                       JOSEPH              FICIEN                                             MS


                                                       JOSEPH              NATASHA                                            MS


                                                       JOYNER              SAMUEL                                             AL


                                                       JUAREZ              ALVARADO                                           TX
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                                                       JUAREZ              ARTURO                                             TX


                                                       KAISER              DAVID                                              MI


                                                       KAN                 ROSLY                                              AL


                                                       Kastorff            Anita                                              AL


                                                       KELLER              DALLAS                                             AL


                                                       KELLEY              ALECIA                                             AL


                                                       KELLUM              JACK                                               CO


                                                       Kelly               Betty                                              MS


                                                       Kelly               Dwayne                                             MS


                                                       Kelly               Kim                                                MS
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                                                       Kelly             Luretha                                            MS


                                                       Kemp              Lecedric                                           MS


                                                       KENNEDY           CELLESTINE                                         AL


                                                       KENNEDY           JESSIE                                             AL


                                                       KENNEDY           JOSEPH                                             AL


                                                       KENNEDY           TAMEKA                                             AL


                                                       KENNEDY           CAROLYN                                            MS


                                                       KENNEDY           INEZ                                               AL


                                                       KEOHEUANGSY       ABRAHAM                                            AL


                                                       KEOMOUNGKHOUN     KHAMSAY                                            AL


                                                       Kern              Ann                                                AL


                                                       KERN              CHESTER                                            AL


                                                       Kessler           Kim                                                TX


                                                       KEY               CODY                                               TX


                                                       Keys              Harold                                             AL


                                                       Keys              Mary                                               AL


                                                       KEYS              CATRINA                                            MS


                                                       KHAMSOMPHOU       MICHAEL                                            AL


                                                       KHAMSOMPHOU       NALISA                                             AL


                                                       KHAN              SOEUN                                              AL


                                                       KHONG             NGOCDIEM                                           TX


                                                       Khuu              Non                                                TX


                                                       Kibler            Jack                                               SC


                                                       KIDD              PENDARIUS                                          AL


                                                       KIDD              SARAH                                              MS


                                                       KILGORE           JAN                                                AL


                                                       KILLGO            JACQUELIN                                          MS
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                                                       Killgo            Kevin                                              MS


                                                       Killgore          Thomas                                             MS


                                                       KILPATRICK        GERALDINE                                          TN


                                                       KIM               HONG                                               AL


                                                       KIM               KYONG                                              MS


                                                       KIM               SCOTT                                              TN


                                                       Kimbrough         Shanita                                            AL


                                                       KIMMONS           STACY                                              MS


                                                       KING              CHANTAE                                            AL


                                                       King              Damario                                            AL
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                                                       KING                 DARALD                                             AL


                                                       KING                 MICHELLE                                           AL


                                                       KING                 TIFFANY                                            AL


                                                       KING                 TONY                                               AL


                                                       King                 Alan                                               MS


                                                       King                 Gabrielle                                          MS


                                                       King                 Lamorio                                            MS


                                                       KING                 NORMA                                              MS


                                                       KING                 TONDRA                                             MS


                                                       King                 Tristan                                            MS


                                                       KIRK                 BRANDY                                             AL


                                                       KIRKSEY              AMBER                                              AL


                                                       Kirksey              Charles                                            AL


                                                       Kirkwood             David                                              TX


                                                       KLIEBERT             COLLEEN                                            TX


                                                       KNEE                 DAVID                                              MS


                                                       KNIGHT               DELORES                                            AL


                                                       Knight               Janice                                             AL


                                                       Knight               Kasandra                                           AL


                                                       Knight               Marshall                                           AL


                                                       KNIGHT               STEVEN                                             AL


                                                       Knight               Trina                                              AL


                                                       KNIGHT               JEFFREY                                            MS


                                                       KNIGHT               RAYMOND                                            MS


                                                       Knighton             Janice                                             AL


                                                       KNOTTS               BURNISTINE                                         MS


                                                       Koenige              Guillaume                                          TX
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                                                       KOK                  DANIEL                                             MS


                                                       KOLOSZAR             RONNIE                                             AL


                                                       Kong                 Sokhunthea                                         TX


                                                       KOPPERSMITH          ERMA                                               AL


                                                       KOTOWSKI             DENISE                                             MS


                                                       Koval                Adam                                               FL


                                                       Kristofferson        Howard                                             AL


                                                       KUEMPEL              TONY                                               AL


                                                       KUOCH                KEAK                                               AL


                                                       KUOCH                KEAK                                               AL
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                                                       Kyle           Deanna                                             MS


                                                       KYLE           GERALD                                             MS


                                                       Kyles          Patrick                                            MS


                                                       Kyser          Tiffany                                            AL


                                                       Kyser          Matthew                                            TX


                                                       Kyser          Matthew                                            TX


                                                       LA             SANG                                               TX


                                                       LA             PHUC                                               MS


                                                       LACAYO         ROLANDO                                            AL


                                                       LaCour         April                                              AL


                                                       LACY           ANTOINE                                            AL


                                                       Lacy           Roy                                                AL


                                                       LADNIER        EVA                                                AL


                                                       Ladnier        William                                            AL


                                                       LAFONT         CHRISTOPHER                                        TN


                                                       LAI            KA                                                 AL


                                                       LAI            MARY MAY                                           AL


                                                       LAI            SHUN                                               AL


                                                       LAM            ALISHA                                             AL


                                                       LAM            BINH                                               AL


                                                       LAM            HEN                                                AL


                                                       LAM            KIM                                                AL


                                                       LAM            PHUONG                                             AL


                                                       LAM            TIEN                                               FL


                                                       LAM            LINH                                               TX


                                                       LAM            THANH                                              TX


                                                       LAMAR          MARY                                               AL
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                                                       Lamar          Veronica                                           AL


                                                       LAMB           MARGARET                                           GA


                                                       LAMBERT        BOBBY                                              AL


                                                       LAMBERT        JAMES                                              AL


                                                       Land           Shantal                                            AL


                                                       Landry         Daniel                                             MS


                                                       LANDRY         TERRANCE                                           MS


                                                       Lane           Dexter                                             MS


                                                       Lane           Roslyn                                             MS


                                                       LANEE          YOLANDA                                            TX
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                                                       LANEY           SUSAN                                              MS


                                                       Lang            Linda                                              MS


                                                       LANG            MONG                                               TX


                                                       LANGHAM         VINCENT                                            AL


                                                       Laphand         Keoki                                              MS


                                                       LARSON          JAMES                                              MS


                                                       LaRue           Larry                                              MS


                                                       LASSABE         GARRETT                                            MS


                                                       Lassabe         Heidi                                              MS


                                                       LASY            SANH                                               AL


                                                       LASY            SOUMALY                                            AL


                                                       LATHAM          DAVID                                              AL


                                                       LAU             YA                                                 AL


                                                       Lawler          Wesley                                             AL


                                                       LAWRENCE        JERRY                                              MS


                                                       LAWRENCE        RICHARD                                            MS


                                                       LAWRENCE        TERI                                               MS


                                                       Lawrence        Joshua                                             TX


                                                       Lawrence        Joshua                                             TX


                                                       Lawson          Catherine                                          MS


                                                       LE              ANH VAN                                            AL


                                                       LE              BANG                                               AL


                                                       LE              BAY                                                AL


                                                       LE              BINH                                               AL


                                                       LE              CANH HUE THI                                       AL


                                                       LE              CHIEU VAN                                          AL


                                                       LE              CUONG                                              AL
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                                                       LE              DET                                                AL


                                                       LE              DIANA                                              AL


                                                       LE              DO QUYEN                                           AL


                                                       LE              DUC                                                AL


                                                       LE              DUNG TIEN                                          AL


                                                       LE              DUNG TIEN                                          AL


                                                       LE              EM THI                                             AL


                                                       LE              HOA KIM                                            AL


                                                       LE              HONG                                               AL


                                                       LE              HONG HANH THI                                      AL
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                                                       LE        HUNG                                               AL


                                                       LE        JENNIFER NGOC                                      AL


                                                       LE        KIM                                                AL


                                                       LE        LAM                                                AL


                                                       LE        LANH THI                                           AL


                                                       LE        LIEN NGOC                                          AL


                                                       LE        LUAN                                               AL


                                                       LE        MINH                                               AL


                                                       LE        MINH                                               AL


                                                       LE        MUONG THI                                          AL


                                                       LE        NAM HOAI                                           AL


                                                       LE        NGOC LY THI                                        AL


                                                       LE        NHUT                                               AL


                                                       LE        PHUONG                                             AL


                                                       LE        PHUONG HOAI                                        AL


                                                       LE        SON                                                AL


                                                       LE        TAM VAN                                            AL


                                                       LE        THAO HOANG                                         AL


                                                       LE        TRANG                                              AL


                                                       LE        TRI                                                AL


                                                       LE        TRUC                                               AL


                                                       LE        TRUNG                                              AL


                                                       LE        YENPHUONG KATHERINE                                AL


                                                       LE        BINH                                               FL


                                                       LE        DUY DINH                                           MO


                                                       LE        MY THI                                             MS


                                                       LE        PHUONG                                             MS
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                                                       LE        THANH TAN                                          MS


                                                       LE        TUYET KIM THI                                      MS


                                                       LE        VAN                                                MS


                                                       LE        TRUNG                                              OK


                                                       LE        BICH                                               TX


                                                       LE        BIET                                               TX


                                                       LE        BOBBY                                              TX


                                                       LE        CHIN                                               TX


                                                       Le        Cuc                                                TX


                                                       LE        CUONG                                              TX
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                                                       LE                 DANH                                               TX


                                                       LE                 DANH                                               TX


                                                       LE                 DUC                                                TX


                                                       LE                 DUNG                                               TX


                                                       LE                 ELVIS                                              TX


                                                       LE                 HAI                                                TX


                                                       LE                 HAI                                                TX


                                                       LE                 HAI HO                                             TX


                                                       LE                 HONG LOAN THI                                      TX


                                                       LE                 HUONG                                              TX


                                                       LE                 HUY                                                TX


                                                       LE                 JENNIFER                                           TX


                                                       LE                 JOSEPH                                             TX


                                                       LE                 LIEM                                               TX


                                                       LE                 LOI                                                TX


                                                       LE                 LONG                                               TX


                                                       LE                 MEN                                                TX


                                                       LE                 MICKEY                                             TX


                                                       LE                 MY THIEN                                           TX


                                                       LE                 NHAC                                               TX


                                                       LE                 QUI                                                TX


                                                       Le                 Sieu                                               TX


                                                       LE                 TERESA                                             TX


                                                       LE                 THAI QUOC                                          TX


                                                       LE                 THANH                                              TX


                                                       LE                 THANH HANG                                         TX


                                                       Le                 Thiet                                              TX
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                                                       LE                 TO                                                 TX


                                                       LE                 TRI                                                TX


                                                       LE                 TRUC LY                                            TX


                                                       LE                 VAN                                                TX


                                                       LE                 VINH                                               TX


                                                       LEACH              SARA                                               MS


                                                       LEASHER            ELEUTERIA                                          TX


                                                       Leashore           Kendra                                             AL


                                                       Leath              Ann                                                AL


                                                       Leatherwood        Kartesia                                           AL
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                                                       Lebeouf            Randy                                           TX


                                                       LEBLEU             GABRIEL                                         MS


                                                       LEDEZMA            JOSE                                            TX


                                                       LEE                JENNIFER                                        AL


                                                       LEE                KUEI                                            AL


                                                       Lee                Leslie                                          AL


                                                       LEE                ROBERT                                          AL


                                                       LEE                LORENZO                                         GA


                                                       LEE                BURELL                                          MS


                                                       LEE                CHRISTY                                         MS


                                                       LEE                JASON                                           MS


                                                       LEE                KAY                                             MS


                                                       LEE                MONICA                                          MS


                                                       LEE                TINA                                            MS


                                                       LEE                TONNIE                                          MS


                                                       LEGER              MISTY                                           LA


                                                       LEMASTER           JOHN                                            TN


                                                       LENARD             LLEWELLYN                                       MS


                                                       LENG               AMIE                                            AL


                                                       LENTON             JOSEPH                                          MS


                                                       Leonard            Bryan                                           OH


                                                       Leonard            Bryan                                           OH


                                                       LEOPARD            DAVID                                           MS


                                                       LEOS DE MARTINEZ   GUADALUPE                                       TX


                                                       LEPRE              ROBERT                                          NY


                                                       LESLIE             AARON                                           MS


                                                       LESTER             RUBY                                            MS
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                                                       Lett               Dale                                            AL


                                                       Lett               Erina                                           MS


                                                       Lett               Gwendolyn                                       MS


                                                       Lett               Mittie                                          MS


                                                       Lett               Shanika                                         MS


                                                       Levins             William                                         AL


                                                       LEWIS              KENNETH                                         AL


                                                       LEWIS              LAURA                                           AL


                                                       LEWIS              ALDEN                                           MS


                                                       LEWIS              DON                                             MS
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                                                       Lewis           Gitano                                             MS


                                                       LEWIS           JANRETTA                                           MS


                                                       LEWIS           JERRY                                              MS


                                                       Lewis           Jimi                                               MS


                                                       LEWIS           KASANDRA                                           MS


                                                       LEWIS           REMA                                               MS


                                                       LEWIS           ROBERT                                             MS


                                                       LEWIS           RONALD                                             MS


                                                       LEWIS           TINA                                               MS


                                                       LEWIS           CECIL                                              TN


                                                       LEWIS           EDWARD                                             TX


                                                       LI              XIAO                                               AL


                                                       LIANG           XIN YU                                             AL


                                                       LIEU            HOANG                                              TX


                                                       LIM             SOUNGLY                                            AL


                                                       LIN             HTAIN                                              MS


                                                       LINDER          MICHAEL                                            MS


                                                       LINDSEY         AQUILA                                             AL


                                                       LINDSEY         DECHANTEL                                          AL


                                                       Little          Jo                                                 AL


                                                       LITTLE          VALESKA                                            AL


                                                       Little          Robert                                             TX


                                                       LITZNER         JAMIE                                              MS


                                                       LITZNER         LANCE                                              MS


                                                       LIU             YU RONG                                            AL


                                                       Livings         Joshua                                             AL


                                                       LIVINGS         TIFFANY                                            AL
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                                                       Lizana          Carlton                                            MS


                                                       Lizana          Chavis                                             MS


                                                       LIZANA          PAULETTE                                           MS


                                                       Locke           Mario                                              AL


                                                       Lockett         Murry                                              AL


                                                       LOCKHART        JERRY                                              TX


                                                       LOFFMAN         SHELIA                                             TN


                                                       Lofton          Michelle                                           AL


                                                       LONG            JACKY                                              AL


                                                       LONG            LABRANDON                                          AL
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                                                       Long              Lorette                                           AL


                                                       LONGMIRE          CEDRICK                                           AL


                                                       Longmire          Yolanda                                           AL


                                                       LOPER             THEODORE                                          AL


                                                       LOPER             CHRISTOPHER                                       MS


                                                       LOPER             EBONY                                             MS


                                                       LOPER             JIMMIE                                            MS


                                                       LOPER             NEPTONYA                                          MS


                                                       LOPEZ             DARIO                                             AL


                                                       LOPEZ             ORLIN                                             AL


                                                       LOPEZ             SILVANO                                           MS


                                                       LOPEZ             LUIS                                              TX


                                                       LOPEZ             MARIBEL                                           TX


                                                       LOPEZ REYES       LUZ MARIA                                         TX


                                                       LOTT              DELEICE                                           AL


                                                       LOUALLEN          CHRISTINA                                         AL


                                                       LOUALLEN          MANCEL                                            AL


                                                       LOUGHIN           JAMES                                             MS


                                                       Louviere          Janine                                            MS


                                                       Love              Roberto                                           AL


                                                       Lovless-Johnson   Raquel                                            AL


                                                       LOWRY             MARY                                              MS


                                                       Lozano            Mary                                              AL


                                                       LU                THANH                                             AL


                                                       LU                TSAI                                              MS


                                                       LU                HUONG                                             TX


                                                       lucia             rick                                              AL
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                                                       LUCIANO           WILBERTO                                          MS


                                                       Luckett           Percy                                             AL


                                                       LUCY              MARGUETTA                                         AL


                                                       Ludgood           Wanda                                             AL


                                                       Lugo              Deli                                              TN


                                                       Lugo              Alejandro                                         TX


                                                       Lundy             Joshua                                            AL


                                                       LUONG             HUU                                               AL


                                                       LUONG             KIM LONG                                          AL


                                                       LUONG             MINH                                              AL
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                                                       LUONG           LONG                                               LA


                                                       LUPTON          JOHNNY ALFRED                                      AL


                                                       LUSTER          CECIL                                              AL


                                                       LUU             CAN                                                AL


                                                       LUU             THANH                                              AL


                                                       LUU             BACH                                               TX


                                                       Luu             Sac                                                TX


                                                       LUU             STEVE                                              TX


                                                       LUU             STEVE                                              TX


                                                       LY              EM                                                 AL


                                                       LY              HOWARD                                             AL


                                                       LY              ALLEN                                              MS


                                                       LY              SIRADJIOU                                          MS


                                                       Ly              Be Hai                                             TX


                                                       LY              LIEU                                               TX


                                                       LY              THAI                                               TX


                                                       LY              THAO                                               TX


                                                       LY              XUAN                                               TX


                                                       Lybarger        Walter                                             TX


                                                       Lynch           Shareta                                            AL


                                                       LYONS           CHARLES                                            AL


                                                       LYONS           GINA                                               AL


                                                       LYSAS           MARJONO                                            AL


                                                       MA              HOANG                                              AL


                                                       MA              JUM                                                AL


                                                       MA              BENNY                                              MS


                                                       MA              MAY                                                MS
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                                                       MA              PHILIP                                             MS


                                                       MA              LOAN                                               TX


                                                       MACEO           JUAN                                               AL


                                                       MACK            GEORGE                                             AL


                                                       MADEOY          STEVEN                                             MD


                                                       MADISON         NANCY                                              MS


                                                       Magee           Alfred                                             MS


                                                       MAGEE           ANDELL                                             MS


                                                       MAGEE           CONELS                                             MS


                                                       MAGEE           ESAU                                               MS
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                                                       MAGEE            MAMIE                                              MS


                                                       MAGEE            OLIVIA                                             MS


                                                       MAGEE            SHANNA                                             MS


                                                       Magee            Tammy                                              MS


                                                       MAHAN            ELAINE                                             AL


                                                       MAHONEY          LI                                                 TN


                                                       MAI              FRANCES                                            AL


                                                       MAI              KHANH                                              AL


                                                       MAI              KIET                                               AL


                                                       MAI              NGA HOA                                            AL


                                                       MAI              QUY                                                AL


                                                       MAI              HIEP                                               TX


                                                       MAI              TUYEN                                              TX


                                                       Maier            Forrest                                            AL


                                                       MAJOR            DARRYL                                             AL


                                                       MAJURE           JOHN                                               MS


                                                       MALDANADO        EDUARDO                                            TX


                                                       MALDANADO        EDUARDO                                            TX


                                                       Malone           Cleo                                               AL


                                                       Malone           Lashawn                                            AL


                                                       Malone           Percentia                                          AL


                                                       MALONE           SAMMY                                              AL


                                                       MANESS           DEMETRA                                            TN


                                                       MANIVONG         SODANY                                             AL


                                                       MANN             CLINTON                                            AL


                                                       MANN             DAVID                                              AL


                                                       MANN             DAVID                                              PA
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                                                       MANNING          MAVELINE                                           AR


                                                       MANNING          CHRISTOPHER                                        MS


                                                       Manos            Terry                                              CO


                                                       MANSFIELD        SABRINA                                            AL


                                                       MANSILLA         DIEGA                                              TX


                                                       MANSON           JOHN                                               TN


                                                       MARENO           JERIMIAH                                           AL


                                                       MARKS            KAYLA                                              AL


                                                       Marrero          Donald                                             AL


                                                       MARSHALL         FRED                                               AL
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                                                       MARTIN          ERICKA                                             AL


                                                       MARTIN          WILLIE                                             AL


                                                       MARTIN          DARYL                                              MS


                                                       MARTIN          GREGORY                                            MS


                                                       MARTIN          KENDRICK                                           MS


                                                       MARTIN          KRISTIN                                            MS


                                                       Martin          Michelle                                           MS


                                                       MARTIN          REBEKA                                             MS


                                                       Martin          Urarah                                             MS


                                                       MARTINEZ        NECO                                               MS


                                                       MARTINEZ        RICKY                                              MS


                                                       Martinez        Gabriel                                            TX


                                                       MARTINEZ        JORGE                                              TX


                                                       Mason           Khalen                                             AL


                                                       Mason           Tony                                               AL


                                                       Mason           Melvin                                             MS


                                                       MASSEY          JEFF                                               AL


                                                       MATERNE         HANS                                               GA


                                                       Mathews         Barry                                              MS


                                                       Mathews         Barry                                              MS


                                                       MATTHEWS        ANGELA R.                                          AL


                                                       MATTHEWS        BRUCE                                              AL


                                                       MATTHEWS        JEREMY                                             AL


                                                       MATTHEWS        VIOLA                                              AL


                                                       May             Bruce                                              AL


                                                       MAY             DAVID                                              MS


                                                       May             Monique                                            MS
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                                                       MAYE            EVA                                                AL


                                                       Maye            Kendrick                                           AL


                                                       MAYE            CHRISTINE                                          MS


                                                       MAYFIELD        NANCY                                              MS


                                                       MAYFIELD        KENNETH                                            TX


                                                       Mcbeath         Stacey                                             MS


                                                       MCBETH          JIMMY                                              MS


                                                       MCBETH          MARY                                               MS


                                                       MCBRIDE         CARMAN                                             AL


                                                       McCall          Raymond                                            MS
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                                                       MCCANDLESS       WILLIAM                                            MS


                                                       MCCANTS          JERRY                                              AL


                                                       MCCANTS          LEON                                               AL


                                                       McCants          Marcus                                             AL


                                                       McCants          Romulus                                            AL


                                                       Mccants          Tamara                                             AL


                                                       MCCANTS          RONALD                                             MS


                                                       MCCARROLL        DEBRA                                              AL


                                                       McCarroll        Steve                                              AL


                                                       MCCARTY          MICHAEL                                            AL


                                                       MCCLAIN          CYNTHIA                                            AL


                                                       MCCLAIN          NYKORI                                             AL


                                                       MCCLAIN          SANDRA                                             MS


                                                       Mcclammey        Josef                                              MS


                                                       MCCLELLAN        CECILE                                             MS


                                                       MCCLOUD          WAYNE                                              AL


                                                       MCCLOUD          JACQUELINE                                         MS


                                                       McCord           Archie                                             AL


                                                       MCCORD           BOBBY                                              MS


                                                       MCCORD           JOYCELYN                                           MS


                                                       MCCORMICK        DIANNA                                             AL


                                                       MCCORMICK        WILLIAM                                            AL


                                                       MCCORVEY         CALVIN                                             MS


                                                       MCCOY            ADRIENNE                                           MS


                                                       MCCOY            GARLAND                                            MS


                                                       McCree           John                                               MS


                                                       McCree           Mack                                               MS
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                                                       MCCUBBINS        NGOC                                               TX


                                                       MCCULLAND        STEVEN                                             AL


                                                       McCullum         Brad                                               MS


                                                       McCullum         Karen                                              MS


                                                       McCune           Scott                                              TX


                                                       McDaniel         Nathan                                             TX


                                                       McDonald         Kura                                               MS


                                                       MCDONALD         RICKY                                              MS


                                                       McDonald         Sonja                                              MS


                                                       MCELRATH         ROBIN                                              AL
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                                                       MCEVOY           ZACHRY                                             AL


                                                       MCFARLAND        WESLEY                                             MS


                                                       MCGEE            BRANDY                                             MS


                                                       MCGILL           MICHAEL                                            MS


                                                       MCGINNIS         LORI                                               TX


                                                       Mcgowan          Tawanda                                            MS


                                                       MCGRAW           MARCUS                                             AL


                                                       McGraw           Marvin                                             AL


                                                       MCGRAW           RALPH                                              AL


                                                       McInis           Raymond                                            MS


                                                       McInnis          Mae                                                MS


                                                       MCIVER           DEBORAH                                            MS


                                                       MCKEE            NEKETTA                                            AL


                                                       MCKINNEY         CYNTHIA                                            MS


                                                       MCKINNIS         GREGORY                                            OK


                                                       McLaurin         Roy                                                MS


                                                       MCMILLIAN        LEONARD                                            AL


                                                       MCMILLIAN        JUAN                                               MS


                                                       MCMORRIS         CHARLES                                            TX


                                                       MCNAIR           CARLOTTA                                           MO


                                                       MCNEIL           FREDRICK                                           AL


                                                       McNeir           James                                              AL


                                                       McPherson        Schenavia                                          AL


                                                       McQueen          Joshua                                             AL


                                                       McTyere          Michael                                            AL


                                                       MCWHIRTER        JOHN                                               AL


                                                       MEDINA           ESPIRIDION                                         MS
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                                                       Medley           Sharita                                            AL


                                                       MEEKS            DOUG                                               AL


                                                       Meeks            Jaana                                              AL


                                                       MEJIA            GAMALIEL                                           TX


                                                       MELANCON         BRUCE                                              AL


                                                       Melton           Laura                                              AL


                                                       MENDIETA         MARIO                                              TX


                                                       Mercadel         Derick                                             MS


                                                       Merity           Erik                                               AL


                                                       Merka            Anthony                                            OK
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                                                       Mertz            Karl                                               MS


                                                       MESHELL          BRITTANY                                           MS


                                                       METTLEN          DAVID                                              TX


                                                       MICKLES          JAMES                                              AL


                                                       MIDDLETON        WILLIE                                             MS


                                                       MILBROOK         LINDA                                              MS


                                                       Miles            Howard                                             AL


                                                       Miles            William                                            IL


                                                       Miles            William                                            IL


                                                       Millen           Emeline                                            MS


                                                       MILLENDER        SAMEKA                                             AL


                                                       MILLENDER        SAMEKA                                             AL


                                                       Millener         Clifton                                            MS


                                                       Miller           Dixie                                              AL


                                                       MILLER           LATOYA                                             AL


                                                       MILLER           RONNIE                                             AL


                                                       MILLER           ELLIOT                                             MS


                                                       MILLER           SANDRA                                             MS


                                                       MILLER           JOEY                                               TN


                                                       MILLER           ROBERT                                             TN


                                                       Miller           Felicia                                            TX


                                                       Milton           Kendrick                                           AL


                                                       MILTON           ANNA                                               MS


                                                       MIMS             GABRIELLE                                          AL


                                                       Mims             Kenneth                                            AL


                                                       MIN              SARAY                                              AL


                                                       MIN              SARI                                               AL
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                                                       MINGO            KARL                                               AL


                                                       MINGO            PAMELA                                             AL


                                                       Minor            Juna                                               MS


                                                       Miramon          Bernard                                            MS


                                                       MIRANDA          CLAUDIO                                            MS


                                                       MIRDE            SHARLA                                             MS


                                                       MISKEL           KRYSTAL                                            AL


                                                       Mitchell         Antonio                                            AL


                                                       MITCHELL         LEVY                                               AL


                                                       Mitchell         Tammy                                              AL
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                                                       MITCHELL            CAROLYN                                            MS


                                                       MITCHELL            CHADRIC                                            MS


                                                       MITCHELL            DENISE                                             MS


                                                       MITCHELL            DORIS                                              MS


                                                       MITCHELL            HALEY                                              MS


                                                       MITCHELL            JOYCE                                              MS


                                                       Mitchell            Yamamoto                                           TX


                                                       MIXON               CURTIS                                             MS


                                                       MOCK                CAPTAIN RAYMOND                                    TX


                                                       Molina-Ortiz        Brandi                                             MS


                                                       MOM                 VEN                                                AL


                                                       MONAHAN             DORLEEN                                            FL


                                                       MONTEMAYOR          AURELIO                                            TX


                                                       MONTEMAYOR          JOSE                                               TX


                                                       Montgomery          Chantell                                           AL


                                                       MONTGOMERY          RICHARD                                            AL


                                                       MONTGOMERY          AUBREY                                             MS


                                                       Montgomery          Deaira                                             MS


                                                       Moody               Edna                                               AL


                                                       Moody               Don                                                MS


                                                       Mooneyham           Howard                                             MS


                                                       Moore               David                                              AL


                                                       Moore               Gary                                               AL


                                                       MOORE               JINNA                                              AL


                                                       MOORE               JOHN                                               AL


                                                       Moore               Makeidra                                           AL


                                                       Moore               Zachery                                            AL
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                                                       Moore               Pamela                                             FL


                                                       MOORE               ALBERT                                             MS


                                                       MOORE               ALEXANDER                                          MS


                                                       MOORE               ANGELA                                             MS


                                                       Moore               Courtney                                           MS


                                                       MOORE               DARRYL                                             MS


                                                       Moore               Desmond                                            MS


                                                       Moore               Desmond                                            MS


                                                       MOORE               FRED                                               MS


                                                       MOORE               GERALD                                             MS
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                                                       MOORE           GLORIA                                             MS


                                                       MOORE           JARON                                              MS


                                                       MOORE           JUANITA                                            MS


                                                       MOORE           MARRIO                                             MS


                                                       MOORE           MICHAEL                                            MS


                                                       MOORE           MONCHER                                            MS


                                                       Moore           Yolanda                                            MS


                                                       MOORER          ZAKEISHA                                           AL


                                                       MOORERE         CHARLENE                                           AL


                                                       Moorere         Leola                                              AL


                                                       MOORMAN         GEORGE                                             MS


                                                       MORALES         JOE                                                TX


                                                       Moran           Simon                                              NC


                                                       MORGAN          LANCE                                              AL


                                                       MORGAN          MONIQUE                                            AL


                                                       MORGAN          CHAD                                               MS


                                                       MORRIS          DARRYL                                             MS


                                                       MORRIS          LISA                                               MS


                                                       MORRIS          MARVIN                                             MS


                                                       MORRISON        DEALLEN                                            AL


                                                       MOSE            JEFFERY                                            AL


                                                       MOSE            JOICE                                              AL


                                                       MOSELEY         ERIC                                               AL


                                                       MOSELY          CHERYL                                             AL


                                                       MOSLEY          DEBRA                                              AL


                                                       MOSLEY          JERRY                                              AL


                                                       MOSLEY          LASHANNON                                          AL
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                                                       MOTZKO          JUSTIN                                             TX


                                                       MOULTON         ROBERT                                             TX


                                                       MOWER           THU SUONG                                          MS


                                                       MUEN            MY                                                 AL


                                                       MULLINS         DAN                                                MS


                                                       MULLINS         PATRICIA                                           MS


                                                       MULLINS         ROBERT                                             MS


                                                       MUNGUIA         ANGEL                                              AL


                                                       MUNSEY          JOHN                                               TX


                                                       MURDOCK         MELINDA                                            MS
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                                                       MURPHY          MICHAEL                                            AL


                                                       MURPHY          MORGAIN                                            AL


                                                       MURPHY          KELVIN                                             MS


                                                       MURPHY          PATRICK                                            TX


                                                       MURPHY          STEPHEN                                            TX


                                                       MURRAY          RODNEY                                             AL


                                                       Murray          Roosevelt                                          AL


                                                       MYAING          RAMON                                              ND


                                                       MYATT           CYNTHIA                                            CA


                                                       MYERS           JASON                                              AK


                                                       MYERS           DETRIC                                             MS


                                                       MYLES           DEWARD                                             MS


                                                       NAMEESAI        YOUDA                                              AL


                                                       NAMEESAN        BOUNSON                                            AL


                                                       NAPIER          GWENDOLYN                                          AL


                                                       NAPIER          JANAI                                              AL


                                                       NECAISE         MARK                                               MS


                                                       NECAISE         VICKY                                              MS


                                                       NEELY           WILLIAM                                            MS


                                                       NELSON          ANITA                                              AL


                                                       NELSON          BARBARA                                            MS


                                                       NELSON          SOPHIA                                             MS


                                                       NELSON          THOMAS                                             MS


                                                       NESLER          ANGELICA                                           AL


                                                       NESLER          TODD                                               AL


                                                       NETTLES         BRENDA                                             AL


                                                       NEWELL          LORETTA                                            MS
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                                                       NGA             SOPHANDARA                                         AL


                                                       NGA             SOPHARY                                            AL


                                                       NGAM            JASON                                              AL


                                                       NGHIEM          HUE                                                TX


                                                       NGHIEM          KENNY                                              TX


                                                       NGHIEM          KEVIN                                              TX


                                                       NGHIEM          TAMMY                                              TX


                                                       NGO             KATHY                                              AL


                                                       NGO             KELLY                                              AL


                                                       NGO             LONG                                               AL
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                                                       NGO           MINH                                               AL


                                                       NGO           VAN                                                AL


                                                       NGO           KIM PHUONG                                         TX


                                                       NGO           TAI                                                TX


                                                       NGO           THANH HAI                                          TX


                                                       NGOC          ANGELA                                             AL


                                                       NGUYEN        ANH                                                AL


                                                       NGUYEN        BAO                                                AL


                                                       NGUYEN        BICH HUYEN                                         AL


                                                       NGUYEN        CHAU                                               AL


                                                       NGUYEN        CHINH                                              AL


                                                       NGUYEN        CUONG QUOC                                         AL


                                                       NGUYEN        DONG THANH                                         AL


                                                       NGUYEN        DONNY MINH                                         AL


                                                       NGUYEN        DUC KHANH                                          AL


                                                       NGUYEN        DUC KIM                                            AL


                                                       NGUYEN        DUNG NGOC                                          AL


                                                       NGUYEN        ELIZABETH THI                                      AL


                                                       NGUYEN        FRANK                                              AL


                                                       NGUYEN        HAU TRUNG                                          AL


                                                       NGUYEN        HOA THI                                            AL


                                                       NGUYEN        HOAI PHUC THI                                      AL


                                                       NGUYEN        HOANG HUY                                          AL


                                                       NGUYEN        HOANG PHUOC                                        AL


                                                       NGUYEN        HUE PHUOC                                          AL


                                                       NGUYEN        HUE THI                                            AL


                                                       NGUYEN        HUNG T                                             AL
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                                                       NGUYEN        HUNG VAN                                           AL


                                                       NGUYEN        JASON HUY                                          AL


                                                       NGUYEN        JENNIFER DIEM                                      AL


                                                       NGUYEN        JOHN LE                                            AL


                                                       NGUYEN        KHANH                                              AL


                                                       NGUYEN        KHANH                                              AL


                                                       NGUYEN        KIEU PHUONG                                        AL


                                                       NGUYEN        KIEU THI                                           AL


                                                       NGUYEN        KIM                                                AL


                                                       NGUYEN        KIM                                                AL
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                                                       NGUYEN        KIM CHI                                            AL


                                                       NGUYEN        KIM PHUNG                                          AL


                                                       NGUYEN        KIM THI                                            AL


                                                       NGUYEN        KIM TRINH                                          AL


                                                       NGUYEN        KINH                                               AL


                                                       NGUYEN        LAN PHUONG                                         AL


                                                       NGUYEN        LANG                                               AL


                                                       NGUYEN        LEO                                                AL


                                                       NGUYEN        LIEM                                               AL


                                                       NGUYEN        LIEU                                               AL


                                                       NGUYEN        LIEU                                               AL


                                                       NGUYEN        LONG                                               AL


                                                       NGUYEN        LUAN                                               AL


                                                       NGUYEN        MAI                                                AL


                                                       NGUYEN        MICHAEL VAN                                        AL


                                                       NGUYEN        MINH                                               AL


                                                       NGUYEN        MINH KHAC                                          AL


                                                       NGUYEN        MINH TRI                                           AL


                                                       NGUYEN        MY                                                 AL


                                                       NGUYEN        MY AN                                              AL


                                                       NGUYEN        MY NGOC THI                                        AL


                                                       NGUYEN        MY THI                                             AL


                                                       NGUYEN        NGHI                                               AL


                                                       NGUYEN        NGHIA                                              AL


                                                       NGUYEN        NGUU                                               AL


                                                       NGUYEN        NGUYET                                             AL


                                                       NGUYEN        NHIEM THI                                          AL
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                                                       NGUYEN        PHONG                                              AL


                                                       NGUYEN        PHUOC                                              AL


                                                       NGUYEN        PHUOC                                              AL


                                                       NGUYEN        PHUONG                                             AL


                                                       NGUYEN        QUANG VAN                                          AL


                                                       NGUYEN        QUYEN                                              AL


                                                       NGUYEN        SON                                                AL


                                                       NGUYEN        THANH TRUC                                         AL


                                                       NGUYEN        THAO                                               AL


                                                       NGUYEN        THAO NGOC THI                                      AL
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                                                       NGUYEN        THIEN                                              AL


                                                       NGUYEN        THOMAS NGOC                                        AL


                                                       NGUYEN        THU                                                AL


                                                       NGUYEN        TIEN                                               AL


                                                       NGUYEN        TIM VAN                                            AL


                                                       Nguyen        To                                                 AL


                                                       NGUYEN        TOI VAN                                            AL


                                                       NGUYEN        TRIZZIE                                            AL


                                                       NGUYEN        TRUNG LY                                           AL


                                                       NGUYEN        TUNG VAN                                           AL


                                                       NGUYEN        TYSON                                              AL


                                                       NGUYEN        VICTORIA                                           AL


                                                       NGUYEN        VINH THE                                           AL


                                                       NGUYEN        VIT                                                AL


                                                       NGUYEN        VO DUONGSON                                        AL


                                                       NGUYEN        XUAN THI                                           AL


                                                       NGUYEN        Y                                                  AL


                                                       NGUYEN        AHN                                                CA


                                                       NGUYEN        LOC                                                CA


                                                       NGUYEN        TUAN HONG                                          CO


                                                       NGUYEN        KIM                                                FL


                                                       NGUYEN        RICHARD                                            FL


                                                       NGUYEN        VU                                                 FL


                                                       NGUYEN        XI                                                 LA


                                                       NGUYEN        DAT                                                MA


                                                       NGUYEN        MAI NUTHUY                                         MO


                                                       NGUYEN        ANH                                                MS
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                                                       NGUYEN        ANTHONY                                            MS


                                                       NGUYEN        CHAU                                               MS


                                                       NGUYEN        DIEN T                                             MS


                                                       NGUYEN        HUYNH QUOC                                         MS


                                                       NGUYEN        LOAN YEN                                           MS


                                                       NGUYEN        LUYEN                                              MS


                                                       NGUYEN        PHONG                                              MS


                                                       NGUYEN        THANH THI KIM                                      MS


                                                       NGUYEN        THAO                                               MS


                                                       NGUYEN        THUAN                                              MS
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                                                       NGUYEN        TONY                                               MS


                                                       NGUYEN        TUAN                                               MS


                                                       NGUYEN        TUE TRI                                            MS


                                                       NGUYEN        TUNG                                               MS


                                                       NGUYEN        AI                                                 TX


                                                       NGUYEN        ALEX                                               TX


                                                       NGUYEN        AN                                                 TX


                                                       NGUYEN        AN                                                 TX


                                                       NGUYEN        ANTHONY                                            TX


                                                       NGUYEN        BAC                                                TX


                                                       NGUYEN        BACH                                               TX


                                                       NGUYEN        BAY                                                TX


                                                       NGUYEN        BE                                                 TX


                                                       NGUYEN        BINH                                               TX


                                                       NGUYEN        CAN                                                TX


                                                       NGUYEN        CAN                                                TX


                                                       NGUYEN        CANG                                               TX


                                                       NGUYEN        CANH                                               TX


                                                       NGUYEN        CATHY                                              TX


                                                       NGUYEN        CHAM                                               TX


                                                       NGUYEN        CHAU                                               TX


                                                       NGUYEN        CHRISTOPHER                                        TX


                                                       NGUYEN        CHRISTOPHER                                        TX


                                                       NGUYEN        CHRISTY                                            TX


                                                       NGUYEN        COI VAN                                            TX


                                                       NGUYEN        COI VAN                                            TX


                                                       NGUYEN        CUONG VAN                                          TX
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                                                       NGUYEN        DANNY                                              TX


                                                       NGUYEN        DANNY                                              TX


                                                       NGUYEN        DAVID DEN                                          TX


                                                       NGUYEN        DAVID LONG                                         TX


                                                       NGUYEN        DE VAN                                             TX


                                                       NGUYEN        DEANNA THI                                         TX


                                                       NGUYEN        DENNIS                                             TX


                                                       NGUYEN        DIEM HANG                                          TX


                                                       NGUYEN        DINH                                               TX


                                                       NGUYEN        DONNY LINH                                         TX
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                                                       NGUYEN        DUC HUNG                                           TX


                                                       NGUYEN        DUC V                                              TX


                                                       NGUYEN        DUC VAN                                            TX


                                                       NGUYEN        DUC VAN                                            TX


                                                       NGUYEN        DUNG                                               TX


                                                       NGUYEN        DUNG BA                                            TX


                                                       NGUYEN        DUNG VAN                                           TX


                                                       Nguyen        Duong Kim                                          TX


                                                       NGUYEN        GAI                                                TX


                                                       NGUYEN        GEORGE C                                           TX


                                                       NGUYEN        GIANG HOA                                          TX


                                                       NGUYEN        GIANG QUOC                                         TX


                                                       NGUYEN        HA THANH                                           TX


                                                       NGUYEN        HAI                                                TX


                                                       NGUYEN        HAI PHI                                            TX


                                                       NGUYEN        HANH THI                                           TX


                                                       NGUYEN        HIEN THI                                           TX


                                                       NGUYEN        HIEN V                                             TX


                                                       NGUYEN        HIEU TRONG                                         TX


                                                       NGUYEN        HOA                                                TX


                                                       NGUYEN        HOA THI                                            TX


                                                       NGUYEN        HOAN THI                                           TX


                                                       NGUYEN        HOANG                                              TX


                                                       NGUYEN        HOANG DINH                                         TX


                                                       NGUYEN        HOI VAN                                            TX


                                                       NGUYEN        HONG THI                                           TX


                                                       NGUYEN        HONGEM THI                                         TX
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                                                       NGUYEN        HUE THI                                            TX


                                                       NGUYEN        HUE THI                                            TX


                                                       NGUYEN        HUNG                                               TX


                                                       NGUYEN        HUNG                                               TX


                                                       NGUYEN        HUNG JOSEPH                                        TX


                                                       NGUYEN        HUNG TAN                                           TX


                                                       NGUYEN        HUNG TIEN                                          TX


                                                       NGUYEN        HUONG THI                                          TX


                                                       NGUYEN        HUONG XUAN                                         TX


                                                       NGUYEN        JAMES                                              TX
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                                                       NGUYEN        JAMES BOND                                         TX


                                                       NGUYEN        JIMMY VAN                                          TX


                                                       NGUYEN        JOHNATHAN                                          TX


                                                       NGUYEN        JOHNNY                                             TX


                                                       NGUYEN        JULIE                                              TX


                                                       NGUYEN        KHANH                                              TX


                                                       NGUYEN        KHIEM                                              TX


                                                       NGUYEN        KHIET                                              TX


                                                       NGUYEN        KIA                                                TX


                                                       NGUYEN        KIM                                                TX


                                                       NGUYEN        KIM                                                TX


                                                       NGUYEN        KIM                                                TX


                                                       NGUYEN        KIM                                                TX


                                                       NGUYEN        KIM                                                TX


                                                       NGUYEN        LAI                                                TX


                                                       NGUYEN        LAM                                                TX


                                                       NGUYEN        LE HUYNH                                           TX


                                                       NGUYEN        LE MY                                              TX


                                                       Nguyen        Lenh                                               TX


                                                       NGUYEN        LIEN                                               TX


                                                       NGUYEN        LIEU                                               TX


                                                       NGUYEN        LINH                                               TX


                                                       NGUYEN        LOAN                                               TX


                                                       NGUYEN        LOC                                                TX


                                                       Nguyen        Loc Phi                                            TX


                                                       NGUYEN        LOI                                                TX


                                                       NGUYEN        LONG                                               TX
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                                                       Nguyen        Luan                                               TX


                                                       NGUYEN        LUONG                                              TX


                                                       NGUYEN        LUONG VAN                                          TX


                                                       NGUYEN        LUU                                                TX


                                                       NGUYEN        LY                                                 TX


                                                       NGUYEN        LYNN                                               TX


                                                       NGUYEN        MAE                                                TX


                                                       NGUYEN        MAI                                                TX


                                                       NGUYEN        MARIA                                              TX


                                                       NGUYEN        MARY                                               TX
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                                                       NGUYEN        MAU                                                TX


                                                       NGUYEN        MAXIE                                              TX


                                                       NGUYEN        MEN                                                TX


                                                       NGUYEN        MINH                                               TX


                                                       NGUYEN        MINH                                               TX


                                                       NGUYEN        MINH                                               TX


                                                       NGUYEN        MINH XUON                                          TX


                                                       Nguyen        Muoi                                               TX


                                                       NGUYEN        MYDUNG                                             TX


                                                       NGUYEN        MYLINH                                             TX


                                                       NGUYEN        NAM                                                TX


                                                       NGUYEN        NAM                                                TX


                                                       NGUYEN        NANCY                                              TX


                                                       NGUYEN        NGUYET                                             TX


                                                       NGUYEN        NINA                                               TX


                                                       NGUYEN        OLIVER                                             TX


                                                       NGUYEN        PAULINE NGOC                                       TX


                                                       NGUYEN        PHE                                                TX


                                                       NGUYEN        PHIEN                                              TX


                                                       NGUYEN        PHONG                                              TX


                                                       NGUYEN        PHUNG                                              TX


                                                       Nguyen        Phuong                                             TX


                                                       NGUYEN        PHUONG                                             TX


                                                       NGUYEN        QUANG                                              TX


                                                       NGUYEN        QUI                                                TX


                                                       NGUYEN        QUY                                                TX


                                                       NGUYEN        ROSA                                               TX
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                                                       NGUYEN        SANG                                               TX


                                                       NGUYEN        SANG                                               TX


                                                       Nguyen        Sau                                                TX


                                                       NGUYEN        SAU T                                              TX


                                                       NGUYEN        SI                                                 TX


                                                       NGUYEN        SON                                                TX


                                                       NGUYEN        STEVEN                                             TX


                                                       NGUYEN        TAI                                                TX


                                                       NGUYEN        TAM                                                TX


                                                       NGUYEN        TAM                                                TX
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                                                       NGUYEN        TAM                                                TX


                                                       NGUYEN        TAN NHAT                                           TX


                                                       NGUYEN        THAN                                               TX


                                                       NGUYEN        THANG                                              TX


                                                       NGUYEN        THANG                                              TX


                                                       NGUYEN        THANH                                              TX


                                                       NGUYEN        THANH                                              TX


                                                       NGUYEN        THANH                                              TX


                                                       NGUYEN        THANH                                              TX


                                                       NGUYEN        THANH                                              TX


                                                       NGUYEN        THANH THANH                                        TX


                                                       NGUYEN        THANH THANH                                        TX


                                                       NGUYEN        THAO                                               TX


                                                       Nguyen        Thao                                               TX


                                                       NGUYEN        THI                                                TX


                                                       NGUYEN        THI                                                TX


                                                       NGUYEN        THIEN                                              TX


                                                       NGUYEN        THU                                                TX


                                                       NGUYEN        THU                                                TX


                                                       NGUYEN        THU                                                TX


                                                       NGUYEN        THU HANG                                           TX


                                                       NGUYEN        THU HIEN                                           TX


                                                       NGUYEN        THUC                                               TX


                                                       NGUYEN        THUONG                                             TX


                                                       NGUYEN        THUY                                               TX


                                                       NGUYEN        THUY                                               TX


                                                       NGUYEN        THUYET                                             TX
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                                                       NGUYEN        TIFFANY                                            TX


                                                       NGUYEN        TINH                                               TX


                                                       NGUYEN        TONY                                               TX


                                                       NGUYEN        TONY                                               TX


                                                       NGUYEN        TONY                                               TX


                                                       NGUYEN        TONY                                               TX


                                                       NGUYEN        TRAM                                               TX


                                                       NGUYEN        TRANG                                              TX


                                                       NGUYEN        TRANG                                              TX


                                                       NGUYEN        TRANG                                              TX
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                                                       NGUYEN         TRANG                                              TX


                                                       NGUYEN         TRANG                                              TX


                                                       NGUYEN         TRANG                                              TX


                                                       NGUYEN         TRI                                                TX


                                                       NGUYEN         TRI                                                TX


                                                       NGUYEN         TRINH                                              TX


                                                       Nguyen         Truc                                               TX


                                                       NGUYEN         TRUNG                                              TX


                                                       NGUYEN         TRUONG                                             TX


                                                       NGUYEN         TUAN                                               TX


                                                       NGUYEN         TUAN                                               TX


                                                       NGUYEN         TUAN                                               TX


                                                       NGUYEN         TUAN                                               TX


                                                       NGUYEN         TUAN                                               TX


                                                       Nguyen         Tuoi Thi                                           TX


                                                       NGUYEN         TUONG VAN                                          TX


                                                       NGUYEN         TUY                                                TX


                                                       NGUYEN         TUYET HUONG THI                                    TX


                                                       NGUYEN         TUYET NGUNG                                        TX


                                                       NGUYEN         TUYET PHAM                                         TX


                                                       NGUYEN         TUYET SUONG                                        TX


                                                       NGUYEN         TUYET SUONG                                        TX


                                                       NGUYEN         TUYET THI KIM                                      TX


                                                       NGUYEN         TUYETNHI CINDY                                     TX


                                                       NGUYEN         VAN                                                TX


                                                       NGUYEN         VAN                                                TX


                                                       NGUYEN         VAN                                                TX
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                                                       NGUYEN         VAN                                                TX


                                                       NGUYEN         VAN                                                TX


                                                       NGUYEN         VANLOAN                                            TX


                                                       NGUYEN         VINH                                               TX


                                                       NGUYEN         XUAN                                               TX


                                                       NI             ZHI                                                AL


                                                       Nichols        Dangelo                                            AL


                                                       Nichols        Josh                                               AL


                                                       NICKELL        DOUGLAS                                            OH


                                                       NIETO          VILMA                                              TX
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                                                       Nikitina        Alla                                               AL


                                                       NINI            MAURICE                                            TX


                                                       NISHIDA         NATALIE                                            AL


                                                       Nix             Judson                                             AL


                                                       NIX             BELINDA                                            MS


                                                       Nobles          Thomas                                             TX


                                                       NOEL            BRYAN                                              AL


                                                       Nolan           Herman                                             AL


                                                       NOLAN           STANLEY                                            AL


                                                       Nolan           Shavon                                             MS


                                                       NOLAN           JAMAR                                              TN


                                                       NORMAN          JOHN                                               AL


                                                       Norman          Richard                                            AL


                                                       NORMAN          TODD                                               AL


                                                       Norris          Zagaileia                                          AL


                                                       NORVANG         KHAMMANY                                           AL


                                                       NORWOOD         MYRA                                               MS


                                                       NOU             SAROUM                                             AL


                                                       Novak           John                                               AL


                                                       NUNG            SOKHA                                              AL


                                                       NUON            DANNIE                                             AL


                                                       Nutbrown        John                                               AL


                                                       Nutter          Susan                                              AL


                                                       Oden            Loretter                                           MS


                                                       ODOM            JOSHUA                                             AL


                                                       OGARRO          SHANTERRICA                                        MS


                                                       OGDEN           MARK                                               AL
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                                                       OLISON          LINDA FAYE                                         AL


                                                       OLIVER          TOYAL                                              AL


                                                       OROZCO          MOISES                                             MS


                                                       ORTIZ           JUAN                                               TX


                                                       OSBORNE         BRENDA                                             MS


                                                       OSBORNE         JOHN                                               MS


                                                       OSBY            ANN                                                MS


                                                       OTTO            DAVID                                              AL


                                                       OUN             BONA                                               AL


                                                       OUN             BORY                                               AL
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                                                       OUN            BULA                                               AL


                                                       Outlaw         Calvin                                             MS


                                                       OVERALL        MICHELLE                                           TN


                                                       OVERING        RANDY                                              MS


                                                       OVERTON        SHIRLENA                                           AL


                                                       Owens          Andrea                                             AL


                                                       OWENS          ANTONIO                                            AL


                                                       Owens          Deanthony                                          AL


                                                       OWENS          GARY                                               AL


                                                       OWENS          JERRY                                              AL


                                                       OWENS          DAVID                                              MS


                                                       OWENS          TANYA                                              MS


                                                       OWENS          ALOMA                                              TN


                                                       OWES           CORNELIUS                                          AL


                                                       PACHECO        MEYRA                                              TX


                                                       PADGETT        DAVID                                              AL


                                                       PADUANO        MICHAEL                                            MS


                                                       Paige          Clarence                                           AL


                                                       PALMA          EDVIN                                              AL


                                                       Palmer         Charles                                            AL


                                                       PARADIS        KELLY                                              MS


                                                       PARIS          JAMES                                              MS


                                                       PARISH         KINARD                                             MS


                                                       Parker         Johnnie                                            AL


                                                       Parker         Johnnie                                            AL


                                                       PARKER         LAURINA                                            AL


                                                       PARKER         DANIEL                                             MS
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                                                       Parnell        Karl                                               AL


                                                       PASCHAL        ALICJA                                             MS


                                                       PATE           BINH THI                                           AL


                                                       PATE           EDWARD                                             AL


                                                       PATEL          SHAILESH                                           MS


                                                       Patrick        Tiarra                                             MS


                                                       Patrick        Tierra                                             MS


                                                       PATTERSON      JEROME                                             TN


                                                       Paulk          Timothy                                            AL


                                                       PAYNE          BALDWIN                                            AL
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                                                       PAYNE             CORNELIUS                                          AL


                                                       Payton            Gregory                                            MS


                                                       Payton            Shemika                                            MS


                                                       Peairs            Joshua                                             MS


                                                       Pearson           Gigada                                             AL


                                                       PEARSON           ROXIE                                              AL


                                                       PELFREY           CARLO                                              MS


                                                       Pelt              Andy                                               MI


                                                       PENA              JORGE                                              TX


                                                       Pender            LaKenya                                            AL


                                                       Pennington        George                                             AL


                                                       Perera            Ishan                                              AL


                                                       Perez             Cynthia                                            TX


                                                       PEREZ             FERNANDO                                           TX


                                                       Perine            Tiata                                              AL


                                                       Perine            Tiata                                              AL


                                                       Perkins           Willie                                             MS


                                                       perkins           Justin                                             TX


                                                       Perrin            Watson                                             MS


                                                       PERRONNE          JARRED                                             MS


                                                       Perry             Rapheal                                            MS


                                                       Perry             Shawn                                              TX


                                                       Pesce             Tucker                                             CT


                                                       PETATAN           RAUL                                               AL


                                                       PETER             ALEX                                               AL


                                                       Petross           Kimberley                                          TX


                                                       PETTAWAY          GLADYS                                             AL
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                                                       PETTWAY           APRIL ANNICE                                       AL


                                                       PETTWAY           CARLISSA                                           AL


                                                       PETTWAY           JALISA                                             AL


                                                       Pettway           Nnekka                                             AL


                                                       Pettway           Tena                                               AL


                                                       Pettway           Truneir                                            AL


                                                       Pettway           Tyrone                                             AL


                                                       PETTWAY BUNN      MELISSA                                            AL


                                                       Pfaff             Ray                                                AL


                                                       PHAM              BACH                                               AL
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                                                       PHAM        BIEU VAN                                           AL


                                                       PHAM        CAM                                                AL


                                                       PHAM        DHUE DINH                                          AL


                                                       PHAM        DOAN TRANG                                         AL


                                                       PHAM        HUYEN                                              AL


                                                       PHAM        KIMBERLY                                           AL


                                                       PHAM        LE                                                 AL


                                                       PHAM        MONG                                               AL


                                                       PHAM        NGOC DUNG THI                                      AL


                                                       PHAM        NHAN                                               AL


                                                       PHAM        PHONG                                              AL


                                                       PHAM        PHONG                                              AL


                                                       PHAM        SONNY THANH                                        AL


                                                       PHAM        TAM                                                AL


                                                       PHAM        THANH                                              AL


                                                       PHAM        TIEN THUY                                          AL


                                                       PHAM        TONG                                               AL


                                                       PHAM        TRUC                                               AL


                                                       PHAM        THUY                                               FL


                                                       PHAM        CATHY                                              MS


                                                       PHAM        ANH QUOC                                           TX


                                                       PHAM        ANHTUYET                                           TX


                                                       Pham        Be                                                 TX


                                                       PHAM        BICH                                               TX


                                                       PHAM        BON                                                TX


                                                       PHAM        BRIAN                                              TX


                                                       PHAM        CHUONG                                             TX
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                                                       Pham        Cong                                               TX


                                                       PHAM        CONG                                               TX


                                                       PHAM        COOLIO                                             TX


                                                       PHAM        CUONG                                              TX


                                                       PHAM        CUONG                                              TX


                                                       PHAM        DAI                                                TX


                                                       PHAM        DANG                                               TX


                                                       PHAM        DANG                                               TX


                                                       PHAM        DANH                                               TX


                                                       PHAM        DANH                                               TX
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                                                       PHAM        DIEU                                               TX


                                                       PHAM        DUNG ANH                                           TX


                                                       Pham        Duy                                                TX


                                                       PHAM        DUY                                                TX


                                                       PHAM        HA                                                 TX


                                                       PHAM        HENRY                                              TX


                                                       PHAM        HIEN                                               TX


                                                       PHAM        HIEU                                               TX


                                                       PHAM        HIEU                                               TX


                                                       PHAM        HOA                                                TX


                                                       Pham        Hoan                                               TX


                                                       PHAM        HONG                                               TX


                                                       PHAM        HONG                                               TX


                                                       PHAM        HUONG                                              TX


                                                       PHAM        JENNIE                                             TX


                                                       PHAM        JESSICA                                            TX


                                                       PHAM        JOHNNY                                             TX


                                                       Pham        Joseph                                             TX


                                                       PHAM        KAREN                                              TX


                                                       PHAM        KIEM                                               TX


                                                       PHAM        LAN                                                TX


                                                       PHAM        LAURA LINH                                         TX


                                                       PHAM        LIEN                                               TX


                                                       PHAM        LOC                                                TX


                                                       PHAM        NANCY                                              TX


                                                       PHAM        NGOC                                               TX


                                                       PHAM        NGUYEN                                             TX
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                                                       PHAM        PHUNG                                              TX


                                                       PHAM        PHUONG                                             TX


                                                       PHAM        PHUONG                                             TX


                                                       PHAM        QUA                                                TX


                                                       PHAM        QUY                                                TX


                                                       PHAM        RANH                                               TX


                                                       PHAM        RICH                                               TX


                                                       PHAM        RIEN                                               TX


                                                       PHAM        RYAN                                               TX


                                                       PHAM        SAMSON                                             TX
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                                                       PHAM        STEVE                                              TX


                                                       PHAM        THANH                                              TX


                                                       PHAM        THERESE                                            TX


                                                       PHAM        THO                                                TX


                                                       PHAM        THU                                                TX


                                                       PHAM        THU                                                TX


                                                       PHAM        THU HONG                                           TX


                                                       PHAM        THUY                                               TX


                                                       PHAM        TIEP                                               TX


                                                       PHAM        TOMMY                                              TX


                                                       PHAM        TONY                                               TX


                                                       PHAM        TRACIE                                             TX


                                                       PHAM        TRAN                                               TX


                                                       PHAM        TRANG                                              TX


                                                       PHAM        TRANG                                              TX


                                                       PHAM        TRUONG                                             TX


                                                       PHAM        TUAN                                               TX


                                                       Pham        Tuyen                                              TX


                                                       PHAM        XUNG                                               TX


                                                       PHAM        XUNG                                               TX


                                                       PHAM        XUYEN                                              TX


                                                       PHAN        ANH                                                AL


                                                       PHAN        BACH TUYET THI                                     AL


                                                       PHAN        BE THI                                             AL


                                                       PHAN        CHANH VAN                                          AL


                                                       PHAN        CONG                                               AL


                                                       PHAN        NGAN THUY TRAN                                     AL
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                                                       PHAN        NGOC THANH THI                                     AL


                                                       PHAN        THANG QUANG                                        AL


                                                       PHAN        THANH VAN                                          AL


                                                       PHAN        THUY THI                                           AL


                                                       PHAN        TUAN                                               AL


                                                       PHAN        AN                                                 TX


                                                       Phan        Binh                                               TX


                                                       PHAN        DUNG                                               TX


                                                       PHAN        LE                                                 TX


                                                       PHAN        MINH                                               TX
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                                                       PHAN             THANH                                              TX


                                                       PHAN             THANH                                              TX


                                                       Phan             Thu                                                TX


                                                       Phan             Thu                                                TX


                                                       PHAN             NGOC KIEU THI                                      AL


                                                       PHARR            TAMIKA                                             AL


                                                       PHASAY           SYAMPHONE                                          AL


                                                       PHAVONGSA        PHOUVANH                                           AL


                                                       Phillips         Declante                                           AL


                                                       PHILLIPS         LATTIMORE                                          MS


                                                       PHILLIPS         CHRISTOPHER                                        TX


                                                       Philon           Karteshia                                          AL


                                                       PHOEUN           THU                                                TX


                                                       PHOMHOM          SAENG                                              AL


                                                       PHOUTPHONG       VANNAVONG                                          AL


                                                       PHUNG            NHI                                                TX


                                                       PIAZZA           MAKENZIE                                           MS


                                                       Pickens          Katina                                             AL


                                                       PICKETT          TRACY                                              AL


                                                       PICKETT          MARY                                               MS


                                                       PIERCE           BLEU                                               AL


                                                       Pierce           Kelly                                              FL


                                                       Piggs            James                                              MS


                                                       Pineda           Mary                                               MS


                                                       PIPKINS          WILLIAM                                            MS


                                                       PITRE            ADRIEN                                             TX


                                                       PITTMAN          ELIJAH                                             MS
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                                                       Pitts            Jonathan                                           MS


                                                       Place            Scott                                              AL


                                                       PLEASANTS        GARY                                               FL


                                                       POMEROY          WILLIAM                                            PA


                                                       PONCE            GENARO                                             AL


                                                       POOL             ABEC                                               MS


                                                       POPE             CURTIS                                             AL


                                                       POPE             DAVID                                              AL


                                                       POPE             TIM                                                MS


                                                       Popovich         Douglas                                            CT
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                                                       Porter             Clarence                                         AL


                                                       Porter             Eshan                                            AL


                                                       Porter             Frank                                            AL


                                                       Porter             Tacarro                                          MS


                                                       PORTIER            WILLIAM                                          TX


                                                       PORTILLO-SALAZAR   RODRIGO                                          AL


                                                       Portlock           Adrian                                           AL


                                                       Portlock           Orenthia                                         AL


                                                       POTTER             AMOS                                             AL


                                                       POTTWAY            ADRIANNE                                         AL


                                                       Powe               Kenya                                            AL


                                                       POWE               MAJOR                                            AL


                                                       Powe               Sean                                             AL


                                                       POWE               AMANDA                                           MS


                                                       POWE               JOYCE                                            MS


                                                       POWELL             JENNINGS                                         AL


                                                       POWELL             SUSIE                                            AL


                                                       POWELL             SIDNEY                                           MO


                                                       Powell             Joseph                                           MS


                                                       POWERS             MARY                                             AL


                                                       PRESLEY            PALESTINE                                        MS


                                                       Price              Tkimalisa                                        AL


                                                       PRICE              ERIC                                             MS


                                                       Price              SONJA                                            MS


                                                       PRIDE              DEREK                                            MS


                                                       PRIM               JAMIE                                            AL


                                                       PRINCE             DYNNIE                                           AL
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                                                       PRITCHETT          IZELLA                                           AL


                                                       PRITCHETT          LAWANDA                                          AL


                                                       PROKOPOVICH        PAUL                                             VA


                                                       PRUITT             EDWARD                                           AL


                                                       PRUITT             JASON                                            MS


                                                       PRUM               DAVID                                            AL


                                                       PRUNEDA            ISRAEL                                           TX


                                                       Pugh               Paublo                                           MS


                                                       PULLIAM            DAVID MARTIN                                     AL


                                                       Purvines           Jonathan                                         MS
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                                                       QUACH             KIM CHI                                            AL


                                                       QUACH             QUANG                                              TX


                                                       QUACH             QUANG                                              TX


                                                       Quach             Thi                                                TX


                                                       Quach             Thi                                                TX


                                                       QUALLS            LUCY                                               SC


                                                       QUIBODEAUX        JAMES                                              TX


                                                       Quinn             John                                               MS


                                                       QUINN             CHARLES                                            TX


                                                       QUINNE            ASHLEY                                             AL


                                                       RAIFORD           TONY                                               MS


                                                       RAINEY            DANTA                                              MS


                                                       RAINEY            DEREK                                              MS


                                                       Rajabi-Mugadam    Oleg                                               AL


                                                       Ramey             Charles                                            MS


                                                       RAMIREZ           ANGEL                                              TX


                                                       RAMIREZ           JONATHAN                                           TX


                                                       RAMIREZ           MARIA                                              TX


                                                       RAMIREZ           REYES                                              TX


                                                       Ramon             John                                               MS


                                                       Ramos             Abel                                               TX


                                                       Ramsey            Gayle                                              MS


                                                       Rand              Darrel                                             AL


                                                       RANDOLPH          RICHARD                                            GA


                                                       RANEY             JAMIE                                              AL


                                                       RANGEL            BENJAMIN                                           AL


                                                       Rankin            Lonnie                                             AL
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                                                       Rankin            Niki                                               MS


                                                       RANKINS           STEPHANIE                                          AL


                                                       Ransom            Willie                                             AL


                                                       RANSON            MAERINE                                            MS


                                                       RA-SHEEM-I        RAS                                                MS


                                                       RATLIFF           DAVID                                              MS


                                                       Ray               Bryan                                              TX


                                                       Ray               Craig                                              TX


                                                       Ray               Craig                                              TX


                                                       RAY               JERRETT                                            TX
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                                                       RAYBON            CRAIG                                              MS


                                                       Rayborn           Walter                                             AL


                                                       Raymond           Helen                                              AL


                                                       Raymond           Willie                                             AL


                                                       Raymond           Christopher                                        MS


                                                       RAYMOND           DANIEL                                             MS


                                                       RAYO              IGNACIA                                            TX


                                                       REA               CHRIS                                              MS


                                                       Recio             Steve                                              TX


                                                       REDDINGTON        DONALD                                             KY


                                                       REED              ERIC                                               AL


                                                       REED              KIM                                                AL


                                                       Reed              Kim                                                AL


                                                       REED              LUTHER                                             AL


                                                       Reed              Tonya                                              AL


                                                       Reed              Marlon                                             MS


                                                       REEDER            EDNA                                               MS


                                                       REESE             CHASSIDY                                           MS


                                                       REEVES            KAREN                                              AL


                                                       Reeves            Michael                                            AL


                                                       REEVES            JOHN                                               MS


                                                       Reeves            Jeffrey                                            TX


                                                       Reid              Jasmine                                            AL


                                                       Reid              Juanita                                            AL


                                                       Reid              Latisha                                            AL


                                                       Rembert           Jeffie                                             AL


                                                       Rembert           Latoya                                             AL
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                                                       Rembert           Shirlandra                                         AL


                                                       RENNER            TILMAN                                             MA


                                                       Resch             Daniel                                             MS


                                                       Resweber          Eugene                                             TX


                                                       REYES             JOSE                                               AL


                                                       REYNOLDS          BRITTANY                                           AL


                                                       REYNOLDS          SAMUEL                                             AL


                                                       RIAL              LORI                                               TN


                                                       RICHARDS          DONALD                                             TN


                                                       Richardson        Alicia                                             AL
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                                                       RICHARDSON        ANTHONY                                            AL


                                                       Richardson        Randolph                                           AL


                                                       Richardson        Mary                                               MS


                                                       Richardson        Zeth                                               MS


                                                       RICHIE            PHYLLIS                                            AL


                                                       RICHMOND          CHARLES                                            AL


                                                       Rideout           Kenneth                                            AL


                                                       Riels             Sherry                                             AL


                                                       RIGSBY            BARBARA                                            AL


                                                       Rigsby            Antonio                                            MS


                                                       Ringsley          Willie                                             MS


                                                       RIOS-BARAJAS      LEODACARIO                                         AL


                                                       RIVERA            KENNETH                                            MS


                                                       RIVERA            LUIS                                               MS


                                                       RIVERA            EDGARDO                                            TX


                                                       RIVERA            PEDRO                                              TX


                                                       Rivera            Raymond                                            TX


                                                       RIVERS            EDDIE                                              AL


                                                       RIZZO             PHILLIP                                            MS


                                                       Robbins           Deuntray                                           AL


                                                       Robbins           Steven                                             TX


                                                       Roberson          Keith                                              MS


                                                       Roberts           Chastity                                           AL


                                                       Roberts           Barbara                                            MS


                                                       ROBERTS           BECKIE                                             MS


                                                       Roberts           Deidra                                             MS


                                                       ROBERTS           DENICE                                             MS
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                                                       ROBERTSON         MARY                                               AL


                                                       Robertson         Kelvin                                             MS


                                                       ROBERTSON         SANDRA                                             MS


                                                       Robinson          Bennie                                             AL


                                                       Robinson          Linda                                              AL


                                                       Robinson          Marcus                                             AL


                                                       ROBINSON          OTIS                                               AL


                                                       ROBINSON          VIOLET                                             AL


                                                       Robinson          Yolanda                                            GA


                                                       ROBINSON          JUSTIN                                             MO
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                                                       Robinson         Lee                                                MS


                                                       ROBINSON         RUSSELL                                            TX


                                                       RODGERS          RYAN                                               AL


                                                       RODGERS          PHILIP                                             MS


                                                       RODGERS          VICKY                                              MS


                                                       RODRIGUE         KEITH                                              MS


                                                       Rodriguez        Angel                                              AL


                                                       RODRIGUEZ        ANHKIET                                            AL


                                                       RODRIGUEZ        HOLLY                                              AL


                                                       RODRIGUEZ        FERNANDO                                           MS


                                                       Rodriguez        Francisco                                          TX


                                                       RODRIGUEZ        JOSE                                               TX


                                                       RODRIGUEZ        NELSON                                             TX


                                                       RODRIGUEZ        SAMUEL                                             TX


                                                       Rogers           Adrienne                                           MS


                                                       ROGERS           NETIA                                              MS


                                                       ROGERS           ROBERT                                             MS


                                                       ROJAS            MARIA                                              TX


                                                       RONE             PAULA                                              TN


                                                       ROSS             CARLTON                                            AL


                                                       ROSS             KEVIN                                              AL


                                                       Rothe            Joshua                                             MS


                                                       Rothman          Magnus                                             AR


                                                       ROTHSCHILD       ANGELA                                             AL


                                                       Rouse            Antonio                                            GA


                                                       ROWELL           DOROTHY                                            MS


                                                       ROYAL            BETTY WRIGHT                                       AL
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                                                       ROYAL            ERVIN                                              AL


                                                       ROYSTER          PATRICIA                                           MS


                                                       RUBIO            JOSE                                               MS


                                                       RUCKER           SHIRLEY                                            MS


                                                       RUDDELL          JOAN                                               MS


                                                       Rudolph          Trista                                             AL


                                                       RUDULPH          JOHN                                               AL


                                                       RUGG             ROGER                                              MS


                                                       RUGGS            ARTHUR                                             AL


                                                       RUGGS            ASHLEY                                             AL
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                                                       Ruiz              Lilia                                              AL


                                                       RUIZ              JOSE                                               TX


                                                       Russell           Ida                                                AL


                                                       RUSSELL           SHANTA                                             AL


                                                       Russell           Rex                                                MS


                                                       Rutland           Gary                                               KS


                                                       Ryder             Ellisa                                             MS


                                                       Sabella           Robert                                             MS


                                                       SACHS             DAVID                                              MS


                                                       Safford           Jamecia                                            AL


                                                       SAGER             JULIUS                                             CA


                                                       SALAS             MARTIN                                             TX


                                                       SALAS JR          RICARDO                                            MS


                                                       SALAZAR           JOSUE ELIAZ                                        AL


                                                       SALAZAR           JUAN                                               TX


                                                       SALAZAR           MARIO                                              TX


                                                       SALAZAR           MARTHA                                             TX


                                                       SALDIVAR          CARLOS                                             TX


                                                       SALDIVAR          CARLOS                                             TX


                                                       SALGADO           STEVEN                                             TX


                                                       SALIFOU           AGNES                                              AL


                                                       SALINAS           CARLOS                                             AL


                                                       SALINAS           DONAY                                              AL


                                                       SALINAS           LIZANDRO                                           TX


                                                       Salinas           Tirso                                              TX


                                                       Salley            Sanford                                            AL


                                                       Salmon            Joe                                                MS
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                                                       SAMPLE            CAROLYN                                            MS


                                                       SAMPSON           JUANDA                                             AL


                                                       SANCHEZ           MATILDE                                            TX


                                                       SANDERS           JAMES                                              AL


                                                       Sanders           Lynesha                                            AR


                                                       SANDERS           AZALEA                                             MS


                                                       SANDERS           BETTY                                              MS


                                                       Sank              Gerrard                                            AL


                                                       Santamaria        Harmodio                                           MS


                                                       SANTILLANA        SANDRA                                             TX
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                                                       SANTOYO           RIGOBERTO                                          TX


                                                       Sapp              Tiki                                               GA


                                                       SARR              AMADOU                                             TN


                                                       Sartin            Charles                                            TX


                                                       Sartin            Charles                                            TX


                                                       SASSER            CHRISTOPHER                                        AL


                                                       SAUCIER           JAMECYA                                            CA


                                                       Saucier           Kasandra                                           MS


                                                       SAUNEE            FRANK                                              AL


                                                       Savage            Jeanette                                           AL


                                                       Savage            John                                               TX


                                                       Saxon             John                                               AL


                                                       SAY               SARON                                              AL


                                                       SAYBE             CHRISTINA                                          AL


                                                       SCALONE           ROCCO                                              GA


                                                       SCARBROUGH        MELVIN                                             MS


                                                       Scarlett          Chennette                                          MS


                                                       Schill            Joanna                                             MS


                                                       Schnitzler        Dan                                                MS


                                                       SCHULTZ           JAMES                                              AL


                                                       Schultz           Timothy                                            MS


                                                       SCHULZ            BURGESS                                            AL


                                                       SCHULZ            DIANE                                              AL


                                                       SCOTT             ERIC                                               AL


                                                       SCOTT             JEROME                                             AL


                                                       Scott             Leon                                               AL


                                                       SCOTT             SHAVELL                                            AL
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                                                       Scott             Tangie                                             AL


                                                       SCOTT             FREDRICK AND DORIS                                 MS


                                                       SCOTT             JAMES                                              MS


                                                       SCOTT             KENDRA                                             MS


                                                       SCOTT             NAKEVIA                                            MS


                                                       SEALES            LATANYA                                            MS


                                                       SEALLY            JAMES                                              AL


                                                       Seals             Glenn                                              AL


                                                       SEDDLE            KIMBERLY DIANE                                     TN


                                                       SELDON            DELORIA                                            MS
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                                                       Sellers          Monica                                             AL


                                                       SELLERS          JARVIS                                             MS


                                                       SENASY           RAMY                                               AL


                                                       SENASY           SOMBOUN                                            AL


                                                       SENGSOUK         TIMOTHY                                            AL


                                                       Sewer            Cedric                                             AL


                                                       SEWER            ROSANNA                                            AL


                                                       SEYMOUR          ALLEN                                              AL


                                                       SEYMOUR          LILLY                                              MS


                                                       SHACKELFORD      TERRY                                              AL


                                                       Shade            Tammy                                              MS


                                                       Shakur           Tariq                                              AL


                                                       SHARAF           FLORENCE                                           MS


                                                       SHARAF           MARWAN                                             MS


                                                       SHARP            SHAMARO                                            AL


                                                       SHARPE           KENNETH                                            AL


                                                       SHAVERS          MARGARET                                           MS


                                                       Shaw             Kelvin                                             AL


                                                       Shaw             Terrill                                            AL


                                                       SHAW             CHARLES                                            MS


                                                       SHAW             ELIZABETH                                          MS


                                                       Sheffield        Cathy                                              AL


                                                       SHEFFIELD        CRYSTAL                                            AL


                                                       Shelton          Jennifer                                           GA


                                                       Shelton          Michael                                            TX


                                                       SHIFFLETT        JODY                                               LA


                                                       SHIPP            OCTARVIA                                           MS
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                                                       SHIRLEY          DELROY                                             MS


                                                       Shiyou           Steven                                             MS


                                                       SHOWN            STEPHEN                                            CA


                                                       SHUTT            JAMES                                              AL


                                                       Sibley           Leonard                                            MS


                                                       Siemiontkowski   Anthony                                            MS


                                                       SILVA            JUAN                                               AL


                                                       SILVINO          MIGUEL                                             MS


                                                       SIMMONS          EDDIE                                              AL


                                                       SIMMONS          JOHN                                               AL
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                                                       Simmons          Timothy                                            AL


                                                       Simmons          Daisy                                              MS


                                                       Simon            Sammie                                             AL


                                                       SIMONS           RODERICK                                           AL


                                                       SIMPSON          IONE                                               MS


                                                       SIMPSON          TRAVIS                                             MS


                                                       SIMS             MICHAEL                                            AL


                                                       SIMS             ANGELA                                             MS


                                                       Singleton        Elaine                                             AL


                                                       SINGLETON        JOJUANA                                            AL


                                                       SINGTHONG        NINGNONG                                           AL


                                                       SKIDMORE         JUSTIN                                             AL


                                                       SKINNER          SHANE                                              AL


                                                       Slay             Carolyn                                            AL


                                                       SMILEY           DELORIS                                            AL


                                                       Smiley           Shanita                                            AL


                                                       Smith            Adrian                                             AL


                                                       Smith            Andrea                                             AL


                                                       Smith            Brenda                                             AL


                                                       Smith            Brendia                                            AL


                                                       SMITH            BRITNEY                                            AL


                                                       SMITH            CHRISTOPHER                                        AL


                                                       Smith            Cynthia                                            AL


                                                       SMITH            JAMES                                              AL


                                                       Smith            Jessica                                            AL


                                                       SMITH            JONATHAN                                           AL


                                                       SMITH            JOSEPH                                             AL
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                                                       Smith            Lekrisha                                           AL


                                                       Smith            Patricia                                           AL


                                                       SMITH            RICHARD                                            AL


                                                       Smith            Ricky                                              AL


                                                       SMITH            SHAMIA                                             AL


                                                       Smith            Vanessa                                            AL


                                                       SMITH            SAM                                                AR


                                                       SMITH            FRANCIS                                            FL


                                                       Smith            Dennis                                             GA


                                                       Smith            Alton                                              MS
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                                                       SMITH            DARLENE                                            MS


                                                       SMITH            DARRELL                                            MS


                                                       SMITH            JASON                                              MS


                                                       Smith            Jeffrey                                            MS


                                                       Smith            Jeffrey                                            MS


                                                       Smith            Letha                                              MS


                                                       SMITH            LOLITA                                             MS


                                                       SMITH            MARCUS                                             MS


                                                       Smith            Mindy                                              MS


                                                       SMITH            SHERI                                              MS


                                                       SMITH            TAMAKUS                                            MS


                                                       Smith            Toni                                               MS


                                                       Smith            Wilbert                                            MS


                                                       SMITH            WILLIAM                                            MS


                                                       SMITH            DEIDRE                                             OK


                                                       SMITH            PATRICK                                            TN


                                                       SMITH            ROZINA                                             TN


                                                       SMITH            TIMOTHY                                            TN


                                                       SMOCK            STUART                                             AL


                                                       SMOLCICH         VINCENT                                            MS


                                                       SMULLEN          GREGORY                                            AL


                                                       SMYTH            DOUGLAS                                            AL


                                                       SNOWDEN          COLLEEN                                            AL


                                                       SNYDER JR        ELI                                                MS


                                                       SOK              NANCY                                              TX


                                                       SOLLENBERGER     GARY                                               PA


                                                       SON              TAM THANH                                          AL
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                                                       SORIANO          JOSE                                               TX


                                                       SOSA             ALLAN                                              TX


                                                       SOSA             MISAEL                                             WA


                                                       SOUTHALL         TONY                                               AL


                                                       SOUVONG          HANG                                               AL


                                                       SOUVONG          THONGNAN                                           AL


                                                       SOW              ADAMA                                              TN


                                                       SPARKS           ZANDRA                                             MS


                                                       SPARROW          JEAN                                               MS


                                                       SPEARS           CHRISTOPHER                                        TX
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                                                       SPEARS             RONNIE                                             TX


                                                       SPENCER            JOSEPH                                             AL


                                                       SPENCER            SHANTEL                                            AL


                                                       SPENCER            SHAWN                                              AL


                                                       SPENCER            SHELLIE                                            AL


                                                       SPENCER            TIMMIE                                             AL


                                                       Squire             Shameka                                            AL


                                                       SRIHANOUVONG       KETSANY                                            AL


                                                       St. Germain        Steve                                              AL


                                                       Stacey             Kristen                                            AL


                                                       Stacy              Doris                                              AL


                                                       Stagner            Brad                                               AL


                                                       STALLWORTH         SETH                                               AL


                                                       Stallworth         Teleshia                                           AL


                                                       Stallworth         Eli                                                MS


                                                       Stallworth         Vera                                               MS


                                                       STANLEY            ARTAZ                                              MS


                                                       STANSBERRY         JOHNNYE                                            MS


                                                       STANTON            DONIUES                                            AL


                                                       Stanton            Tiffany                                            AL


                                                       STAPLES            ELIZABETH                                          MS


                                                       STARKS             CURTIS                                             MS


                                                       STEEL              VERDELL                                            AR


                                                       Steele             Felicia                                            AL


                                                       STEELE             SANDY                                              AL


                                                       Steele             Latisha                                            MS


                                                       STEINER            BOBBY JOSEPH                                       AL
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                                                       STEINER            JOHN HENRY                                         AL


                                                       STEINER            WINSTON                                            AL


                                                       STELLY             KENNARD                                            TX


                                                       Stephens           Eugene                                             AL


                                                       Stephens           Henry                                              AL


                                                       STEPHENS           STEPHANIE                                          GA


                                                       STEPHENSON         TAMARA                                             MS


                                                       STEVENS            TAMMY                                              AL


                                                       STEVENSON          ALISHA                                             MS


                                                       STEVENSON          ANNIE                                              MS
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                                                       Stevenson         George                                             MS


                                                       Stevenson         David                                              NY


                                                       STEVERSON         JENNIFER                                           MS


                                                       Stewart           Erica                                              AL


                                                       Stewart           Jahala                                             AL


                                                       STEWART           ALFREDA                                            MS


                                                       STEWART           DORIS                                              MS


                                                       STIMMEL           JULIE                                              TX


                                                       STINSON           WILLIAM                                            GA


                                                       STOKES            MARY                                               AR


                                                       Stokes            Linda                                              MS


                                                       Stokes            William                                            MS


                                                       Stone             Sara                                               CA


                                                       Stone             Stephen                                            CA


                                                       STOPPELLO         MARIO                                              ID


                                                       STOVALL           ARTARIVIA                                          AL


                                                       STOVALL           KIMBERLY                                           AL


                                                       Stovall           Sedgwick                                           AL


                                                       STOVALL           BARBARA                                            MS


                                                       STOVALL           KYLE                                               MS


                                                       STOVALL           STEVEN                                             MS


                                                       STOVALL           WALTER                                             MS


                                                       Strakos           Timothy                                            TX


                                                       STRICKLAND        JOSEPH                                             MS


                                                       Strickland        Laura                                              MS


                                                       STRINGER          HELEN                                              TN


                                                       STRINGFIELD       STEPHANIE                                          MS
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                                                       STROHM            JONATHAN                                           MS


                                                       Strong            Jeff                                               MS


                                                       STUKEY JR         GEORGE                                             TX


                                                       Styczenski        April                                              MS


                                                       Suggs             Ronald                                             AL


                                                       Sullivan          Theresa                                            AL


                                                       SULLIVAN          BRADD                                              MS


                                                       SULLIVAN          JANICE                                             MS


                                                       SULLIVAN          TERENCE                                            MS


                                                       Summers           Andrae                                             MS
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                                                       Sumrall          Charles                                            AL


                                                       SUON             ROUMORNG                                           AL


                                                       SUON             YARAN                                              AL


                                                       SUTERS           MICHAEL                                            AL


                                                       Switzer          Karin                                              MS


                                                       SYBOUTLAN        CAROL                                              TX


                                                       SYKES            EDWARD                                             AL


                                                       SYKES            BARBARA                                            AR


                                                       TA               THUAN                                              TX


                                                       TADLOCK JR       KENNETH                                            KS


                                                       TAGUE            TAMMIE                                             MS


                                                       TALBERT          GARY                                               AL


                                                       Tameev           Varis                                              MS


                                                       TANG             THANH LAI                                          AL


                                                       TANG             YEN                                                AL


                                                       TANNER           LINDA                                              AL


                                                       TARPLEY          TONYA                                              GA


                                                       Tate             Desmar                                             AL


                                                       Tate             Floyd                                              AL


                                                       Tate             Frederick                                          AL


                                                       TATE             STEPHEN                                            AL


                                                       TATE             DAVID                                              TN


                                                       TATUM            IVIN                                               MS


                                                       TATUM            PAUL                                               MS


                                                       TATUM            PAULA                                              MS


                                                       TAYLOR           ALFREDA                                            AL


                                                       Taylor           Kemichelle                                         AL
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                                                       Taylor           Leigh                                              AL


                                                       TAYLOR           LISA                                               AL


                                                       Taylor           Pamlea                                             AL


                                                       TAYLOR           EDDIE                                              GA


                                                       TAYLOR           KIMBERLY                                           MS


                                                       TAYLOR           LASHAUNTA                                          MS


                                                       TAYLOR           MARSHA                                             MS


                                                       Taylor           Paul                                               MS


                                                       TAYLOR           TIFFANY                                            MS


                                                       Taylor           Valanda                                            MS
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                                                       Taylor         Joshua                                             OH


                                                       Taylor         Carlos                                             TX


                                                       TE             POLENG                                             AL


                                                       TERRY          GINGER                                             MS


                                                       Terry          Jamon                                              MS


                                                       TERRY          JONATHAN                                           MS


                                                       THACH          HUNG                                               AL


                                                       THACH          KAREN                                              AL


                                                       THACH          PHAT                                               AL


                                                       THACH          SOPHIA                                             AL


                                                       THAI           MINH                                               TX


                                                       Theriot        Tonga                                              MS


                                                       THI            LA MI                                              TX


                                                       THI HO         PHUONG                                             AL


                                                       THI LE         JOHNNY                                             AL


                                                       THI VO         HOA XUAN                                           AL


                                                       THIGPEN        HANABLE                                            AL


                                                       Thomas         Beverly                                            AL


                                                       Thomas         Brandy                                             AL


                                                       Thomas         Byron                                              AL


                                                       Thomas         Chelsea                                            AL


                                                       Thomas         Christopher                                        AL


                                                       Thomas         Clarence                                           AL


                                                       Thomas         Jason                                              AL


                                                       Thomas         Kenneth                                            AL


                                                       Thomas         Tynisha                                            AL


                                                       Thomas         Justin                                             GA
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                                                       THOMAS         BARBRA                                             MS


                                                       THOMAS         CARL                                               MS


                                                       THOMAS         CHRISTOPHER                                        MS


                                                       THOMAS         EMMER                                              MS


                                                       THOMAS         ERICA                                              MS


                                                       THOMAS         GABRIELLE                                          MS


                                                       THOMAS         LATRICIA                                           MS


                                                       THOMAS         REUBEN                                             MS


                                                       THOMAS         SANDY                                              MS


                                                       Thomas         Steven                                             MS
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                                                       THOMAS          TONYA                                              MS


                                                       THOMAS          WYATT                                              MS


                                                       Thompson        Solomon                                            AL


                                                       Thompson        Ralph                                              GA


                                                       THOMPSON        BARBARA                                            MS


                                                       THOMPSON        CLAIBORNE                                          MS


                                                       Thompson        Cory                                               MS


                                                       Thompson        Curtis                                             MS


                                                       THOMPSON        JOE                                                MS


                                                       THOMPSON        ALLEN                                              TX


                                                       THOMSON         KELVIN                                             AL


                                                       THURMAN         DERRICK                                            MS


                                                       TIET            LONG                                               AL


                                                       TIET            VIEN                                               AL


                                                       TILLMAN         ANGELINA                                           AL


                                                       TILLMAN         EBONY                                              AL


                                                       TIMS            LONNIE                                             MS


                                                       Tinsley         Chadwick                                           AL


                                                       Tipton          Gary                                               AL


                                                       TISDALE         EMIEE                                              AL


                                                       TISDALE         RACHEL                                             AL


                                                       TO              YUN                                                AL


                                                       TO              HOI                                                TX


                                                       TODD            JESSIE                                             TN


                                                       Tolbert         Cordell                                            AL


                                                       Tolbert         Cordell                                            AL


                                                       TOLBERT         DEIDRA                                             AL
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                                                       Tolbert         Angela                                             MS


                                                       TOLBERT         JELISA                                             MS


                                                       Ton             Phuong                                             TX


                                                       TONG            BE                                                 TX


                                                       TONG            PHUNG                                              TX


                                                       TONG            THAI                                               TX


                                                       TONMANIKOUT     VANG                                               AL


                                                       TOOLIE          MISCHEALINDA                                       MS


                                                       Torres          Michael                                            MS


                                                       Toups           Thomas                                             MS
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                                                       TOURE           MAMADOU                                            MS


                                                       TOWNER          ADA                                                AL


                                                       TOWNER          REGINALD                                           AL


                                                       TOWNSEND        KEITH                                              MS


                                                       TOWNSEND        MARGARET                                           MS


                                                       TOWNSEND        LOUIS                                              TN


                                                       TRAHAN          GLEN                                               TN


                                                       TRAINA          DOUG                                               FL


                                                       TRAN            ANH KIM                                            AL


                                                       TRAN            CHANH                                              AL


                                                       TRAN            CHI                                                AL


                                                       TRAN            CINDY                                              AL


                                                       TRAN            DIEM                                               AL


                                                       TRAN            DOI THI                                            AL


                                                       TRAN            DU                                                 AL


                                                       TRAN            DUNG                                               AL


                                                       TRAN            GIUP                                               AL


                                                       TRAN            HAI                                                AL


                                                       TRAN            HAI                                                AL


                                                       TRAN            HAO                                                AL


                                                       TRAN            HIEU MINH                                          AL


                                                       TRAN            HOANG                                              AL


                                                       TRAN            HUE THI                                            AL


                                                       TRAN            HUNG                                               AL


                                                       TRAN            HUYNH                                              AL


                                                       TRAN            JONATHAN                                           AL


                                                       TRAN            JUDY                                               AL
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                                                       TRAN            KENNY                                              AL


                                                       TRAN            KHANH                                              AL


                                                       TRAN            KIM LYNN                                           AL


                                                       TRAN            LAM                                                AL


                                                       TRAN            LE                                                 AL


                                                       TRAN            LINH THI YEN                                       AL


                                                       TRAN            LONG PHI                                           AL


                                                       TRAN            LUAN                                               AL


                                                       TRAN            LUTHER DEAN                                        AL


                                                       TRAN            LY KHANH                                           AL
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                                                       TRAN        MINH KHAN                                          AL


                                                       TRAN        NHI                                                AL


                                                       TRAN        ON VAN                                             AL


                                                       TRAN        PHUOC                                              AL


                                                       TRAN        PHUONG                                             AL


                                                       TRAN        PHUONG VAN                                         AL


                                                       TRAN        RANDY                                              AL


                                                       TRAN        RICKY                                              AL


                                                       TRAN        SAM                                                AL


                                                       TRAN        SON                                                AL


                                                       TRAN        SONNY DUE                                          AL


                                                       TRAN        TAI                                                AL


                                                       TRAN        TAI TAN                                            AL


                                                       TRAN        TAN                                                AL


                                                       TRAN        TOAN                                               AL


                                                       TRAN        TRUNG                                              AL


                                                       TRAN        TUAN                                               AL


                                                       TRAN        TUAN                                               AL


                                                       TRAN        TUONG                                              AL


                                                       TRAN        VAN                                                AL


                                                       TRAN        VU                                                 AL


                                                       TRAN        LU                                                 CA


                                                       TRAN        TRONG                                              GA


                                                       TRAN        LAT VAN                                            MS


                                                       TRAN        LE                                                 MS


                                                       TRAN        LONG THANH                                         MS


                                                       TRAN        MUOI                                               MS
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                                                       TRAN        PHI                                                MS


                                                       Tran        Michael                                            NC


                                                       TRAN        DUNG                                               OK


                                                       TRAN        ANH                                                TX


                                                       TRAN        BAC                                                TX


                                                       TRAN        BAO                                                TX


                                                       TRAN        BETTY                                              TX


                                                       TRAN        BICH                                               TX


                                                       TRAN        BRIAN                                              TX


                                                       TRAN        CATHY                                              TX
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                                                       TRAN        CAY VAN                                            TX


                                                       TRAN        CHIEU                                              TX


                                                       TRAN        CHINH                                              TX


                                                       TRAN        CHRISTINA                                          TX


                                                       TRAN        CONG                                               TX


                                                       TRAN        CU                                                 TX


                                                       TRAN        CUC                                                TX


                                                       TRAN        CUC                                                TX


                                                       TRAN        DANH                                               TX


                                                       TRAN        DAO                                                TX


                                                       TRAN        DAVIS PHUONG                                       TX


                                                       TRAN        DUNG                                               TX


                                                       TRAN        DUNG                                               TX


                                                       TRAN        DUNG                                               TX


                                                       TRAN        DUOC                                               TX


                                                       TRAN        DUY                                                TX


                                                       TRAN        ELAINE                                             TX


                                                       TRAN        GAM                                                TX


                                                       TRAN        HAI                                                TX


                                                       TRAN        HANH                                               TX


                                                       TRAN        HOA NGOC                                           TX


                                                       TRAN        HOAI                                               TX


                                                       TRAN        HOI                                                TX


                                                       TRAN        HOI                                                TX


                                                       TRAN        HONG                                               TX


                                                       TRAN        HONG GAM                                           TX


                                                       TRAN        HUE                                                TX
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                                                       TRAN        HUNG                                               TX


                                                       Tran        Hung                                               TX


                                                       TRAN        HUNG                                               TX


                                                       TRAN        HUU                                                TX


                                                       TRAN        HUYEN                                              TX


                                                       TRAN        JILL                                               TX


                                                       TRAN        JOHN                                               TX


                                                       TRAN        JOHNSON                                            TX


                                                       TRAN        JONATHAN VAN                                       TX


                                                       TRAN        KELLY                                              TX
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                                                       TRAN        KEVIN                                              TX


                                                       TRAN        KEVIN                                              TX


                                                       TRAN        KHAI                                               TX


                                                       Tran        Khanh                                              TX


                                                       TRAN        KHANH                                              TX


                                                       Tran        Kien                                               TX


                                                       Tran        Kieu                                               TX


                                                       Tran        Kieu                                               TX


                                                       TRAN        KIM                                                TX


                                                       TRAN        KIM                                                TX


                                                       Tran        Kim                                                TX


                                                       TRAN        KIM ANH                                            TX


                                                       TRAN        LAM                                                TX


                                                       TRAN        LANH                                               TX


                                                       Tran        Lee                                                TX


                                                       TRAN        LEHANG                                             TX


                                                       TRAN        LEP                                                TX


                                                       TRAN        LINH                                               TX


                                                       TRAN        LOAN                                               TX


                                                       TRAN        LOAN                                               TX


                                                       TRAN        LOC                                                TX


                                                       TRAN        MEN                                                TX


                                                       TRAN        MI                                                 TX


                                                       TRAN        MICHAEL                                            TX


                                                       TRAN        MICHAEL                                            TX


                                                       TRAN        MINH                                               TX


                                                       TRAN        MINH                                               TX
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                                                       TRAN        MONG                                               TX


                                                       TRAN        MY                                                 TX


                                                       Tran        Nam                                                TX


                                                       TRAN        NAM                                                TX


                                                       TRAN        NGUYET                                             TX


                                                       TRAN        NICK                                               TX


                                                       TRAN        NIKKI                                              TX


                                                       TRAN        PETER                                              TX


                                                       TRAN        PHU                                                TX


                                                       TRAN        PHUONG                                             TX
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                                                       TRAN        RANDY                                              TX


                                                       TRAN        RICKY                                              TX


                                                       TRAN        ROMEO                                              TX


                                                       Tran        Rung                                               TX


                                                       TRAN        SANDY                                              TX


                                                       TRAN        SANG                                               TX


                                                       Tran        Sinh                                               TX


                                                       TRAN        SONY                                               TX


                                                       TRAN        SONY                                               TX


                                                       TRAN        STEVE                                              TX


                                                       Tran        Suzann                                             TX


                                                       TRAN        TAM                                                TX


                                                       TRAN        TAM                                                TX


                                                       TRAN        TAM                                                TX


                                                       TRAN        TANG                                               TX


                                                       TRAN        THAM                                               TX


                                                       TRAN        THAN THI                                           TX


                                                       TRAN        THANH                                              TX


                                                       TRAN        THANH                                              TX


                                                       TRAN        THANH                                              TX


                                                       TRAN        THANH THUY                                         TX


                                                       TRAN        THAO                                               TX


                                                       Tran        Thu                                                TX


                                                       TRAN        THUAN                                              TX


                                                       TRAN        THUONG                                             TX


                                                       TRAN        THUY                                               TX


                                                       Tran        Tia                                                TX
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                                                       TRAN        TIEN                                               TX


                                                       TRAN        TIEN                                               TX


                                                       Tran        Tiffany                                            TX


                                                       TRAN        TOMMY ANH                                          TX


                                                       TRAN        TRANG                                              TX


                                                       TRAN        TRINA                                              TX


                                                       TRAN        TRINH                                              TX


                                                       TRAN        TRINH                                              TX


                                                       TRAN        TRINH                                              TX


                                                       Tran        Tuan                                               TX
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                                                       TRAN              TUAN                                               TX


                                                       TRAN              VAN                                                TX


                                                       TRAN              VUONG                                              TX


                                                       TRAN              VUONG                                              TX


                                                       TRAN              VUONG                                              TX


                                                       TRAN              XUAN                                               TX


                                                       TRAN              XUAN                                               TX


                                                       TRAN              XUYEN                                              TX


                                                       TRAN              YEN                                                TX


                                                       TRAN              YEN                                                TX


                                                       TRANG AND BENNY                                                      TX


                                                       TRAVIS            PATRICIA                                           MS


                                                       Traywick          Myron                                              AL


                                                       TREADAWAY         PATRICK                                            MS


                                                       TREVINO           JOHN                                               MS


                                                       TRIBBLE           LOUISE                                             MS


                                                       TRIBBLE           SHELIA                                             MS


                                                       TRIEU             STEVEN                                             TX


                                                       TRIGG             SHANNON                                            MS


                                                       TRINH             KIM HOANG                                          AL


                                                       TRINH             THANH                                              AL


                                                       TRINH             THOM THI                                           AL


                                                       TRINH             THU VAN                                            AL


                                                       TRINH             DUNG THI                                           GA


                                                       TRINH             LOI                                                TX


                                                       TRINH             THU                                                TX


                                                       TRIPLETT          TOMMY                                              MS
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                                                       Triplett          Trenda                                             MS


                                                       TROTTER           CARLIS                                             MS


                                                       TROUT             REZARIOUS                                          MS


                                                       Trowbridge        Karsch                                             WA


                                                       TRUONG            BICH VAN THI                                       AL


                                                       Truong            Davis                                              AL


                                                       TRUONG            HIEP VAN                                           AL


                                                       TRUONG            JESSICA                                            AL


                                                       TRUONG            JIMMY LE                                           AL


                                                       TRUONG            KENNY                                              AL
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                                                       TRUONG        LANG                                               AL


                                                       TRUONG        NHAT                                               AL


                                                       TRUONG        SAN THI                                            AL


                                                       TRUONG        TAM                                                AL


                                                       TRUONG        ANA                                                TX


                                                       Truong        Bach Cuc                                           TX


                                                       TRUONG        KA                                                 TX


                                                       TRUONG        KIM                                                TX


                                                       TRUONG        LOAN                                               TX


                                                       TRUONG        MINH                                               TX


                                                       Truong        Quang                                              TX


                                                       TRUONG        SANG                                               TX


                                                       TRUONG        SANG                                               TX


                                                       TRUONG        SANH                                               TX


                                                       TRUONG        THANH                                              TX


                                                       Truong        Thi                                                TX


                                                       TRUONG        THUONG                                             TX


                                                       TRUONG        THUY                                               TX


                                                       TRUONG        TRANG GIA                                          TX


                                                       TRUONG        VAN TRANG                                          TX


                                                       TRUONG        VAN TRINH                                          TX


                                                       TRUONG        DON THANH                                          AL


                                                       TRUONG        SIENG THI                                          AL


                                                       TRUONG        TRUONG TRUONG                                      AL


                                                       TU            PHIEN                                              AL


                                                       TU            HUNG                                               TX


                                                       TU            TONY                                               TX
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                                                       Tuck          Tammy                                              AL


                                                       TUCK          COURTNEY                                           MS


                                                       Tucker        Charles                                            AL


                                                       Tucker        Gail                                               AL


                                                       Tucker        James                                              TX


                                                       TUCKER        KIMBERLY                                           TX


                                                       TUMLIN        MATT                                               GA


                                                       TURBERVILLE   MELVIN                                             AL


                                                       TURNER        ONDAE                                              AL


                                                       Turner        Luke                                               MS
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                                                       TURNER           STEPHANIE                                         MS


                                                       TWITTY           JAMES                                             MS


                                                       Tyus             Yvette                                            AL


                                                       UBIEDO           YASSER                                            AL


                                                       URESTI           ERNESTO                                           TX


                                                       Usher            Joe                                               AL


                                                       VALDEZ           VICTOR                                            TX


                                                       Valerie          Popovich                                          CT


                                                       Valley           Gloria                                            MS


                                                       VAN              THANH                                             TX


                                                       VANDIVER         ADDIE                                             AL


                                                       VANNAVONG        SAENG MUANG                                       AL


                                                       VanZandt         Angela                                            MS


                                                       VAR              TEVICH                                            AL


                                                       VARELA           FRANCISCO                                         TX


                                                       VARGAS           SONIA                                             TX


                                                       Varner           Christopher                                       AL


                                                       VARONE           APRIL                                             MS


                                                       VASQUEZ          JUAN                                              TX


                                                       VASSER           SHAWNTELL                                         AL


                                                       VAUGHAN          KIMBERLY                                          MS


                                                       VAUGHAN          LANCE                                             MS


                                                       VAUGHN           RANDANDA                                          MS


                                                       VAZQUEZ          DIONISIO                                          TX


                                                       VAZQUEZ          MARTHA                                            TX


                                                       VAZQUEZ          MARTHA                                            TX


                                                       VAZQUEZ          SERGIO                                            TX
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                                                       VEAL             LOVIE                                             MS


                                                       VEGA             TERESA                                            TX


                                                       VEJERANO         EDGAR                                             TX


                                                       VELASQUEZ        ALEJANDRO                                         TX


                                                       VELASQUEZ        RIGOBERTO                                         TX


                                                       Venz             Johnny                                            AL


                                                       VERTIL           ROSELYNE                                          TX


                                                       VICK             CHARLES                                           MS


                                                       VIGOA            OMAR                                              AL


                                                       VIGOA            OSNIEL                                            AL
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                                                        VILLARREAL       EMILIO                                            TX


                                                        VINEY            KALVIN                                            TX


                                                        Viravong         Phonekeo                                          AL


                                                        VIVERETTE        KATRINA                                           MS


                                                        VIVEROS          JESUS                                             AL


                                                        VIVEROS          OLGA                                              MS


                                                        VO               ALAN                                              AL


                                                        VO               BRANDON                                           AL


                                                        VO               DAI                                               AL


                                                        VO               KRISTOPHER DUNG                                   AL


                                                        VO               LINDA                                             AL


                                                        VO               LONG                                              AL


                                                        VO               NHO THI                                           AL


                                                        VO               PHUONG                                            AL


                                                        VO               THUY NGOC                                         AL


                                                        VO               MATTHEW                                           GA


                                                        VO               THUONG                                            MS


                                                        VO               ANNA                                              TX


                                                        VO               CODY                                              TX


                                                        VO               DIANA                                             TX


                                                        VO               HA THI                                            TX


                                                        VO               HELEN                                             TX


                                                        VO               HOT                                               TX


                                                        VO               JENNIFER                                          TX


                                                        VO               LAN                                               TX


                                                        VO               LEN                                               TX
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                                                        VO               LISA                                              TX


                                                        VO               LOAN                                              TX


                                                        VO               MICHAEL                                           TX


                                                        VO               NINA                                              TX


                                                        VO               PHUONG                                            TX


                                                        VO               SIMON                                             TX


                                                        VO               SON                                               TX


                                                        VO               SON                                               TX


                                                        VO               STEPHANIE                                         TX


                                                        VO               TAI                                               TX


                                                        VO               TAI                                               TX
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                                                        VO              THACH TRAN                                        TX


                                                        VO              THAO                                              TX


                                                        VO              THUY                                              TX


                                                        VO              TON                                               TX


                                                        VO              TRACY                                             TX


                                                        VO              TRI                                               TX


                                                        VO              TRI                                               TX


                                                        VO              VAN                                               TX


                                                        VO              XUAN                                              TX


                                                        VONGPANYA       KAEO                                              AL


                                                        VONGPANYA       KAEO                                              AL


                                                        VONGPANYA       KAREN                                             AL


                                                        VONGPANYA       KONG                                              AL


                                                        VONGPANYA       SAENG                                             AL


                                                        VONGPANYA       TONY                                              AL


                                                        VU              HUNG                                              AL


                                                        VU              LAN                                               AL


                                                        VU              THOANG                                            AL


                                                        VU              TOAN                                              AL


                                                        VU              TRUONG                                            AL


                                                        VU              TUNG                                              AL


                                                        VU              THU                                               CO


                                                        VU              LEANNA HONG                                       MS


                                                        VU              HOAI                                              TX


                                                        VU              HOI                                               TX


                                                        VU              JOHN                                              TX
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                                                        VU              LANH                                              TX


                                                        VU              TUYEN                                             TX


                                                        VU              XUAN THI                                          TX


                                                        VUVAN           STRANGER                                          IL


                                                        VUVAN           ANDY                                              TX


                                                        VUVAN           KATHERINE                                         TX


                                                        VUVAN           THOM                                              TX


                                                        WADE            ANGELA                                            MS


                                                        WADE            RICHARD                                           MS


                                                        WADE            WILLIAM                                           MS


                                                        WAITERS         JAMALE                                            AL
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                                                        WAITERS         LINDA                                             AL


                                                        WALKER          JASON                                             AL


                                                        WALKER          TYRONE                                            AL


                                                        WALKER          DOROTHY                                           MS


                                                        WALKER          KENNYETTA                                         MS


                                                        WALKER          MARY                                              MS


                                                        WALKER          RON                                               MS


                                                        WALKER          VERONICA                                          MS


                                                        WALKER          VERONICA                                          MS


                                                        WALKER          ANNIE                                             TN


                                                        WALL            CHRIS                                             CO


                                                        WALL            LEAH                                              CO


                                                        WALL            ROBERT                                            TN


                                                        WALLER          ROBERT                                            AL


                                                        WALLS           CHRISTOPHER                                       MS


                                                        WALLS           MONIQUE                                           MS


                                                        WALTERS         DEBBIE                                            MS


                                                        WALTERS         JOHN                                              MS


                                                        WALTMAN         JOEL                                              MS


                                                        WALTON          JEROME                                            TX


                                                        WANG            ANNIE                                             TX


                                                        WANSTEAD        SHAWN                                             WI


                                                        WANZA           EARL                                              TX


                                                        WARD            RAYMOND                                           AL


                                                        WARE            KERRY                                             AL


                                                        WARE            ROBERT                                            AL
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                                                        WARE            RUDOLPH                                           AL


                                                        WARE            ANITA                                             MS


                                                        WARE            SHARON                                            MS


                                                        WARLICK         JEREMY ADAM                                       MS


                                                        WARNER          ALEX                                              CO


                                                        WARREN          DAVID W                                           AL


                                                        WARREN          DEWAYNE                                           AL


                                                        WARWICK         JANET EVERETTE                                    AL


                                                        WASHAM          SHAWN                                             AL


                                                        WASHINGTON      ANGELA                                            AL


                                                        WASHINGTON      DWIGHT                                            AL
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                                                        WASHINGTON       EDWARD                                            AL


                                                        WASHINGTON       ERMA JEAN                                         AL


                                                        WASHINGTON       EUNICE WILLIAMS                                   AL


                                                        WASHINGTON       PAMELA                                            AL


                                                        WASHINGTON       SHAWN                                             AL


                                                        WASHINGTON       CHRISTOPHER C                                     AR


                                                        WASHINGTON       NICHOLAS                                          GA


                                                        WASHINGTON       BYRON                                             MS


                                                        WATFORD          ROSHANDA                                          AL


                                                        WATKINS          DEADRICK L                                        AL


                                                        WATKINS          RANDY                                             AL


                                                        WATLEY           JOHN T                                            AL


                                                        WATSON           CALEB TYLER                                       AL


                                                        WATSON           ERICA                                             AL


                                                        WATSON           NICOLE                                            AL


                                                        WATSON           ALEX                                              MS


                                                        WATSON           ROSIE L                                           MS


                                                        WATSON           SHARON                                            MS


                                                        WATSON           MICHAEL W                                         TX


                                                        WATSON           TARNELL                                           TX


                                                        WATTS            ALEXIS                                            AL


                                                        WATTS            ANTONIO                                           AL


                                                        WATTS            CHARLES                                           MS


                                                        WATTS            JAMES                                             MS


                                                        WEATHERSBY       JERROLD                                           AL


                                                        WEATHERSBY       TERRY                                             MS
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                                                        WEAVER           CHARLES                                           AL


                                                        WEAVER           JAMES D                                           AL


                                                        Weaver           Kimmie                                            AL


                                                        WEAVER           TRESSIE                                           AL


                                                        WEAVER           VALERIE M                                         AL


                                                        WEAVER           WHITTNEY                                          MS


                                                        WEBB             DALISHA                                           MS


                                                        WEEKLEY          GUY FRANK                                         MS


                                                        WEIR             LORA                                              TN


                                                        WEITZMAN         DAVID MARK                                        NC


                                                        WELCH            SHANTEL                                           AL
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                                                        WELCH              SHANTEL                                           AL


                                                        WELCH              LORI L                                            MS


                                                        WELKER             JAMIN                                             GA


                                                        WELLINGTON         CARY LEE                                          MS


                                                        WELLS              CONSTANCE                                         MS


                                                        WELLS              NORRIS                                            MS


                                                        WERTZ              ZACHARY MASON                                     MS


                                                        WEST               KIM M                                             AR


                                                        WEST               KIM M                                             AR


                                                        WEST               PAULA G                                           MS


                                                        WESTRY             ANTHONY                                           AL


                                                        WHEATON            DARRYL                                            MS


                                                        WHEELER            DAVID                                             MS


                                                        WHEELER            LYNDA J                                           MS


                                                        WHISTENHUNT        HOSEA                                             AL


                                                        WHITE              ARLENE                                            AL


                                                        WHITE              CATHERINE                                         AL


                                                        WHITE              DEREK                                             AL


                                                        WHITE              DERONE                                            AL


                                                        WHITE              JAMES H.                                          AL


                                                        WHITE              KASMINE                                           AL


                                                        White              Loretta                                           AL


                                                        WHITE              NASHUNDA                                          AL


                                                        WHITE              EDDIE                                             MS


                                                        White              Kenneth                                           MS


                                                        WHITE              MICHELLE                                          MS
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                                                        WHITE              STACEY                                            MS


                                                        WHITE              TRACY                                             MS


                                                        WHITE              DARLENE                                           TX


                                                        WHITE              JOE ESTRADA                                       TX


                                                        WHITEHEAD          MAJOR                                             MS


                                                        Whitehurst         David                                             MS


                                                        Whitfield          Cleveland                                         AL


                                                        WHITFIELD          SHAWANDA                                          AL


                                                        Whitlock           Venetta                                           MS


                                                        Whitt              Laken                                             MS


                                                        WICKS              TONI                                              TN
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                                                        Wierschke         Jennifer                                          GA


                                                        Wiggins           James                                             AL


                                                        WIGGINS           KATINA                                            AR


                                                        WIGGINS           REGINALD                                          MS


                                                        Wilborn           Chrissy                                           MS


                                                        WILEY             BARON                                             MS


                                                        WILEY             TAMIKO                                            MS


                                                        Wilhite           Crystal                                           AL


                                                        WILKERSON         JUDITH                                            AL


                                                        WILKERSON         CONSTANCE                                         MS


                                                        WILKERSON         JACKIE                                            MS


                                                        WILKERSON         JAMES                                             MS


                                                        WILKERSON         KIM                                               MS


                                                        WILKES            PATRICIA                                          AL


                                                        Wilkes            Tawonna                                           AL


                                                        Wilkins           Stephen                                           AL


                                                        WILKINS           PATRICIA                                          TN


                                                        Wilkinson         Kristen                                           AL


                                                        WILLETT           KENNDA                                            MS


                                                        WILLIAM           LENNICX                                           AL


                                                        Williams          Annissa                                           AL


                                                        Williams          Arthur                                            AL


                                                        Williams          Arthur                                            AL


                                                        Williams          Ayanna                                            AL


                                                        Williams          Ayanna                                            AL


                                                        Williams          Barri                                             AL
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                                                        WILLIAMS          BRANDON                                           AL


                                                        WILLIAMS          CASTERDRAL                                        AL


                                                        Williams          Cecil                                             AL


                                                        Williams          Corneilous                                        AL


                                                        WILLIAMS          DAVID                                             AL


                                                        Williams          David                                             AL


                                                        WILLIAMS          DEBORAH                                           AL


                                                        WILLIAMS          DELVIN                                            AL


                                                        Williams          Derek                                             AL


                                                        Williams          Janetta                                           AL


                                                        Williams          Janetta                                           AL
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                                                        Williams         Jeanette                                          AL


                                                        Williams         Jermonica                                         AL


                                                        Williams         Kendalyn                                          AL


                                                        WILLIAMS         LEVERN                                            AL


                                                        Williams         Malinda                                           AL


                                                        WILLIAMS         MARCUS                                            AL


                                                        Williams         Mary                                              AL


                                                        WILLIAMS         PERVIS                                            AL


                                                        WILLIAMS         QUILLA                                            AL


                                                        WILLIAMS         ROBERT LEE                                        AL


                                                        Williams         Sharlette                                         AL


                                                        WILLIAMS         SHAYLA                                            AL


                                                        WILLIAMS         SHAYLA M.                                         AL


                                                        Williams         Tammi                                             AL


                                                        WILLIAMS         TAWANAKA                                          AL


                                                        WILLIAMS         TAWANAKA                                          AL


                                                        WILLIAMS         WENDY M.                                          AL


                                                        Williams         Zactrese                                          AL


                                                        WILLIAMS         CINDY                                             AR


                                                        WILLIAMS         LEDALE                                            AR


                                                        WILLIAMS         SHARON                                            AR


                                                        Williams         Anthony                                           MS


                                                        WILLIAMS         ANTWONE                                           MS


                                                        WILLIAMS         CHERYL                                            MS


                                                        WILLIAMS         DEBBIE                                            MS


                                                        WILLIAMS         DWAYNE                                            MS
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                                                        Williams         Edward                                            MS


                                                        Williams         Eric                                              MS


                                                        WILLIAMS         JANICE                                            MS


                                                        WILLIAMS         JENNIFER                                          MS


                                                        Williams         Kelvin                                            MS


                                                        WILLIAMS         LA TARSHA                                         MS


                                                        WILLIAMS         MARCUS                                            MS


                                                        WILLIAMS         MARCUS                                            MS


                                                        Williams         Markel                                            MS


                                                        Williams         Misty                                             MS


                                                        Williams         Montiericko                                       MS
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                                                        Williams         Montiericko                                       MS


                                                        WILLIAMS         PATRICIA                                          MS


                                                        WILLIAMS         SANDRA KAY                                        MS


                                                        WILLIAMS         STACEY JAMES                                      MS


                                                        Williams         Stanley                                           MS


                                                        WILLIAMS         TREY                                              MS


                                                        Williams         Yohance                                           MS


                                                        WILLIAMS         ZAMUND MARSHAD                                    MS


                                                        Williams         Marceleste                                        TX


                                                        WILLIAMS         RORY D                                            TX


                                                        WILLIAMS         MELVINA                                           AL


                                                        WILLIAMSON       RAYMOND L                                         AL


                                                        Willis           Tommy                                             AL


                                                        WILLIS           ADRIAN                                            MS


                                                        WILLS            CHARLES                                           AL


                                                        WILLS            CHARLES                                           AL


                                                        WILSON           LETITIA                                           AL


                                                        WILSON           REGINA M                                          AL


                                                        WILSON           GLENDA G.                                         FL


                                                        WILSON           JANICE                                            MI


                                                        Wilson           Asia                                              MS


                                                        Wilson           Magellan                                          MS


                                                        WILSON           TAMMY ANN                                         MS


                                                        WIMBLEY          JONATHAN H.                                       MS


                                                        WINCHESTER       JAREES                                            AL


                                                        WINFREY          LAUREASE                                          TN
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                                                        WINNER           CRYSTAL                                           AL


                                                        Winters          Sharon                                            MS


                                                        Wiseman          Catherine                                         MS


                                                        WOLFE            JEFFERY CLARK                                     TN


                                                        WOLK             BARRY                                             GA


                                                        WONG             ATHEN                                             MS


                                                        WOODLEY          ANTHONY                                           CA


                                                        Woodruff         Robert                                            TX


                                                        WOODS            JERRY                                             AL


                                                        WOODS            JERRY                                             AL


                                                        WOODS            JERRY                                             AL
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                                                        WOODS               JERRY                                             AL


                                                        WOODS               TORREY                                            AL


                                                        WOODS               VAN                                               AL


                                                        Woods               Terry                                             KY


                                                        WOODS               JAMES                                             MS


                                                        Woods               John                                              MS


                                                        WOODS               BRIDGETTE                                         TN


                                                        WOODYARD            LESEAN                                            AL


                                                        WOOSLEY             NICHOLAS                                          AL


                                                        WORBINGTON          ROBERT                                            MS


                                                        WORLDS              MAUDE                                             MS


                                                        WORLDS              QIETA                                             MS


                                                        Worley              Frank                                             AL


                                                        Worley              Kenneth                                           MS


                                                        Worthington         Adonis                                            MS


                                                        Wright              Auriel                                            AL


                                                        Wright              LuShun                                            AL


                                                        Wright              Patrick                                           AL


                                                        Wright              Sean                                              AL


                                                        Wright              Tyrone                                            MS


                                                        WU                  CAI                                               AL


                                                        WYATT               SANDRA                                            MS


                                                        WYBLE               BRYAN                                             TX


                                                        WYMAN               APRIL                                             MS


                                                        XON                 MARCELINO CHONAY                                  AL


                                                        YANEZ               MARIA                                             TX
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                                                        YANN                BORA                                              AL


                                                        YARBROUGH           K                                                 AL


                                                        York                Claudia                                           AL


                                                        York                Claudia                                           AL


                                                        York                Lekisha                                           AL


                                                        YORK                BARBARA                                           MS


                                                        YOUNG               CALVIN                                            AL


                                                        YOUNG               ELBERT                                            AL


                                                        Young               Mamie                                             AL


                                                        Young               Melinda                                           AL


                                                        YOUNG               ROSLYN                                            AL
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                                                        YOUNG           DELORIS                                                                           AR


                                                        YOUNG           JEREMY                                                                            MS


                                                        YOUNG           KANISHA                                                                           MS


                                                        YUAN            JACKSON                                                                           MS


                                                        ZABORNY         PAUL                                                                              AL


                                                        ZELAZNY         JAMIE                                                                             TN


                                                        Zimmer          Ann                                                                               AL


                                                        Zimmer          David                                                                             AL


                                                        Zimmer          Jay                                                                               TX


                                                        ZOGHBY          CHRIS                                                                             AL


                                                        ZONG            NING                                                                              CA


                                                        Zuniga          Victor                                                                            AL


                                                                                                   KELLY NGO, INDIVIDUALLY AND DBA ORCHID NAILS           AL


                                                                                                   LYNN BRALY, INDIVIDUALLY AND DBA PT LOMA MARINA & RV   MS


                                                                        VICKI JONES                VRB LLC                                                TX


                                                                        RAYMOND CHOY               168 INC                                                AL


                                                                        LEE BRUMFIELD              2252 BEACH LLC                                         MS


                                                                        ALLYSON ROSS WORSHAM       333 RESTAURANT                                         MS


                                                                        HENRY NGUYEN               A & A MARINE SERVICES INC                              TX


                                                                        ANTHONY DO                 A & L MARINE, LLC                                      TX


                                                                        JAYSHREE AMIN              AAA HOSPITALITY INC                                    MS


                                                                        GARY BATES                 AAA TITLE COMPANY INC                                  MS


                                                                        MARK A SNODGRASS, JR.      AAA TRANSFER & STORAGE INC                             MS


                                                                                                   AASHIRWAD LLC D/B/A COTTAGE INN                        MS


                                                                        SHAILESH PATEL             AASHIRWAD LLC DBA COTTAGE INN                          MS


                                                                        PAUL GARBIN                ACE CARPET CLEANING INC                                MS
                                                                                                   ADAM GLENN, INDIVIDUALLY AND DBA G AND F CLOTHING
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                                                                                                   DESIGN CO                                              AL


                                                                        ROBERT RUSHING             ADVANCE MORTGAGE & INVESTMENT CO INC                   AL


                                                                        GRANT CORBETT              ADVENTURE PRODUCTS INC                                 GA


                                                                        JOHN DAVID HELLAND         AFFORDABLE PARKWAY MOTORS INC                          AL


                                                                        ROBERT DALLAS McELROY      Alabama Inshore Fishing Charters                       AL


                                                                        CHARLES ARTHUR SHEFFIELD   ALABASTER CORPORATION                                  TX


                                                                        KEVIN BURAS                ALAN COSSE ESTATE                                      TX


                                                                                                   ALBERT BUNN, INDIVIDUALLY AND DBA BUNN CONSTRUCTION    AL


                                                                        GLENN ALEXANDER            ALEXANDER CHILDREN SERVICES                            TX


                                                                                                   ALLEN NGUYEN, INDIVIDUALLY AND DBA M/V CAPT MATTHEW    TX


                                                                        VIRGINIA ANN CLARK         AMAZING GRACE SERVICE AND HOUSEKEEPING                 AL
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                                                                         DANIEL SNYDER            AMBER ASSOCIATES INC.                                   PA


                                                                         GARY C WILSON            AMERICAN IRON V TWIN LLC                                MS


                                                                         KIM THUY THI NGUYEN      ANHTU INC DBA T&A No2                                   TX


                                                                                                  ANTHONY MCARTHUR, INDIVIDUALLY AND DBA MACKS KITCHEN AL


                                                                         SUZANNE AUTIN            AQUA SAFETY LLC                                         LA


                                                                         ARUN DWIVEDI             ARMU INC DBA PASSPORT INN & SUITES                      TX


                                                                         WANDA MOORMAN            AUNT JENNYS COUNTRY BUFFET                              MS


                                                                         GEORGE LEONARD LEDFORD   AUTO ELECTRIC GARAGE LLP                                AL


                                                                         STEPHEN STEWART          BANDYWOOD GULF LP                                       MS


                                                                                                  BAO PHAM, INDIVIDUALLY AND DBA NATURAL NAILS & HAIR     AL


                                                                         DAVID OWEN JAYE          BAR 1 SERVICES                                          AL


                                                                                                  BARBARA PRICE, INDIVIDUALLY AND DBA PRICE RENTAL        AL
                                                                                                  BAREFEET HOLDINGS LLC dba TECH AUTOMOTIVE
                                                                         ROBERT DESCALZO          DIAGNOSTICS                                             FL


                                                                         KAREN NERO               Battershell Enterprises LLC                             OH


                                                                         DOUGLAS WICKS            BAY CITIES PROMOTIONS INC DBA BCP INC                   AL


                                                                         NGA THI DANG             BAYOU FRESH SEAFOOD & DELI                              AL


                                                        CHAVERS          DANIELLE                 BELVAS KITCHEN                                          AL
                                                                                                  BIAGIO DICOLANDREA, INDIVIDUALLY AND DBA ANTONIOS
                                                                         Biagio Dicolandrea       ITALIAN GRILL                                           TX


                                                        MCKINLEY         Robert                   BIG CHINS INC - ROBERT MCKINLEY                         TX


                                                                         LISA WEBBER              BIG FISH CORP dba SNAPPER JACKS                         TX


                                                                         MARK SNODGRASS JR.       BILOXI TRANSFER & STORAGE                               MS


                                                                                                  BINH T PHAN, INDIVIDUALLY AND DBA VINH BEAUTY & NAILS   TX


                                                                                                  BLAIR WARREN CONSTRUCTION LLC - BLAIR WARREN            MS


                                                                         TERRY COMBS              BLUE ENERGY CO                                          TX


                                                                         BECKIE ROBERTS           BLUE MOON GIFTS LLC                                     MS


                                                                         ROBERT ASKIN             BOBS SEPTIC TANK SERVICE                                MS
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                                                                         ROBERT J BOUDIN, JR.     BOUDINS ENVIORNMENTAL SERVICES LLC                      MS


                                                                         BRAD BROWN               BRAD BROWN DBA BACKYARD PARADISE                        AL
                                                                                                  BRADLEY KLEIN, INDIVIDUALLY AND DBA BRADLEY KLEIN
                                                                                                  LANDSCAPING                                             AL
                                                                                                  BRADLEY KLEIN, INDIVIDUALLY AND DBA BRADLEY KLEIN
                                                        KLEIN            BRADLEY                  LANDSCAPING                                             AL


                                                                         HIEN X NGUYEN            BRANDON AND HAILEY LLC DBA GATOR WEST                   TX


                                                                                                  BRANNON HERZING AND DBA SHORELINE CAREPT CLEANING       AL


                                                                         STEPHEN STEWART          BRENTSTONE PARTNERS LP                                  MS


                                                                         CHARLES BROOKS           BROOKS AND SON ENTERPRISE LLC                           AL


                                                                         HOAT HOANG               BRUCES SEAFOOD DELI                                     TX


                                                                         W LEE BRUMFIELD          BRUMFIELD PROPERTIES INC                                MS


                                                        MARAIST          BRYANT                   BUC O BRIANS INC                                        TX
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                                                                         DOUG CRUMRINE            BULLET WEIGHT SALES                                      NE


                                                                         JOHN BUSBY               BUSBY TIMBER SERVICES INC                                AL


                                                                         KENNETH SHARPE           BUSY BEE DAYCARE                                         AL


                                                                         HARRY BUTLER             BUTLER INSURANCE AGENCY INC                              AL


                                                                         CHARLES JAMES            C JAMES & ASSOCIATES                                     AL


                                                                         CHARLES SUMRALL          C&R Auto Advisory Service & Repair                       AL


                                                                         DONALD PASTOR            CAJUN COOKERY INC                                        TX


                                                                         LARRY DALE               CAJUN COUNTRY COOKERS INC                                TX
                                                                                                  CALVIN BOSARGE SR, INDIVDUALLY AND DBA CNA ESTATES -
                                                                                                  SOUTHERN BREEZE                                          AL


                                                                                                  CALVIN LINDER, INDIVIDUALLY AND DBA SHIPCHEAP SHIPPING   MS


                                                                         FELICIA D CANNON         CANNON PAINTING INC                                      AL


                                                                         HIEU VO                  CAPTAIN BRANDON INC                                      TX


                                                                         JESSICA CARLISLE         CARLISLE TRUCKING INC                                    MS
                                                                                                  CARROLLTON PLAZA SUPERMARKET - T & J GROUP
                                                                         PATRICK ONG              INVESTMENT LLC                                           TX


                                                                         RITA BYLSMA              CASAMAR LLC DBA CAPTAINS FISH HOUSE                      TX


                                                                         CHRISTOPHER DAVID HILL   CD HILL SERVICES INC                                     AL


                                                                         CURTIS HORTON JR         CH MARKETING LLC                                         AL


                                                                                                  CHAD LABOVE INDIVIDUALLY AND DBA DAVISS DONUTS & DELI    TX
                                                                                                  CHARITY D HUDSON, INDIVIDUALLY AND DBA CHARITYS CONDO
                                                                                                  CLEANING                                              TX
                                                                                                  CHARLES LYONS, INDIVIDUALLY AND DBA CHARLIES CLASSIC
                                                                                                  CARS                                                     AL
                                                                                                  CHARLES WILLIAMS, INDIVIDUALLY AND DBA GOOD FRYDAYS
                                                                                                  SEAFOOD                                                  AL


                                                                         CHARLES WILSON           CHARLES WILSON, INDIVIDUALLY DBA WILSONS LANDSCAPING AL
                                                                                                  CHARLOTTE BOSS, INDIVIDUALLY AND BOSS BUSINESS
                                                                                                  BENEFITS                                                 MS


                                                                         PHILLIP ABBOTT           Cheapos Inc - Oak Grove                                  AL


                                                                                                  CHIEN T LU, INDIVIDUALLY AND DBA CHINA WOK RESTAURANT    AL
                                                                                                  CHIN NGUYEN, INDIVIDUALLY AND DBA CK VIDEO AND GIFT
                                                                                                  SHOP                                                     TX
                                                                                                  CHRISTOPHER WILLIAMS, INDIVIDUALLY AND DBA TECH
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                                                                                                  CONTRACTING                                              AL
                                                                                                  CHRISTOPHER WILLIAMS, INDIVIDUALLY AND DBA TECH
                                                        WILLIAMS         CHRISTOPHER              CONTRACTING                                              AL


                                                                         PHUONG TON               CHUNG & TON INC DBA LA NAILS #1                          TX


                                                                                                  CHUONG CONG DINH, PRO NAILS & TAN                        AL
                                                                                                  CLAUDE E BRADDOCK, INDIVIDUALLY AND DBA PAW PAW MAN
                                                                                                  BBQ                                                      AL


                                                                         GORDON BROWN             CLEARWATER MARINE INC                                    MN
                                                                                                  CLIFFORD DAVID FLEMING, INDIVIDUALLY AND DBA CRYSTAL
                                                                                                  FLATS GUIDE SERVICE                                      TX


                                                                         MICHAEL KEENUM           COAST FENCE AND MATERIALS INC.                           MS


                                                                         MARK SNODGRASS JR.       COASTAL MOVING & STORAGE INC                             MS


                                                                         CHRISTOPHER RAINS        COLONIAL PARK LLC                                        MS


                                                        COMEAUX          DEBBIE                   Comeaux Seafood                                          TX
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                                                                                               CONSUELA S. LOGAN, INDIVIDUALLY AND DBA C & C
                                                                                               COMMERCIAL CLEANING                                     AL


                                                                        DAVID SMART            CORN BRANCH SAND & CLAY LLC                             AL


                                                                        PHUC PHAN              CRAB HOUSE TRADING CORPORATION                          CA


                                                                        RITEN PATEL            CREATIVE HOSPITALITY DEVELOPMENT LLC                    MS


                                                                        DANIEL S DYMINSKI      CRISTIANOS BRICK OVEN PIZZERIA                          AL


                                                                        RICHARD WYATT          CRITTER CAPTURE LLC                                     AL


                                                                                               CUA VAN NGUYEN, INDIVIDUALLY AND DBA CT NAILS           TX


                                                                        DAVID KENT             CULLMAN EXCAVATING EQUIP CO                             AL


                                                                                               CUONG PHU PHAN, INDIVIDUALLY AND DBA PRO NAILS          AL


                                                                        DANNY HARDT            D HARDT ENTERPRISES INC                                 TX


                                                                        LEE BRUMFIELD          D IBERVILLE-BRUMFIELD, LLC                              MS


                                                        WRIGHT          LUSHUN                 D/B/A WRIGHT'S COMPUTER CONSULTING AND REPAIR           AL


                                                                                               DAC VAN TRAN, INDIVIDUALLY AND DBA PHO FOUR SEASONS     TX


                                                                                               DALE QUANG LE, INDIVIDUALLY AND DBA ANGEL NAILS 2       MS


                                                                        DANIEL ARTHUR MILLER   DAMCO Investments LLC                                   AL


                                                                                               DAN THI PHAM, INDIVIDUALLY AND DBA NALL CHEVRON         TX


                                                                                               DANIEL F TAMAYO, CAPT D TAMAYO BAY CHARTERS             TX


                                                                                               DANNY TRAN, JOHN SEAFOOD                                TX
                                                                                               DAVID BATUTIS, INDIVIDUALLY AND DBA CAPTAIN DAVES
                                                                                               SEAFOOD MARKET                                          MO


                                                                        David Stanley Luke     David Stanley Luke DBA ST MICHAEL FUEL & ICE            MS


                                                                        TUNG NGUYEN            DAVIS LIQUOR AND WINE LLC                               MS


                                                                                               DAVIS TRUONG, INDIVIDUALLY AND ANGEL NAILS              AL


                                                                        CHRISTOPHER DEAN       DEAN BROTHERS INC.                                      AL


                                                                        KIM HONG               Design Nails                                            AL
                                                                                               DIEN THANH VO, INDIVIDUALLY AND DBA DIHA INC. DBA DAILEY
                                                                                               SEAFOOD                                                  TX


                                                                        DAVID NICHOLS ROY      DNR CONSULTING LLC                                      CA
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                                                                        TONY HUYNH             DOLPHINS SEAPORT INC                                    TX


                                                                        DORIS JOHNSON          DORIS JOHNSON INDIVIDUALLY AND DBA MAID TO CLEAN        AL
                                                                                               DOUG SANDERS, INDVIDUALLY AND DBA DOUG SANDERS
                                                                                               APPRAISALS                                              AL
                                                                                               DOUG SANDERS, INDVIDUALLY AND DBA DOUG SANDERS
                                                        SANDERS         DOUG                   APPRAISALS                                              AL


                                                                                               DREAM NAILS AND DAY SPA                                 TX


                                                                        MARY LEE CULBERSON     DTMV PROPERTIES LLC                                     MS
                                                                                               DUNG & THUY INVESTMENTS, INC DBA GENERAL JOE'S
                                                                                               CHOPSTICK RESTAURANT                                    TX
                                                                                               DUNG ANH TU, INDIVIDUALLY AND DBA TIC TAC NAILS & SPA
                                                                                               AND DBA TIMES NAILS AND DBA TIC TAC DAY SPA & SALON     TX
                                                                                               DUNG NGOC NGUYEN, INDIVIDUALLY AND DBA FASHION NAILS &
                                                                                               TAN                                                    AL


                                                                        DUNG THUY THI PHAN     DUNG THUY THI PHAN INDIVIDUALLY AND DBA NAIL ENVY       AL


                                                                                               DUNG VAN HOANG, VINCENT SEAFOOD                         TX
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                                                                       SCOTT NGUYEN                DUSTIN GULF SEAFOOD                                  TX


                                                                                                   DUY NGOC PHAM, INDIVIDUALLY AND DBA NAILS 4 U        AL


                                                                       WILLIAM HUBERT GILLEY       ECONOMY AUTO CENTER INC                              AL


                                                                       CHRIS RAINES                EDGEWATER EYECARE INC DBA THE VISION CARE CENTER     MS


                                                                       EDWARD L WILLIAMS SR        EDWARD MOVING SERVICE                                AL


                                                                       RUBEN GIMENEZ               EL RANCHO INC                                        AL


                                                                       GARY PERRONE                ELKS CLUB                                            MS


                                                                       ROY C. FARRIS               EMERALD COAST INC DBA TUNE UPS N SUCH                AL


                                                                       JUAN CASTANO                EXCELLENCE STAFFING SERVICES LLC                     MS


                                                                       FRANK MOORE                 F & R RECOVERY HOUSE                                 AL


                                                                       MARK A. SNODGRASS, JR.      F&S MOVING & STORAGE INC                             MS


                                                                       ANDRE MATHEWS               FAMILY FARMER COOPERATIVEV                           MS


                                                                       VICKI JONES                 FARMERS BOY CATFISH INTL INC                         TX


                                                                       MICHAEL FERTITTA            FERTITTAS INSPECTION SERVICES INC                    TX


                                                                       DWAYNE L. MCLEOD            FISH TRAP, INC.                                      MS


                                                                       ROBERTA CASELLA SUCCESSOR   FOLSOMS QUALITY SEAFOOD LLC                          AL


                                                                       MICHAEL FREMIN, SR.         FREMIN CONSTRUCTION INC                              MS


                                                                       HUONG M VU                  FUTURE NAILS                                         AL


                                                                       THU N LE                    FV ANTHONY 1024953                                   TX


                                                                                                   GARY PESCE, INDIVIDUALLY AND DBA OCEAN FLEX OMTS     CT


                                                                       JOSEPH V. GAUCI             GAUCIS CUSTOM BUILDING & DEVELOPING LLC              MS
                                                                                                   GAYLA BOOKER, INDIVIDUALLY AND DBA ORLEANS ANTIQUES &
                                                                                                   GIFTS                                                 AL


                                                                       JAMES M. TAPP               GENUINEDEALZ.COM LLC                                 GA


                                                                       GARY L. HARRIS              GH DESIGN, LLC                                       OK
                                                                                                   GILLEYS ISLAND VENTURE INC DBA PORT A SEAFOOD CO -
                                                        GILLEY         LINDA                       LINDA GILLEY                                         TX


                                                                       SOLOMON THOMPSON            GOLDEN CHOICE PACKAGE                                AL
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                                                                       ANGELA DENISE PATTON        GOLDENANGEL                                          AL


                                                                       FRANKIE                     GOODFELLAS                                           TX


                                                                       GERALD WAYNE GRAY           GRAY DIRT & GRAVEL LLC                               MS


                                                                       MICHELE D. COGBURN          GREENEST REALTY LLC                                  MS


                                                                                                   GRUICH EDUCATION SERVICE INC - WENDY GRUICH          MS


                                                                       ANNA RAMOS                  GT INVESTMENTS GROUP LLC                             MO


                                                                       LARRY TURNER                GULF COAST AIR & POWER, INC                          AL


                                                                       JAYE M. SHIRLEY             GULF COAST CONSTRUCTION PROPERTY MANAGEMENT INC      AL


                                                                       Phonekeo                    Gulf Coast Crab International Inc.                   AL


                                                                       EDWARD SCHENKEL             GULF COAST CYCLE, INC                                AL


                                                                       JUSTIN LANE                 GULF COAST FISHING AND CHARTER SUPPLY LLC            TX
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                                                                         HEIDI ANN SCHUBERT        GULF COAST LIQUIDATORS LLC                              MS


                                                                         CARL OLSEN                GULF COAST PRODUCTS & BIO-DIESEL LLC                    AL


                                                                         MARK SNODGRASS, JR.       GULF FORWARDING INC                                     MS


                                                                         CLARENCE MCBRIDE          GULFPORT THERMO KING SERVICE INC                        MS


                                                                         HOANG NGA DUONG           GULFWAY MART LLC                                        TX


                                                                         THOMAS O. HEBERT, JR.     H & H LLC OF BILOXI                                     MS


                                                                         STEVE HO                  H & V INC                                               MS


                                                                                                   HAI V VO, INDIVIDUALLY AND CAPT BRANDON                 TX


                                                                                                   HANH NGUYEN, INDIVIDUALLY AND DBA M/V ENTHA III         TX


                                                                                                   HANH NGUYEN, INDIVIDUALLY AND DBA MARIES SEAFOOD        TX
                                                                                                   HAROLD ELLIOT, INDIVIDUALLY AND ALL PROFESSIONAL
                                                                                                   SERVICES LLC                                            AL


                                                                                                   HAROLD PERKINS, INDIVIDUALLY                            AL


                                                                         WALTER HEARD              HEARD ROOFING & CONSTRUCTION CO                         AL


                                                                         AMITKUMAR PATEL           HEMAL R PATEL LLC dba PALACE INN                        TX


                                                        KEYES            HENRY                     HENRY KEYES, INDIVIDUALLY AND DBA KEYES AUTO DETAIL     MS
                                                                                                   HERMINIA GARCIA INDIVIDUALLY AND DBA BLUE MARLIN
                                                                         HERMINIA GARCIA           RESTAURANT                                              TX


                                                                                                   HIEP PHAM, INDIVIDUALLY AND DBA CINDYS HAIR AND NAILS   TX


                                                                         DERRICK A. HILL           HILL GROUP HOMES, LLC                                   AL


                                                                                                   HOA BINH PHAM, INDIVIDUALLY AND DBA CLASSIC NAILS       TX


                                                                                                   HOGAN STEEL ERECTORS - C H HOGAN                        TX


                                                                         MEYRA PACHECO             HONDURAS PARADISE RESTAURANT                            TX
                                                                                                   HULON E. MOTLEY, JR., INDIVIDUALLY AND DBA KAYLEES
                                                                                                   KASTLES                                                 AL


                                                                         HUNG LE                   HUNG LE, INDIVIDUALLY AND DBA STAR NAILS & SKIN CARE    MS


                                                                                                   HUNG THE TRINH, INDIVIDUALLY AND DBA QUEEN NAILS        AL


                                                                         JENNIFER HUNT             HUNT PROPERTIES LLC                                     AL


                                                                                                   HUYEN T BUI, INDIVIDUALLY AND DBA De Top Nails          TX
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                                                                         JON JUERGENSEN            INFINITY BLU DEVELOPMENT GROUP, LLC                     OH


                                                        Roberson         Patricia                  Investers Plus                                          MI


                                                                         JASON AND HOLLIE BAILEY   J AND H INVESTMENTS LLC                                 GA


                                                                         Nikki Tuyet Tran          J MARTIN SEAFOOD - NIKKI TUYEN TRAN                     TX


                                                                         TINA LOUISE GAZZIER       J.R. GAZZIER LLC                                        AL


                                                                         JEFF A WALLACE            JACKS AUTO AND AC REPAIR                                GA


                                                                         JACK SALANDER             JACK'S WATERCRAFT RENTALS, INC                          TX
                                                                                                   JAMES WENDELL LEE, INDIVIDUALLY AND DBA JW LEE
                                                                                                   COMPANY                                                 MS
                                                                                                   JAMES WILLIAMS, INDIVIDUALLY AND DBA COURVILLES
                                                                                                   PAINTING                                                AL


                                                                         LONG NGO                  JAPANESE IMPERIAL STEAKHOUSE                            AL


                                                                         JACK HEMMINGWAY           JBS Packing Company                                     TX
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                                                                       DAVID NGUYEN          JD'S SEAFOOD                                             TX


                                                                       JEFFREY C. FOX        JEFFREY FOX DBA SALTWATER FISH                           TX


                                                                                             JENNIFER NGOC PHAM, INDIVIDUALLY AND DBA JENNIFER PHAM TX


                                                                       CARL JENNINGS         JENNINGS MOTORSPORTS                                     AL


                                                                                             JENNY NGUYEN, INDIVIDUALLY AND DBA RAINBOW NAILS         TX
                                                                                             JERALD KEYES, INDIVIDUALLY AND DBA PERFECT TOUCH
                                                                       JERALD B KEYES        SALON                                                    MS
                                                                                             JERETT JOHNSON DBA X-TREME CONTRACTING LLC - JERETT
                                                                                             JOHNSON                                                  TX
                                                                                             JEROME LUCAS, INDIVIDUALLY AND DBA PERFECT STROKES
                                                                                             PAINTING AND REMODELING                                  AL


                                                                                             JESCO Construction Corp of Delaware - JOHN SHAVERS       MS


                                                                                             JESSICA L. RAUSCHER, INDIVIDUALLY                        NY


                                                                                             JIM ROBINSON, INDIVIDUALLY AND DBA J&K CHARTER FISHING   MS


                                                                       PEDRO ISAAC JIMENEZ   JIMENEZ & ASSOCIATES INC.                                AL
                                                                                             JIMMY PHILLIPS, INDIVIDUALLY AND DBA PHILLIPS REMODELING
                                                                                             & HOME REPAIR - JIMMY PHILLIPS                           AL
                                                                                             JOANNA NGUYEN, INDIVIDUALLY AND DBA TIC TAC NAILS HAIR N
                                                                                             TAN                                                      TX


                                                                       JULIE HOANG           JOHN & JULIE, INC                                        TX
                                                                                             JOHN MCCOVERY, INDIVIDUALLY AND DBA MCCOVERY
                                                                                             SEAFOOD                                                  AL


                                                                       LINA LE               JOHNS GRILL & SEAFOOD                                    TX


                                                                       SON M. HOANG          JOHNS SEAFOOD                                            TX


                                                                       SON MINH HOANG        JOHNS SEAFOOD                                            TX


                                                                                             JORGE LOPEZ, INDIVIDUALLY AND DBA SPI WINDSPORTS         TX
                                                                                             JOSEPH WRIGHT, INDIVIDUALLY AND DBA WRIGHT & SON
                                                                                             AQUATIC CONSTRUCTION                                     MA
                                                                                             JOSEPH WRIGHT, INDIVIDUALLY AND DBA WRIGHT & SON
                                                        WRIGHT         JOSEPH                AQUATIC CONSTRUCTION                                     AL


                                                                                             JOYCE POWE, INDIVIDUALLY AND DBA JADAS HAIR DESIGN       MS


                                                                       ART E. FOURIER        JUBILEE MANAGEMENT LLC                                   TN


                                                                       KRISTA GOODHART       JUST LIKE NEW OVERSPRAY MANAGEMENT INC                   MS


                                                                       JAMES W LEE           JW LEE COMPANY INC                                       MS
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                                                                       RODNEY HOLLOWELL      K & D CULTURED MARBLE INC                                MS


                                                                       BRENDA KING           K & W SECURITY LLC                                       AL


                                                                       TUNG TRAN             KAREN SEAFOOD MARKET                                     TX


                                                                       LAWRENCE BRISCOE      KC EXPRESS                                               AL


                                                                       KEITH REYNOLDS        KEITHS QUALITY POOLS INC                                 AL


                                                                                             KENNETH SESSIONS, INDIVIDUALLY AND D/B/A J&K CHARTER     TX
                                                                                             KENYON SMITH, INDIVIDUALLY AND DBA FOOD ON THE GOOO -
                                                                                             KENYON SMITH                                             AL
                                                                                             KHOAT DINH, INDIVIDUALLY AND DBA KHOATS MEAT GROCERY
                                                                                             & MARINE                                             TX
                                                                                             KIM MAI NGUYEN, INDIVIDUALLY AND DBA KIMS MARINE
                                                                                             FISHERMAN & SUPPLY                                       TX


                                                                                             KIM MY TRAN, TIC TAC NAILS AND SPA                       TX


                                                                                             KIM NGUYET THI NUYNH, INDIVIDUALLY AND DBA USA NAILS     AL
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                                                                       THACH KIM HUYNH       KIM TAI RESTAURANT                                     TX


                                                                       YOLANDA TAITE         KINE KARE SENIORS SERVICES                             MI


                                                                       SHARON KIRK           KIRK AND TEES TAX SERVICE                              AL


                                                        Klein          Frederick             Klein & Son Construction                               AL


                                                                       MAI JING WEN          KM MAK INC GREAT CHINA RESTAURANT                      TX


                                                                       CHARLES WINTERS       KNO-MARKS, LLC                                         MI


                                                                                             KOTOYAMA 1 KOTOYAMA 2 - TRUNG VAN TRAN                 TX
                                                                                             KRISTINA GARCIA INDIVIDUALLY AND DBA BLUE MARLIN
                                                                       KRISTINA GARCIA       RESTAURANT                                             TX


                                                                       BRIAN HEIMBACH        KTLB, INC.                                             TX


                                                                                             KUM NYO SONG, INDIVIDUALLY AND DBA SUE'S SUSHI         TX


                                                                       LAM GLICK             L & L GLICK LTD PARTNERSHIP                            OH


                                                                                             L & P MARINE - PHUC NGUYEN                             TX


                                                                       LANE GLICK            L&L GLICK LTD. PARTNERSHIP                             OH


                                                        RAMOS          SANTIAGO              LA FRAGATA RESTAURANT                                  TX


                                                        Ramos          Santiago              La Fragata Restaurant                                  TX


                                                        GUTIERREZ      FRANCISCO GUTIERREZ   LA JAIBA MEXICAN SEAFOOD GRILL                         TX


                                                                       Rymsky LaBat          LABAT EDUCATION GROUP PLLC                             MS


                                                                       CHRISTOPHER BERMOND   LAKESHORE AUTOMOTIVE LLC                               MS


                                                                       CLEVE LAMEY           LAMEY BROTHERS TRUCKING                                MS


                                                        DANH           LAN                   LAN DANH, INDIVIDUALLY AND DBA LOVELY NAILS            AL


                                                                       LARRY NGUYEN          LARRY NGUYEN, INDIVIDUALLY AND DBA H & L SEAFOOD       TX


                                                                       LATERICA ASHFORD      LATERICIA ASHFORD INDIVIDUALLY AND DBA HOOKIN YOU UP   MS


                                                                                             LE MARKET - MY THI HO                                  TX


                                                                                             LEONARD MOSS, INDIVIDUALLY AND DBA NMOSS CUSTOM        FL


                                                                       YOSHI ALEXANDER       LES ENFANTS CENTRE INC                                 TX


                                                                       JENNIFER MCBRIDE      LEVEL CONSTRUCTION, LLC                                MS
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                                                        NGUYEN         KEVIN                 LIEN SON                                               TX


                                                                                             LIEN THI HUYNH, INDIVIDUALLY AND DBA HOLLYWOOD NAILS   TX


                                                                       JESSI LY              LIL KIM N BIG H SEAFOOD N GROCERY                      TX
                                                                                             LINDA TRANG TRAN, INDIVIDUALLY AND DBA BUCCANEER
                                                                                             SEAFOOD                                                TX


                                                                       MIRANDA JONES         LITTLE AMBASSADORS LEARNING CENTER INC                 MS


                                                                       HENRY JONES           LITTLE ANGELS FAITH DEVELOPMENT CENTER                 TX


                                                                       KIMBERLY TUCKER       LITTLE DOUG INC                                        TX


                                                                       LOC THANH NGUYEN      LOC THANH NGUYEN, INDIVIDUALLY AND DBA OF US NAILS     AL


                                                                       RUBEN GIMENEZ         LOS GRINGOS INC                                        AL


                                                                       RUBEN GIMENEZ         LOS RANCHEROS INC                                      AL


                                                                       HUNG NGUYEN           LOVELY NAILS                                           MS
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                                                                                            LPP GROCERY INC. - THUC THI NGUYEN                     TX


                                                                                            LUCKY NGUYEN, INDIVIDUALLY AND DBA OF TIP TOP NAILS    MS


                                                                                            LUOC D NGUYEN, INDIVIDUALLY AND DBA OF LYNN NAILS      TX


                                                        LE             TROY                 M/V ANH VU                                             TX


                                                        Truong         Them                 M/V DECO VII                                           TX


                                                        HUYNH          THAM                 M/V Lady Agnes III                                     TX


                                                        Nghiem         Amy                  M/V LADY JENNIFER                                      TX


                                                        Tran           Hieu                 M/V Lucky Diamond                                      TX


                                                        TRAN           KHOE                 M/V MAI VAN                                            TX


                                                        Nguyen         Tony                 M/V ST FRANCIS                                         TX


                                                        Tran           Nancy                M/V STEPHANIE LEE                                      TX


                                                                       MACK LEWIS           MACK LEWIS CONTRACTOR INC - THOMAS MACK LEWIS          AL


                                                                       FRANKIE RANDAZZO     MADISONS                                               TX
                                                                                            MAGNALANA DABNEY INDIVIDUALLY AND DBA MAGNALANA
                                                                       MAGNALANA DABNEY     SERVICE                                                TX


                                                                       WANDA HASKELL        MAGNOLIA COAST STAGE CREW, LLC                         MS


                                                                       WILLIAM HOLDEN       MAGNOLIA PRINTING COMPANY                              MS


                                                                       CORNELIA BAILLEAUX   MAIN STREET SEAFOOD                                    TX


                                                                       ROBERT MCKINLEY      MAMBO SEAFOOD 1 INC                                    TX


                                                                       ROBERT MCKINLEY      MAMBO SEAFOOD 2 INC                                    TX


                                                                       ROBERT MCKINLEY      MAMBO SEAFOOD 3 INC                                    TX


                                                                       ROBERT MCKINLEY      MAMBO SEAFOOD 4 INC                                    TX


                                                                       ROBERT MCKINLEY      MAMBO SEAFOOD 5 INC                                    TX


                                                                       ROBERT MCKINLEY      MAMBO SEAFOOD 7 INC                                    TX


                                                                       ROBERT MCKINLEY      MAMBO TAQUERIA 1 INC                                   TX


                                                                       BRYANT MARAIST       MARAIST INVESTMENTS INC DBA DYLANS ON 9TH              TX


                                                                       BRYANT MARAIST       MARAIST PROPERTIES LLC                                 TX
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                                                                       BINH NGUYEN          MARIAS NAILS INC                                       AL


                                                                       GORDON BROWN         MARINE MANUFACTURING CORP                              MN


                                                                       ALBERT LIU           MARK IV REALTY CORPORATION                             MS


                                                                       MARTIN FASULLA       MARTIN G. FASULLA PAINTING CO LLC                      MS
                                                                                            MARY FRANCIS COLEMAN, INDIVIDUALLY AND DBA COLEMAN
                                                                                            GROUP HOME                                             MS


                                                                       MICHAL RYAN          MAW & PAWS CONCESSIONS                                 MS


                                                                       MARK COCHRAN         MC COCHRAN CONSTRUCTION LLC                            AL
                                                                                            MICHAEL FULLER, INDIVIDUALLY AND DBA OFF THE ROCK
                                                                                            SEAFOOD CONNECTION - MICHAEL DAVID FULLER              AL
                                                                                            MICHAEL YODER, INDIVIDUALLY DBA SAND DUNES INVESTMENT
                                                                       MICHAEL YODER        INC                                                   OH
                                                                                            MICHELLE COGBURN, INDIVIDUALLY AND GREENEST REALTY
                                                                                            LLC                                                    MS


                                                                                            MICHELLE NGUYEN, INDIVIDUALLY AND DBA OF ANGEL NAILS   MS
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                                                        DANG         MINH                MINH DANG, INDIVIDUALL AND DBA ROSES NAIL AND SPA        MS
                                                                                         MINNIE MEN TRAN INDIVIDUALLY AND DBA MINNIE BEAUTY
                                                                     MINNIE MEN TRAN     SALON                                                    TX
                                                                                         Mississippi Band of Choctaw Indians dba Choctaw Resort
                                                                                         Development Enterprise                                   MS


                                                                     DANNY NGUYEN        MLNNT INC DBA LAN QUICK STOP                             TX


                                                                                         MONICAS SITTER SERVICE - MONICA DENISE ANDERSON          AL


                                                                     BILLY MONROE        MONROE CARPET AND FURNITURE, INC.                        TX


                                                                     MICHAEL SCHULZ      MORNINGSTAR LLC                                          AL


                                                                     DUNG NGUYEN         MOTEL 9, INC.                                            TX


                                                                     MICHAEL DAGOSTINO   MPD CONTRACTORS LLC                                      MI


                                                                     TARA MURRELL        MURRELL TRUCKING INC                                     MS


                                                                                         MY LE NGO, INDIVIDUALLY AND DBA MYLE FAMILY HAIRCARE     TX


                                                                                         MY LE TRAN, MELE NAILS                                   AL


                                                                                         MY NGOC LAM, INDIVIDUALLY AND DBA LA NAILS               TX


                                                                                         N&V MARINE LLC                                           TX


                                                                                         NAI CHIN YU, INDIVIDUALLY AND DBA NEW WAN FU             AL


                                                                     MAI THI VU          NAIL DIAMOND                                             AL


                                                                     LAN THI NGUYEN      NAIL EXPRESS                                             AL


                                                                     ALEX HUYNH          NAIL-R-US                                                AL


                                                                     TRUNG NGUYEN        NAILS OF TEXAS INC dba NAILS & SPA OF TEXAS              TX


                                                                                         NEFETERIA PHELAN AND DBA SINGLE GAL CLEANING SERIVCE     AL


                                                                     Nellie Smith        NELLIE SMITH INDIVIDUALLY AND DBA CLEAN SWEEP            AL
                                                                                         NGHIA H. NGUYEN, INDIVIDUALLY AND DBA JV SEAFOOD OF
                                                                                         NEDERLAND                                                TX


                                                                     NGOC ANH NGUYEN     NGOC ANH NGUYEN, INDIVIDUALLY AND DBA D'S FOOD MART      AL


                                                                                         NGUYET T TRAN INDIVIDUALLY AND DBA NEDERLAND NAILS       TX


                                                                     NHAN THI TRAN       NHAN THI TRAN - DBA - TIME OUT GROCERY                   TX


                                                                                         NHUNG NGUYEN, INDIVIDUALLY AND DBA LEE NAILS             AL
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                                                                                         NORMAN BENEDICT, INDIVIDUALLY AND DBA OASIS TAQUERIA     TX


                                                                     LARRY SMITH         NORTH DELTA PROFESSIONAL SVCS                            MS


                                                                     VICTOR WATSON       O VICTOR LLC                                             AL


                                                                     MITCHELL ODOM       ODOMS AUTOMOTIVE REPAIR                                  MS


                                                                     KEVIN GRIER         OFF THE HOOK SEAFOOD INC                                 NY


                                                                     JOHN JUERGENSEN     OHIO HOLDINGS DEVELOPMENT GROUP, LLC                     OH


                                                                     JOSEPH FASOLA       ON ICE INC.                                              AL


                                                                     DAVID GILLIAM       ON THE WALL MASIONARY                                    MS


                                                                                         P&J Seafood LLC - Tuyen Hoang                            TX


                                                                     HUY TAN NGUYEN      PAIGE SEAFOOD                                            TX


                                                                     DUC KIM NGUYEN      PARKWAY COIN LAUDRY                                      AL
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                                                                        ARVA DWIVEDI             PASSPORT INN & SUITES                                    TX
                                                                                                 PATRICK M. KNUE, INDIVIDUALLY AND DBA K & K YACHT
                                                                                                 SERVICES                                                 AL
                                                                                                 PAUL THACH NGUYEN, INDIVIDUALLY AND DBA OF TK'S
                                                                                                 RESTAURANT                                               TX


                                                                        AUDRY WHITTED            PETES JANITORIAL SERVICES                                AL


                                                                        LARRY GENE PEYTON        PEYTON BOAT REPAIR INC                                   AL


                                                                        RAYMOND WARD             PHILADELPHIA BAPTIST CHURCH                              AL


                                                                        CLARENCE PHILLIPS, III   PHILLIPS AND ASSOCIATES                                  MS


                                                                                                 PHONG PHAM, INDIVIDUALLY AND DBA PORT CITY MUSIC         AL


                                                                                                 PHUC NGUYEN, INDIVIDUALLY AND DBA L & P MARINE SUPPLY    TX


                                                                                                 PHUONG KIM NGUYEN, INDIVIDUALLY AND DBA OF KIM'S NAILS   AL
                                                                                                 PHUONG THI MINH HUYNH, INDIVIDUALLY AND DBA QUEEN NAIL
                                                                                                 & HAIR                                                 TX


                                                                                                 PHUONG TRAN, INDIVIDUALLY AND DBA NAIL ENVY -            AL


                                                                                                 PHUONG TRI TRAN, INDIVIDUALLY AND Chloes Nail Spa        TX


                                                                        ROOSEVELT PIERRE         PIERRES MARDI GRAS CAFÉ                                  TX


                                                        RADLEY          DEBBIE                   PINCHERS RESTAURANT                                      TX


                                                                        RITEN PATEL              PRECISION HOSPITALITY LLC                                MS


                                                                        VIT NGUYEN               PRINCESS NAILS                                           AL


                                                                        SIDNEY CAVANAUGH         PROFESSIONAL POLISH INC                                  TX


                                                                        QUANG LU MAI             QUANG LU MAI INDIVIDUALLY AND DBA DT NAILS               TX


                                                                        KHOAT DINH               QUICK-SERV QUALITY MEATS                                 TX


                                                                                                 QUOC PHAN, INDIVIDUALLY AND DBA Q NAILS                  AL


                                                                        TED CONDREY              RAIN RESIDENTIAL INC                                     MS


                                                                        JONATHAN APPEL           RAINBOW USA INC                                          NY
                                                                                                 RANDY FOREMAN, INDIVIDUALLY AND DBA CAPT RANDY'S
                                                                                                 GUIDE SERVICE                                            TX


                                                                                                 RANDY TALLEY DBA TIE WALL CONSTRUCTION                   TX
                                                                                                 REGINALD SPENCER, INDIVIDUALLY DBA SPENCERS
                                                                                                 RESTAURANT/ GRILL                                        MS
                                                                                                 REGINALD SPENCER, INDIVIDUALLY DBA SPENCERS
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                                                        SPENCER         REGINALD                 RESTAURANT/ GRILL                                        MS
                                                                                                 RICHARD NGUYEN, INDIVIDUALLY AND DBA OF GOLDEN
                                                                                                 CROISSANT                                                TX


                                                                        CARITA RULE              RITAS BEAUTY SHOP                                        MS


                                                                        TAN PHUNG                RO SEAFOOD                                               TX


                                                                        ROBERT SIRVELLO          ROBERT SIRVELLO INDIVIDUALLY AND DBA BOBS BAY FISHING    TX


                                                                                                 RON NGUYEN, INDIVIDUALLY AND DBA OF CITY FENCE CO.       TX


                                                                                                 ROOSEVELT SPIVEY, INDIVIDUALLY DBA RTS FISH SUPPLIERS    AL


                                                                        TRACY HONEA              RP804 LLC                                                AL


                                                                                                 RUEL ADAMS, INDIVIDUALLY AND DBA JR BEACH CAB            AL
                                                                                                 RYAN THODE, INDIVIDUALLY AND DBA PACIFIC STONE &
                                                                                                 MARBLE                                                   MS


                                                                        Richard W Henderson      S & H CONTRACTING - WAYNE HENDERSON                      AL
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                                                                      MARK BEARD             SABINE UNIVERSAL PRODUCTS INC                            TX


                                                                      RUBEN GIMENEZ          SABOR-A-MEXICO INC                                       AL


                                                                      -TRANG NGUYEN          SAIGON ASIAN MARKET & CAFÉ                               TX


                                                                      YEN THA TA             SAIGON MARKET                                            TX
                                                                                             SAMANTHA HILL, INDIVIDUALLY AND DBA FIRST LADY OF AUTO
                                                                                             DETAILING                                                MS


                                                                      RYAN CAVER             SANDY BOTTOM SURF COMPANY                                AL


                                                                      SARAH JANUARY          SARAHS BAKERY                                            TX


                                                                      EMMILY SUMMERS         Sartins West-Beaumont                                    TX


                                                                      MITCHELLS SCRUGGS      SCRUGGS FARM, LAWN & GARDEN                              MS


                                                                      MINH NGOC CAO DO       SCRUPLES HAIR NAILS & TAN                                AL


                                                                      SAMUEL VICKROY         SCV QUALITY SOLUTION LLC - SAMUEL VICKROY                AL


                                                                      BRIAN                  SEA RANCH CAFÉ                                           TX


                                                                      MARK TYLER             SEAFOOD CENTER INC                                       GA


                                                                      STEVE NGUYEN           SEAFOOD ENTERPRISE INC.                                  TX


                                                                      STEPHEN WHITE          SEAFOOD LOVER INC                                        TX


                                                                      RAYMOND MEEK           SEAQUEST DIVING SERVICE                                  MS


                                                                      Colleen Kleibert       SEA-TECH SERVICES INC                                    TX


                                                                      ALICIA ROWE            SECOND HAND ROWES RESALE SHOP                            AL


                                                                      ROSELYNE VERTIL        SERENETY HOME ASSISTED CARE LIVING                       TX


                                                                      SEREY HUON             SEREY HUON INDIVIDUALLY AND DBA US NAILS                 AL


                                                                      JUDITH MILLER          SGI LAND COMPANY LLC                                     TX
                                                                                             SHANE CHESSON INDIVIDUALLY AND DBA GET DA NET
                                                                      SHANE CHESSON          ADVENTURES                                               TX


                                                                      MYLES HARRIMAN JR      SHINY BOTTOMS DIVING SERVICES                            FL


                                                                      ARVIND PATEL           SHIVAM, INC DBA FOUR POINTS SHERATON                     TX


                                                                      RICHARD RANDOLPH       SIRRAN HOLDINGS INC DBA RAVENS RESTAURANT                GA


                                                                      THANH THANH NGUYEN     SIZZILIN SEAFOOD                                         TX
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                                                                      JAMES MONROE RUSSELL   SKEETBALL INVESTMENTS INC                                GA


                                                                      JERRY LABOVE           SLIKS CAR WASH                                           TX


                                                        SMITH         ROGER                  SMITH CONSTRUCTION CO                                    MS


                                                                      SOHAN LAL              SOHAN LAL INDIVIDUALLY AND DBA FREPORT IN TX             TX


                                                                                             SON PHAM, INDIVIDUALLY AND DBA ROYAL NAILS               AL
                                                                                             SOUTH CHINA RESTAURANT, INC DBA OSAKA JAPANESE
                                                                      ZHONG CHEN             STEAKHOUSE -                                             AL


                                                                      DON MYRICK             SOUTH COAST CONTRACTING -                                MS


                                                                      ROBERT LISENBY         SOUTHERN USA TURF LLC                                    FL


                                                                      MARY CRAIG             STARCO INDUSTRIES INC                                    GA
                                                                                             STEPHANIE MAY, INDIVIDUALLY AND DBA MAST PRODUCTION,
                                                                                             LLC                                                      MS


                                                                      ERNEST STEPHENS III    STEPHENS REAL ESTATE AND ASSOCIATES                      GA
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                                                                      TINA BAKER               STONE ILLUSIONS INC DBA THE PATIO                         TX


                                                                      WILLIAM MCQUILLEN        SUN WORLD INC                                             AL


                                                                                               SUONG DO, INDIVIDUALLY AND DBA D LOVELY NAILS             TX


                                                                      SY LE                    SY LE M/V MASTER ANTHONY                                  TX


                                                                      JAMEE MOYE BARNARD       T & M ENTERPRISES                                         GA


                                                                      ANTONIO ANTWAN TALTON    TALTON -                                                  AL


                                                                                               TAM V LE, INDIVIDUALLY AND DBA OF TAMS AUTOMOTIVE         TX


                                                                                               TAMMY NGUYEN, INDIVIDUALLY AND DBA DOLLAR SUPREME         TX


                                                                      THOMAS TAYLOR            TAYLOR MASON DEVELOPMENT CO. LTD                          MS


                                                        STEPHENSON    ELLYN                    TGS Charter                                               GA


                                                                                               THAI THOI NGUYEN, INDIVIDUALLY AND DBA NANCYS NAILS       TX


                                                                                               THANH DUY PHAN, INDIVIDUALLY AND DBA FOXY NAILS           AL


                                                                                               THANH TRIEU TRUONG, INDIVIDUALLY AND DBA NAILS ART        TX


                                                                                               THANH VAN NGUYEN, INDIVIDUALLY AND DBA T&T NAILS          AL


                                                                      JESSICA BUTTS            THE BOARDWALK CAFÉ                                        AL


                                                                      JODY JORGENSON           THE BOAT RAMP                                             TX


                                                                      BENJAMIN T BLOODWORTH    THE COASTLINE GROUP LLC                                   MS


                                                                      JON JUERGENSEN           THE ESTATE OF NATHAN GLICK                                OH


                                                                      MARK LAFONTAINE          THE GALLERY LLC                                           MS


                                                        HUANG         GEORGE                   THE GRAND HOTEL INC - GEORGE HUANG                        TX


                                                                      RICHARD KEY              The Key Hole Outdoors LC                                  TX
                                                                                               THE NAIL LOUNGE INC dba VIP NAIL LOUNGE AND SPA - TRUNG
                                                                      TRUNG QUY NGUYEN         Q NGUYEN                                                TX


                                                                                               THELMA BUXTON DBA THELMA HAIR SALON                       MS


                                                                                               THOMAS JOHNSON, INDIVIDUALLY AND DBA JOHNSON AGENCY AL


                                                                      THOMAS TRAN              THOMAS TRAN INDIVIDUALLY AND DBA TRANS NET SERVICES       TX


                                                                                               THU THI CHAU INDIVIDUALLY AND DBA HOT NAILS               TX
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                                                                                               THUHA VO, INDIVIDUALLY AND DBA ROSS BRIDGE NAIL SPA       AL


                                                                                               THUY H. NGUYEN, INDIVIDUALLY AND DBA ISLAND LIQUOR        TX
                                                                                               THUY NGA THI PHAN, INDIVIDUALLY AND DBA CLIPPIN DALES &
                                                                                               DOLLS                                                     AL
                                                                                               TIM CRAWFORD, INDIVIDUALLY AND DBA CRAWFORD
                                                                                               CONSTRUCTION                                              FL


                                                                                               TINT MASTERS AND AUTO SALES INC - THU HUYNH               AL


                                                                      THU TO HUYNH             TINT MASTERS AUTO SALES INC.                              AL


                                                                      ANTHONY JOSEPH TERMINE   TJS CORNER MARKET                                         AL


                                                                                               TL & S Corporation - Hieu Tran                            TX


                                                                      JOSEPH GAUCI             TOARMINAS PIZZA                                           MS


                                                                                               TOMMY VEDROS, INDIVIDUALLY AND DBA H&R AUTO REPAIR        AL


                                                                      Tommy Bui                Tommys Gulf Seafood Inc.                                  TX
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                                                                      HANH THI NGUYEN         TOP NAILS                                              TX


                                                                      CHRIS LOWELL MONTEE     Total Electronics                                      AL


                                                                      TRACIE HALL             TRACIES NANNY SERVICE                                  AL


                                                                                              TRAN NAIL GROUP INC – HAPPY NAILS – HAI TAN TRAN       AL


                                                                      Issa Habas              Tri Texas Furniture Wholesalers                        TX


                                                                      ELMER BARNETT           TROPHY MARINE LLC                                      AL


                                                                      MARK SAMPSON            TROPICAL DUNES INVESTMENT                              OH


                                                        RITZ          GILBERT                 TROUT STREET BAR & GRILL INC - GILBERT RITZ            TX


                                                                      TRUONG XUAN VU          TRULO COMPANY INC                                      AL


                                                        LAM                                   TRUNG D LAM, INDIVIDUALLY AND DBA HIGH TECH NAILS      TX


                                                                                              TRUNG NGUYEN, INDIVIUALLY VM NAILS & SPA               TX
                                                                                              TRUNG QUY NGUYEN, INDIVIDUALLY VIIP NAIL LOUNGE AND
                                                                                              SPA                                                    TX


                                                                      BUDDY SHARPE            TRUWOOD CABINETS INC                                   AL


                                                                      TRUYEN THI BUI          TRUYEN THI BUI - DBA - TINAS NAILS                     AL


                                                                      BOBBY RITTINGHOUSE      TRY ME AUTO SALES INC                                  AL


                                                                      MITCHELL MASSEY         TUPELO ORTHOPEDIC CLINIC                               MS


                                                                                              TUYET B LE, INDIVIDUALLY AND DBA OF MADISON NAILS      TX


                                                                                              TUYET TINA TU, INDIVIDUALLY AND DBA NICE NAILS & SPA   TX


                                                                      VICTORIA FRAISE         TWO SISTERS CREOLE KITCHEN                             MS


                                                                      ANDRE MCCOO             TYTAN SECURITY SERVICES LLC                            AL


                                                                      VICTORIA BACH           UNITED TECHNICAL CONSULTANTS INC                       TX


                                                                      VAN BUI                 VAN T BUI INDIVIDUALLY AND DBA PHO HAIVAN RESTAURANT   TX


                                                                      WANDA VERGO             VERGOS REALTY                                          AL
                                                                                              VICTOR BARRERO, INDIVIDUALLY AND DBA BAY FISHING GUIDE
                                                                                              SERVICE                                                TX


                                                                      HUAN NGUYEN             VIEN DONG RESTAURANT                                   TX


                                                                                              VIET HUU TRAN, INDIVIDUALLY AND DBA CALI NAILS         TX
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                                                                      HUE KHONG THICH         VIHARA MINH KHONG BUDDHIST, INC                        AL


                                                                                              VU DIEM TRAN -8-M DIESEL PART & SERVICE                TX


                                                                                              VU THANH DUONG AND DBA SHOP ON WHEELS                  TX


                                                                      WALLACE TAYLOR          VW TAYLOR INC                                          MS


                                                        SMITH         MARK                    WAYBURNS TIRE & AUTO LLC                               MS


                                                                      KYRT MATTHEW WENTZELL   WENTZELL INNOVATIONS \ DBA \CHUM CHUM                  MS


                                                                      PATRICK MARCHAN         White Sands Motel Marina & Restaurant Inc              TX


                                                                      YANCY GENE GUIDRY SR    WHO DAT TOWING INC                                     MS


                                                                      LARRY ALTON BOND        WIGGINS INSURANCE AGENCY INC                           MS


                                                                                              WILLIAM HUA, INDIVIDUALLY AND DBA J K NAILS            TX


                                                                      ROBERT JEFFERSON        WILLY WONKA INCORP                                     CA
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                                                                                           WILSON DRIVE LLC - WALTER HEIGLE                      MS


                                                                         CHARLES WILSON    WILSONS LANDSCAPING                                   AL


                                                                         DENNIS TIBBS      WIRELINE MANAGEMENT INC                               TX


                                                                         ANNIE TRAN        WORLD NAILS AND TANNING                               AL


                                                        YAN YIN LO       YAN YIN LO        YAMATO JAPANESE SEAFOOD STEAKHOUSE - YAN YIN LO       TX


                                                                                           YEN NGUYEN, INDIVIDUALLY AND DBA NICK'S MARKET        TX
                                                                                           YEN THI TRUONG, INDIVIDUALLY AND DBA FASHION HAIR &
                                                                                           NAILS                                                 AL


                                                                         PETE ZOVATH       ZOVATH INDUSTRIES INC                                 TX


                                                        AGUAYO           UBALDO                                                                  TX


                                                        AGUILAR          ANTONIO                                                                 TX


                                                        AGUILAR          JOSE                                                                    TX


                                                        ALCANTOR         LETICIA                                                                 TX


                                                        Aldape           Edgar                                                                   TX


                                                        ALDAPE           CIRO                                                                    TX


                                                        ALMEIDA          MARGARITA                                                               TX


                                                        ALVAREZ          RICARDO                                                                 TX


                                                        Avila            Artoro                                                                  TX


                                                        AZUARA           FEDERICO                                                                TX


                                                        BADILLO          RAMON                                                                   TX


                                                        BARBER           VIRGINIA                                                                MS


                                                        Barrera          Matilde                                                                 TX


                                                        BARTON           KATELYNN                                                                MS


                                                        BATES            SHANTELL                                                                AL


                                                        BATSON           KATHERINE                                                               LA


                                                        BIFFLE           TAMMY                                                                   TX


                                                        BOLONI           BOGDAN                                                                  MS
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                                                        BREWINGTON       JANAN                                                                   MS


                                                        CABRERA          JUAN                                                                    TX


                                                        CANO             OFELIA                                                                  TX


                                                        CARBALLIDO       ABRAHAM                                                                 TX


                                                        CARVER           EDWARD                                                                  MS


                                                        CHAVERS          DANIELLE                                                                AL


                                                        Coleman          Antwaun                                                                 AL


                                                        COSPELICH        SCOTT                                                                   MS


                                                        CRAIN            HERBERT                                                                 MS


                                                        CRUZ             BEATRIZ                                                                 TX


                                                        Cruz             Juan                                                                    Tx
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                                                        Davis            Todd                                              Al


                                                        DAW              RODNEY                                            AL


                                                        FARRIS           ROY                                               TX


                                                        FLORES           JORGE                                             TX


                                                        GALAVIZ          JOSE                                              TX


                                                        GALVAN           ROBERTO                                           TX


                                                        GALVAN           NICOLAS                                           TX


                                                        GARCIA           EDIVERTO                                          TX


                                                        HAGGSTROM        MARIA                                             TX


                                                        HEIM             JEREMIAH LEE                                      AL


                                                        HERNANDEZ        CARLOS                                            TX


                                                        HERNANDEZ        EUNICE                                            TX


                                                        HERNANDEZ        JEHPTE                                            TX


                                                        HERNANDEZ        RUFINO                                            MS


                                                        HOOKS            ROGER                                             AL


                                                        HUNT             MORGAN                                            AL


                                                        ISTRE            JOSEPH                                            TX


                                                        JOHNSON          CURTIS                                            TX


                                                        JOHNSON          SHIRLEY                                           MS


                                                        JONES            TWANDA                                            MS


                                                        LARA             LUCIO                                             TX


                                                        LINDER           MICHAEL                                           MS


                                                        LINDER           JEREMY                                            TX


                                                        LIZANA           LAUREN                                            TX


                                                        MAGEE            RICHARD                                           TX


                                                        Mahan            Tanjanika                                         AL
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                                                        MARTINEZ         GUADALUPE                                         TX


                                                        MARTINEZ         ANDY                                              TX


                                                        MCKINNIS         GREGORY                                           TX


                                                        MEJIA            NELSON                                            TX


                                                        MILLER           SELENA                                            AL


                                                        MORALES          HERLINDA                                          TX


                                                        NORMAN           BRADLEY                                           MS


                                                        OLIVARES         MIGUEL                                            TX


                                                        OLLISON          LINDA                                             AL


                                                        ORTIZ            CARLOS                                            TX


                                                        PENA             FRANCISCO                                         TX
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                                                        PEREZ             OLIVIA                                             TX


                                                        PEREZ             JUAN                                               TX


                                                        PONTHIEUX         KEVIN                                              MS


                                                        POZSONI           MARIA                                              MS


                                                        POZSONI           ADRIAN                                             MS


                                                        PRATT             RACHAEL                                            MS


                                                        RAMIREZ           ISABEL                                             TX


                                                        RAMIREZ           ALFREDO                                            TX


                                                        Reese             Darrylyne                                          AL


                                                        RINCKEY           BRITTANY                                           MS


                                                        RODEA             ROSA                                               TX


                                                        RODEA             MONICA                                             TX


                                                        RODRIGUEZ         SALVADOR                                           TX


                                                        ROJAS             ADOLFO                                             TX


                                                        RUIZ              VICTOR                                             TX


                                                        SANCHEZ           MARCELINO                                          TX


                                                        SANDERS           KEVIN                                              MS


                                                        SANDOVAL          SATURNINO                                          TX


                                                        SANDOVAL          SANTIAGO                                           TX


                                                        SANDOVAL          MARIA                                              TX


                                                        SANTIAGO          BRIAN                                              MS


                                                        SERRANO           JOAQUIN                                            TX


                                                        SERVIN            ALEJANDRO                                          TX


                                                        SOLIMO            MARIO                                              MS


                                                        TANNER            JESSE                                              TX


                                                        TEE               JOHN FRANKLIN                                      MS
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                                                        TEE               JOHN                                               MS


                                                        TORRES            JORGE                                              TX


                                                        TROTTER           DANIELLE                                           MS


                                                        VELAZQUEZ         MARK                                               TX


                                                        VELEZ             ARNUFLO                                            TX


                                                        Abbott            Frelon            Allstate Insurance CO.           AL


                                                        Ainsworth         Maurice                                            MS


                                                        Alrimawi          Majdi             DNM Gear, Inc. (Nouveau)         AL


                                                        Anderson          Joseph                                             MS


                                                        Baker             Michael M.                                         AL


                                                        Beard             Milton            TEMCO Corp.                      AL
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                                                        Bekheit               Ayman M.                                                             CA


                                                        Bell Benca            Shemika L.                                                           MS


                                                        Berthelot             Anthony             SMI Inc.                                         MS


                                                        Blackston Westbrook   Jenny               United States Postal/ Janitoral/ Bobbie Carter   AL


                                                        Bounds                Molly               Molly Bounds                                     AL


                                                        Brosnick              William             Workingman's Accounting Services                 AL


                                                        Brosnick              William             Workingman's Accounting Services                 AL


                                                        Broughton             Rodney                                                               AL


                                                        Brown                 Lamar R.            Austaul USA                                      AL


                                                        Brown                 Gordon              Marine Manufacturing                             MN


                                                        Brown                 Gordon              Weeres Industries                                MN


                                                        Brown                 Gordon              Palm Beach Marinecraft                           MN


                                                        Brown                 Gordon              Clearwater Marine                                MN


                                                        Brown                 Gordon              Northport Corp.                                  MN


                                                        Bruton                Joseph A.                                                            AL


                                                        Bryant                Terrance                                                             MS

                                                        Catrett               Thomas                                                               AL


                                                        Catrett               Thomas                                                               AL


                                                        Causey                Alphonse                                                             AL


                                                        Chaison               Dana Scott                                                           AK


                                                        Cola                  Anthony                                                              TX


                                                        Crawford              Richard             Jordan Pile Driving, Inc.                        AL


                                                        Dale Jr               Paul                                                                 AL


                                                        De Vito               Peter               Naples‐fort Meyers Greyhound Track               NY


                                                        Desilva               Shameka L.                                                           AR


                                                        Donald                Harriet Charlesta                                                    AL
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                                                        Duncan                Sandra                                                               AL


                                                        Duncan                Sandra                                                               AL


                                                        Easly                 Corey                                                                tx


                                                        Edwards               Barbara             Hollywood Casino Tunica                          MS


                                                        Fechtler              Kenneth R.          Veolia Environmental Services                    TX


                                                        Fennell               Lauren              Mc Donalds                                       MS


                                                        Flecker               Kelly               Bookit.com                                       IN


                                                        Goldsby               Charles                                                              AL

                                                        Green                 Arnold                                                               TX


                                                        Green                 Arnold                                                               TX

                                                        Griffith              Rosia                                                                AL
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                                                        Griffith            Rosia                                                          AL

                                                        Harloe              Deborah           Harloe Insurance                             MS


                                                        Harloe              Deborah A.        Harloe Insurance                             MS


                                                        Harris              Marcus                                                         CA


                                                        Harris              Annie R.                                                       MS


                                                        Hernandez           Carlos            Florida Marine Transportation                TX


                                                        Hibben              Travis                                                         TX


                                                        Hill                Christopher       CD HILL SERVICES,INC.                        AL


                                                        Horace              Ishmael H.        Ruby Tuesday                                 AL


                                                        House               Quineisha M.      B&C Trucking                                 AL

                                                        Johnson             Leonard           Thomasville/Wilson Timber Cp. LLC            AL


                                                        Joiner              Diann                                                          MS


                                                        Jones               Tiffany                                                        OH


                                                        Jones               Ronnie                                                         AL


                                                        Jones               Edward F.                                                      MS


                                                        Kentor              George            daybrook fisheries                           MS


                                                        Kopf III            Milton A.                                                      AL


                                                        Lee                 Dexter                                                         AL

                                                        Lee                 Willie                                                         MS


                                                        Lee                 Maurice                                                        AL


                                                        Lee                 Willie                                                         MS


                                                        Lewis               Deandra                                                        AL


                                                        Lindley             Leslie                                                         MS


                                                        Luikart             Francis


                                                        Martino             Judy              Toddler Town Daycare                         MS


                                                        Matias              Abigael                                                        MS
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                                                        McCants             Alvin C.                                                       AL


                                                        Mcdonald            Teresa            GLADYS HAIR CARE                             AL


                                                        Mcgrue              Albert            Chuck Stevens Automotive                     AL


                                                        Mckinley            Jodie K.                                                       AL


                                                        Moffett             Tina              Alabama Star Docks                           AL


                                                        Moore               John                                                           AL


                                                        Moore               John K.                                                        AL


                                                        Moore               Darrell           Coastal Door & Window                        AL


                                                        Morris              Christopher N.    The Lideres Group, Inc. D/b/a Gcp Manpower   AL


                                                        Morrissette         Tameika M.                                                     AL


                                                        Neville             Carlos                                                         MA
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                                                        Nguyen               Long                                               MS


                                                        Norsworthy           Stephen                                            MS


                                                        Olivier              Donavon K.                                         MS


                                                        Peoples              Gregory                                            AL


                                                        Peoples              Isabella          Wingate Bellnigrath Gardens      CA


                                                        Perkins, Jr.         Harold                                             AL


                                                        Pettway              Lafrance          Pipeline Company                 AL


                                                        Pierce               Kevin             Kenneth Lawncare & Landscaping   AL


                                                        Pipkins              William           William Pipkins                  MS


                                                        Poole                James                                              AL


                                                        Prejean              Justin                                             MS


                                                        Preston              Stanley                                            TX


                                                        Rachuba              Keith                                              MS


                                                        Rankins              Bettye                                             MS


                                                        Richardson           Michael L.                                         MS


                                                        Rivera Rosario       Ernesto                                            PR


                                                        Robbins              Tony                                               AL


                                                        Salazar              Raymundo                                           TX


                                                        Sampson              Curtis            Modern Homes and Equipment Co.   AL


                                                        Sanchez Arriaga      Benito                                             AL


                                                        Sanders              Robert                                             TX


                                                        Sanford              Larry                                              TX


                                                        Saucier              Bobby                                              MS


                                                        Schenkel             Edward                                             MI


                                                        Schofield            Keith L.          Keith Schofield                  MS


                                                        Scott                Thomas            Bryant Bank                      AL
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                                                        Seton Jr.            Robert                                             TX


                                                        Shannon              Lacheryl D.                                        MS

                                                        Smith                William                                            MS


                                                        Smith                Lacey                                              TX


                                                        Smith                Benjamin          Caldive International            MA


                                                        Smith                William                                            TX


                                                        Stallworth           Latrice                                            AL


                                                        Streeter             Alphonso L.                                        AL


                                                        Strickland           Robert            SSA Developers                   AL


                                                        Tenorio              Dina              Legacy Offshore LLC              GU


                                                        Thomas               Nakia                                              MS
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                                                                                                                   "EXHIBIT A"


                                                        Tice Jr.           Vernon A.                                             AL


                                                        Tillman            Ashley D.                                             MS


                                                        Todd               Wilton J.          Triton Diving Services, LLC        AL


                                                        Torres             Leonardo                                              MS


                                                        Tracy              Carroll                                               TX


                                                        Tran               Vinh                                                  MS


                                                        Villa Ii           David A.                                              AL


                                                        Walker Jr.         William Franklin   Hornbeck Offshore                  TN


                                                        Williams           Marty                                                 TX


                                                        Williams           Judy                                                  MS

                                                        Wills              Anthony            fitzgeralds casino                 MS


                                                        Wills              Anthony            fitzgeralds casino                 MS


                                                        Womack             Orenthal                                              AL


                                                        Wood               Michael W.                                            AR


                                                        Wyatt              Phillip G.                                            MS
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                                                                                                                                  By: fatima Y. Rodriguez

                                                                                   CAUSE NO. 2013-23575


                                                    LINDA TRANG TRAN, ET AL.    §                  IN THE DISTRICT COURT OF
                                                    Plaintiffs                  §
                                                                                §
                                                    v.                          §
                                                                                §                    HARRIS COUNTY, TEXAS
                                                    BP EXPLORATION & PRODUCTION §
                                                    INC. , ET AL.               §
                                                    Defendants                                       189TH JUDICIAL DISTRICT
                                                                                §


                                                        DEFENDANTS BP EXPLORATION & PRODUCTION INC., BP AMERICA
                                                     PRODUCTION COMPANY AND BP CORPORATION NORTH AMERICA INC.’S
                                                                           ORIGINAL ANSWER


                                                            Defendants BP Exploration & Production Inc., BP America Production Company

                                                    and BP Corporation North America Inc. (“BP” or “Defendants”) file this Original

                                                    Answer in response to Plaintiffs’ Original Petition.

                                                            Defendants assert a general denial as authorized by Rule 92 of the Texas Rules of

                                                    Civil Procedure, and request that Plaintiffs be required to prove the charges and

                                                    allegations contained in their petition by a preponderance of the evidence.

                                                            WHEREFORE, PREMISES CONSIDERED, Defendants pray that upon final
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                                                    hearing the Court enter judgment that Plaintiffs take nothing and that Defendants be

                                                    awarded their costs of court and such other and further relief to which they may be

                                                    justly entitled.




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                                                                                           Respectfully submitted,

                                                                                           /s/ Thomas W. Taylor
                                                                                           Thomas W. Taylor
                                                                                           Texas State Bar No. 19723875
                                                                                           Georgia L. Lucier
                                                                                           Texas State Bar No. 24043523
                                                                                           ANDREWS KURTH LLP
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                                                                                           Houston, Texas 77002
                                                                                           Telephone: (713) 220-4200
                                                                                           Facsimile: (713) 220-4285
                                                                                           ttaylor@andrewskurth.com

                                                                                          J. Andrew Langan, P.C.
                                                                                          Texas Bar No. 24066576
                                                                                          KIRKLAND & ELLIS LLP
                                                                                          300 North LaSalle Street
                                                                                          Chicago, IL 60654
                                                                                          Phone: 312.862.2000
                                                                                          Fax: 312.862.2200
                                                                                          andrew.langan@kirkland.com

                                                                                           ATTORNEYS FOR DEFENDANTS
                                                                                           BP EXPLORATION & PRODUCTION
                                                                                           INC., BP AMERICA PRODUCTION
                                                                                           COMPANY, AND BP CORPORATION
                                                                                           NORTH AMERICA INC.
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                                                                                 CERTIFICATE OF SERVICE

                                                          This is to certify that a true and correct copy of the above and foregoing has been
                                                    forwarded to counsel of record pursuant to the Texas Rules of Civil Procedure on this
                                                    6th day of June, 2013.

                                                            Brent W. Coon
                                                            Eric W. Newell
                                                            Brent Coon & Associates
                                                            215 Orleans
                                                            Beaumont, Texas 77701


                                                                                                   /s/ Georgia L. Lucier
                                                                                                   Georgia L. Lucier
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                                                                                                                                                      By: fatima Y. Rodriguez
                                                                                            Cause No. 2013-23575

                                                    LINDA TRANG TRAN, INDIVIDUALLY AND                          §     IN THE DISTRICT COURT OF
                                                    D/B/A BUCCANEER SEAFOOD, ET AL.                             §
                                                                                                                §
                                                            Plaintiffs,
                                                                                                                §
                                                    v.                                                          §
                                                                                                                §
                                                    BP EXPLORATION & PRODUCTION, INC., BP
                                                    AMERICA PRODUCTION COMPANY, BP
                                                                                                                §
                                                                                                                §     HARRIS COUNTY, TEXAS
                                                    CORPORATION NORTH AMERICA, INC., BP
                                                                                                                §
                                                    PLC, TRANSOCEAN OFFSHORE
                                                                                                                §
                                                    DEEPWATER DRILLING, INC, TRANSOCEAN
                                                                                                                §
                                                    HOLDINGS, LLC, TRANSOCEAN
                                                                                                                §
                                                    DEEPWATER, INC. TRANSOCEAN LTD.,
                                                                                                                §
                                                    TRITON ASSET LEASING GMBH,
                                                                                                                §
                                                    HALLIBURTON ENERGY SERVICES, INC.
                                                    AND SPERRY DRILLING SERVICES
                                                                                                                §
                                                                                                                §     189TH JUDICIAL DISTRICT
                                                            Defendants.

                                                           HALLIBURTON ENERGY SERVICES, INC.'S ORIGINAL ANSWER

                                                    To the Honorable Judge of Said Court:

                                                            Defendant Halliburton Energy Services, Inc. 1 ("HESI") files this its Original

                                                    Answer to Plaintiffs Original Petition and would respectfully show the Court as follows:

                                                                                               Original Answer

                                                             1.      Pursuant to Texas Rule of Civil Procedure 92, HESI generally denies each

                                                    and every, all and singular of the allegations contained in Plaintiffs Original Petition, and

                                                    demands that Plaintiff be required to prove her claims by a preponderance of the

                                                    evidence.
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                                                            2.        HESI reserves the right to amend its answer as permitted by the Texas

                                                    Rules of Civil Procedure.

                                                             WHEREFORE, Defendant Halliburton Energy Services, Inc. respectfully prays

                                                    that Plaintiff take nothing by this suit, and that Defendant Halliburton Energy Services,


                                                    1
                                                      Sperry Drilling Services ("Sperry"), has been improperly named as a defendant in this matter. Sperry was
                                                    dissolved in October 1997 and its assets and liabilities were ultimately transferred to HESI in January 1999.
                                                    Today, Sperry operates as a product service line ofHESI, not as a separate legal entity or division. To the
                                                    extent an appearance is possible, Sperry joins in HESI's Rule 92 General Denial.

                                                    HALLIBURTON ENERGY SERVICES, INC.'S ORIGINAL ANSWER                                             PAGE 1 OF4
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                                                    Inc. recover all costs, together with such other and further relief to which it may show

                                                    itself justly entitled to receive both at law and in equity.
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                                                    HALLIBURTON ENERGY SERVICES, INC.'S ORIGINAL ANSWER                           PAGE20F4
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                                                                                               Respectfully Submitted,

                                                                                               GODWIN LEWIS PC

                                                                                               By: /s/ Donald E. Godwin
                                                                                               Donald E. Godwin
                                                                                               Attorney-in-charge
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                                                                                               State Bar No. 24032277
Certified Document Number: 56252073 - Page 3 of 4




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                                                                                               Facsimile: 713.425.7594

                                                                                               ATTORNEYS FOR DEFENDANT
                                                                                               HALLIBURTON ENERGY SERVICES,
                                                                                               INC.




                                                    HALLIBURTON ENERGY SERVICES, INC.'S ORIGINAL ANSWER                    PAGE3 OF4
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                                                                                 CERTIFICATE OF SERVICE

                                                           I hereby certify that on this 7th day of June, 2013 a copy of the foregoing
                                                    pleading was filed with the clerk of this Court. Notice of this filing will be sent to all
                                                    counsel of record viaE-Filing or facsimile.

                                                    Brent W. Coon
                                                    Eric W. Newell
                                                    BRENT COON & ASSOCIATES
                                                    215 Orleans
                                                    Beaumont, TX 77701
                                                    Facsimile 409.835.1912

                                                                                                 Is/ Donald E. Godwin
                                                                                                 Donald E. Godwin
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                                                    HALLIBURTON ENERGY SERVICES, INC.'S ORIGINAL ANSWER                            PAGE40F4
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     I, Chris Daniel, District Clerk of Harris
     County, Texas certify that this is a true and
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     Witness my official hand and seal of office
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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

LINDA TRANG TRAN,                                        §
INDIVIDUALLY AND D/B/A                                   §
BUCCANEER SEAFOOD,
                                                         §
      PLAINTIFFS                                         §
                                                         §
VS.                                                      §
                                                         §
BP EXPLORATION AND                                       §
PRODUCTION, INC., BP AMERICA                             §
PRODUCTION COMPANY, BP                                            C.A. NO: ________________
                                                                           4:13-cv-1785
CORPORATION NORTH AMERICA,                               §
INC., BP PLC, TRANSOCEAN                                 §
DEEPWATER INC., TRANSOCEAN                               §
OFFSHORE DEEPWATER DRILLING                              §
INC., TRANSOCEAN HOLDINGS                                §
LLC., TRANSOCEAN LTD., TRITON
ASSET LEASING GMBH,                                      §
HALLIBURTON ENERGY SERVICES,                             §
INC. AND SPERRY DRILLING                                 §
SERVICES,                                                §
                                                         §
        DEFENDANTS.

                                       CONSENT TO REMOVAL

        Defendant Halliburton Energy Services, Inc.,1 pursuant to 28 U.S.C. § 1446, without

waiving, and specifically reserving, all rights, defenses, objections, and exceptions, hereby gives

notice that it consents to the Notice of Removal filed by the BP Defendants.

Dated: June 14, 2013.




1
  Sperry Drilling Services ("Sperry") has been improperly named as a defendant in this matter. Sperry was dissolved
in October 1997 and its assets and liabilities were ultimately transferred to HESI in January 1999. Today, Sperry
operates as a product service line of HESI, not as a separate legal entity or division. To the extent consent to
removal is necessary on behalf of Sperry as a named defendant, HESI consents to the removal.


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                                         Respectfully submitted,

                                         GODWIN LEWIS PC

                                      By: /s/ Donald E. Godwin
                                          Donald E. Godwin
                                          Attorney-in-charge
                                          State Bar No. 08056500
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                                          Bruce W. Bowman, Jr.
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                                          Jenny L. Martinez
                                          State Bar No. 24013109
                                          Jenny.Martinez@GodwinLewis.com
                                          Floyd R. Hartley, Jr.
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                                          Floyd.Hartley@GodwinLewis.com
                                          Gavin E. Hill
                                          State Bar No. 00796756
                                          Gavin.Hill@GodwinLewis.com
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                                          1201 Elm, Suite 1700
                                          Dallas, Texas 75270-2041
                                          Telephone: (214) 939-4400
                                          Facsimile: (214) 760-7332

                                            and

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                                            State Bar No. 20618150
                                            Jerry.VonSternberg@GodwinLewis.com
                                            Misty Hataway-Coné
                                            State Bar No. 24032277
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                                            1331 Lamar, Suite 1665
                                            Houston, Texas 77010
                                            Telephone: 713.595.8300
                                            Facsimile: 713.425.7594

                                            ATTORNEYS FOR DEFENDANT
                                            HALLIBURTON ENERGY SERVICES,
                                            INC.



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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                §
LINDA TRANG TRAN,
INDIVIDUALLY AND D/B/A                          §
BUCCANEER SEAFOOD, ET AL.,                      §
                                                §
      PLAINTIFFS,                               §
                                                §
VS.                                             §
BP EXPLORATION AND                              §
PRODUCTION, INC., BP AMERICA                    §                4:13-cv-1785
                                                        C.A. NO: ________________
PRODUCTION COMPANY, BP                          §
CORPORATION NORTH AMERICA,                      §
INC., BP PLC, TRANSOCEAN
DEEPWATER INC., TRANSOCEAN                      §
OFFSHORE DEEPWATER DRILLING                     §
INC., TRANSOCEAN HOLDINGS LLC.,                 §
TRANSOCEAN LTD., TRITON ASSET                   §
LEASING GMBH, HALLIBURTON
ENERGY SERVICES, INC. AND                       §
SPERRY DRILLING SERVICES,                       §
                                                §
  DEFENDANTS.
                                                §

                                 CONSENT TO REMOVAL

       Defendants Transocean Deepwater Inc., Transocean Offshore Deepwater Drilling Inc.,

Transocean Holdings LLC, and Triton Asset Leasing GmbH, pursuant to 28 U.S.C. § 1446,

hereby give notice that they consent to the Notice of Removal filed by the BP Defendants.

Subject to, and without waiving its Rule 12(b)(2) defense, Transocean Ltd. hereby gives notice

that it consents to the Notice of Removal filed by the BP Defendants.

Dated: June 13, 2013.

                                            Respectfully submitted,


                                            By: /s/ John M. Elsley
                                               John M. Elsley
                                               State Bar No. 06591950
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                                          Royston, Rayzor, Vickery & Williams LLP
                                          711 Louisiana Street, Suite 500
                                          Houston, TX 77002
                                          Telephone: 713-224-8380
                                          john.elsley@roystonlaw.com

                                       ATTORNEYS FOR TRANSOCEAN
                                       DEEPWATER INC., TRANSOCEAN OFFSHORE
                                       DEEPWATER DRILLING INC., TRANSOCEAN
                                       HOLDINGS LLC, TRANSOCEAN LTD, AND
                                       TRITON ASSET LEASING GMBH.




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